Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 1 of 76




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

    BRANDON LEIDEL, individually,                                 CASE NO. 9:16-cv-80060-KAM
    And on behalf of All others Similarly Situated,

                   Plaintiffs,
    v.

    PROJECT INVESTORS, INC. d/b/a
    CRYPTSY, a Florida corporation,
    PAUL VERNON, an individual,
    LORIE ANN NETTLES, an individual,
    RIDGEWOOD INVESTMENTS, INC,
    a New Jersey corporation, and
    KAUSHAL MAJMUDAR, individually,

                Defendants.
    ________________________________________/

                               DECLARATION OF ROMAN BIEDA
                          Pursuant to 28 U.S.C. § 1746 and Fla. Stat. § 95.525

           Pursuant to 28 U.S.C. § 1746 and Fla. Stat. § 95.525, I, Roman Bieda, declare as follows:

           1.      My name is Roman Bieda. I am over 18 years old. I have personal knowledge of

    the facts herein, and if called and sworn as a witness, I could and would competently testify thereto.

           Educational Background and Prior Work Experience

           2.      I gained experience as a Forensic Senior Data Analyst at PWC, both in Poland and

    UK; BI Consultant at INTENSE Group Sp. z o.o.; and Project Support at The Boston Consulting

    Group. I received a master’s degree in Economics from The Krakow University of Economics. I

    am an MIT Certified Blockchain Expert. I was admitted as an expert in US federal court.

           Employment at Coinfirm

           3.      I currently serve as the Head of Fraud Investigations of Coinfirm Ltd. (“Coinfirm”).

    I have worked at Coinfirm since 1st of July 2020 in this role. In my role as Head of Fraud

    Investigations, I’m the product owner of Coinfirm’s Asset Tracking and Fraud Investigation tools
Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 2 of 76




    and I lead Coinfirm’s Asset Tracking & Investigations team on thousands of blockchain

    investigations.

           My Tracing Analysis

           4.         Coinfirm deploys a Destination of Funds analysis to identify the digital wallet

    addresses that hold or have received funds originating from the wallet addresses identified in

    Tables 1 and 2 of this Court’s Amended Final Default Judgment [ECF No. 157] and the Order for

    Asset Freeze Injunction and to Transfer the Stolen Bitcoin to Assignee (“Permanent Injunction”)

    [ECF No. 177].

           5.         Our system uses “Pro Rata Distribution by All Outputs” tracing methodology

    ("primary methodology") supported by additional four different tracing methodologies: “First In

    First Out,” “Last In First Out”, “Pro Rata Distribution By Blocks”, and “Taint Last” ("supporting

    methodologies") to trace fraudulent transactions.

           6.         Whether traced funds are received by a wallet controlled by a Virtual Asset Service

    Provider (“VASP”), which includes custodial cryptocurrency exchanges, digital asset trading

    platforms, and wallet services, has an impact on our tracing analysis. Once tainted funds are

    received by a VASP, they can no longer be traced because most VASPs operate pooling addresses

    used to store customer deposits and to execute transfers. When a user of the VASP wishes to

    transfer cryptocurrency from their exchange account, often the VASP will use cryptocurrency held

    in one of its pooling addresses to settle the transaction, rather than transfer the specific user’s

    cryptocurrency to settle the transaction. The tracing of the Claimant’s cryptocurrency, therefore,

    must stop once those funds are received by a wallet controlled by a VASP.

           7.         Defrauded cryptocurrency funds are typically passed through complex

    layering/mixing schemes aimed at concealing the trail of funds. One method is using blockchain



                                                       2
Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 3 of 76




    transaction mixers (“tumblers”, “anonymizers”, “CoinJoin”), which are services that attempt to

    confuse the trail of blockchain transactions. In most cases funds are divided into smaller, equal

    portions and are subsequently mixed at random with similarly sized portions of a number of “pool”

    or other users’ funds. Coinfirm’s algorithm, as the first of its kind, can trace crypto assets through

    the mixing transactions and provide the full evidence of the movement of stolen assets even once

    they have passed through a mixing service.

           My Tracing Conclusions

           8.      The first attached spreadsheet, Appendix A, shows the wallet addresses into which

    the Stolen Bitcoin and Forked Digital Assets originally held in Tables 1 and 2 of the Amended

    Final Default Judgment and Permanent Injunction were transferred through March 30, 2022.

           9.      The movements identified on pages 26-39 of Appendix A generally show the

    transfers of the 500.052319 Stolen Bitcoin identified by the Receiver on May 17, 2021 from July

    2014 through March 30, 2022.

           10.     Further, the movements identified on pages 1-25 of Appendix A show the initial

    transfers of the 11,325.0961 BTC from the addresses listed in Table 1 of the Amended Final

    Default Judgment and Permanent Injunction (the “Originally Identified Stolen Bitcoin”). As

    Appendix A shows, on March 29, 2022, the entire corpus of the 11,325.0961 BTC Originally

    Identified Stolen Bitcoin was transferred in increments of 15-18 BTC (with two transactions in

    increments of less than 1 BTC) from the addresses listed in Table 1 into over 650 new private

    wallet addresses (the “Intermediate Private Wallet Addresses”). These Intermediate Private Wallet

    Addresses had no prior transactional history before the assets were moved into them. Only a person

    who controlled the private keys to the original wallet addresses listed in Tables 1 and 2 could have

    executed these transfers. Therefore, I conclude that Paul Vernon, or someone working at his



                                                      3
Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 4 of 76




    direction and/or under his control who had access to the private keys to the wallet addresses listed

    in Tables 1 and 2 of the Amended Final Default Judgment and Permanent Injunction, is/are

    responsible for these movements.

             11.      Since March 29, 2022, the person(s) involved have, on a daily bases, been actively

    transferring the Stolen Bitcoin and some of the Forked Digital Assets into the Intermediate Private

    Wallet Addresses and from the Intermediate Private Wallet Addresses into additional new private

    wallets in a continuous effort to hide the Stolen Bitcoin. In addition, they have been moving the

    Stolen Bitcoin and some of the Forked Digital Assets onto various cryptocurrency exchanges to

    be liquidated. According to our tracing analysis, as of December 8, 2022, 685 BTC of the Stolen

    Bitcoin have been deposited with Ren, as identified in Appendix B. This Appendix contains all of

    the Ren wallet addresses into which the 685 BTC have been deposited. Appendix C is a simplified1

    diagram showing the flow of the 685 BTC from the original Tables 1 & 2 wallet addresses listed

    in the Amended Final Default Judgment to Ren.

             I declare under penalty of perjury under the laws of the United States of America that the

    foregoing is true and correct.

    Executed on this 27th day of December 2022.




    Roman Bieda
    Head of Fraud Investigations at Coinfirm




    1
      Because the stolen BTC was transferred and split up so many times, condensing all the transaction information into
    one chart would be impractical. This chart do not depict all known transactions, or even all bitcoin addresses related
    to the activity depicted. Rather, it is meant to be illustration of the general flow of the stolen BTC from one point to
    another.

                                                               4
Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 5 of 76




                          APPENDIX A
                     Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 6 of 76




                                                                                              Funds under claim
 Owner     Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                       Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
 Name        Name                                                          Unit            tracing methodologies;
                                                                                            in cryptocurrency unit)

                         1AA8YJ2DeYr99BS1PrsFKWC1p9hXT28dup                BTC                             100.00000000     2014-07-29 08:54:46         2014-07-29 08:54:46
Binance   Suex           1Edue8XZCWNoDBNZgnQkCCivDyr9GEo4x6                BTC                              31.14578175     2021-02-24 09:50:43         2021-05-11 09:17:00
                         bc1q9ykztnded5hwl2wacf034hmxw3ykw8sj382yfp        BTC                              18.99487160     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1q8gnxkc0xywr92h5pt0cgatpgenflxtw6udfe7u        BTC                              18.98967146     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qel000fr8fw8tgtz29zyp02v23gy8khmnax3ecr        BTC                              18.98047162     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qwlzf7vzq7eakv3jtukpxrf8372z8fpldd2ek5c        BTC                              18.97947148     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1q4anwws7k9kgd8mwa4jtfp7wje5f9qtkenajmtw        BTC                              18.96667150     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qlk5nwlhwvdyvjhkxv6j3stnr6acvk4pp3x468r        BTC                              18.94967150     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1q4f9jy8jcl0c4uj6ku4xk2r4tru0wh5gpv0hhxd        BTC                              18.94917167     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qv44fhfms65d0ta2gjr93hhaumspmnnmtkktzwd        BTC                              18.94834527     2022-03-29 21:44:59         2022-03-29 21:44:59
                         bc1qzx2hsps4xz9ucmlwjz7c7kk20fd2g4mcz54fpk        BTC                              18.94717150     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qagzu867q6x5568kq7u6zv67q0jwamvzy5nmpqv        BTC                              18.94150000     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qxap9qnfu4hylzaxy8jd0t804qfpjj47863prwq        BTC                              18.94067168     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qya6437q2tjfuj3uxu5jw7w4s25wexhjxt7mw39        BTC                              18.92587170     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1q7zk3tr440kmdsvwhkqtrns62cpyvtuwmpyww9a        BTC                              18.92157171     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qk6up0khnyyd9nuhnapgadtwwcns5dxfacu3gwg        BTC                              18.91450000     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qhz2te3la8yg5uqa5wp3hdtw79tjmp8q8p430ql        BTC                              18.91237131     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qwxca3df6xjvrfnx5wtduvfl2la68nln5sjqey2        BTC                              18.91187172     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1q4a6nnvz8d9j3vvfnecm5errwl3x26jeysr2lkg        BTC                              18.90877156     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qhwddn8evfn6c7vshmwa35zdxdjelm3pc5u8xtz        BTC                              18.90397157     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qjxqfgdazv3ac82pca3rmvhtmt0qzjyuhhyce0r        BTC                              18.87984537     2022-03-29 21:44:59         2022-03-29 21:44:59
                         bc1q0rpyhtrqkacl7pu8eez6n02v0elmxpefxm9q6m        BTC                              18.87357180     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qx90733rhr0axjh54qsf0ahag8x6qnpmpuu052u        BTC                              18.86747179     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qz5f3g469g38ayh7gyy4xk28nd6ym6nvvj0stmw        BTC                              18.86267178     2022-03-29 17:41:00         2022-03-29 17:41:00
                         bc1qxtzfesek0esg9p7zede9qat9qg6ltlreezzfq4        BTC                              18.85547181     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1q92rmk5x2rlpw6xxsg8fkwhg6a3tpxjurehmmnu        BTC                              18.85174541     2022-03-29 21:44:59         2022-03-29 21:44:59
                         bc1qpuppf9w6m0vgqwqgy2qcfs7szkm5rrphj898e2        BTC                              18.84650000     2022-03-29 18:30:06         2022-03-29 18:30:06
                         bc1qtf9ulcxkkgeax4anfaqgktgcpv6xs0l75vrrar        BTC                              18.84527185     2022-03-29 18:30:06         2022-03-29 18:30:06
                  Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 7 of 76




                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qasdvn9dzrlzmu88z322t8jkrr9esjqpql7qsyy        BTC                              18.84437180     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qfjt3am2ng6f6n9qtj83pknwjqv3vvzyc9f907q        BTC                              18.84224543     2022-03-29 22:59:22         2022-03-29 22:59:22
                      bc1q9ttqa8kxjvs0f2hsyz73f7wsevqs5yk2zd258l        BTC                              18.83527143     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh8cclu9axungzgd6yl44qfg9s43ma8c3qf7djg        BTC                              18.81737170     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qddf5h46ueunxzrth7ugdje3ckrtdvsadcsytyu        BTC                              18.81477187     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmuvyhys3vr6zzgdj357mw7gzjcl76eygl8ln6p        BTC                              18.81110000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnxqe2hzy0gd42txn498c00mzwlxg8e6k6rudgt        BTC                              18.80867173     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzyvf9gqs7uaxh2ewh97ds6qas6awwxtawvz6ju        BTC                              18.80777174     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q0yw9zl5zt7824d4uz596uw50ujpr4x9l40dkr6        BTC                              18.80437174     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4tnpga7q97az88egfcf8r0whlm4ex0e9dfuu4u        BTC                              18.79184550     2022-03-29 21:27:37         2022-03-29 21:27:37
                      bc1qewl04khn2vw9z6csyul0wcz6sw2qkt0azpxjwv        BTC                              18.78617191     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvuqxfcg69l8v09dkt4ydkjlafqcfzav69n7kjd        BTC                              18.78527150     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6v76ldpf08r30jrccucfa3pjv4ghj5yp9p6p0y        BTC                              18.78367177     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6n9hw5m2zr6tqnksg8y64uc99anxqkgays6yjq        BTC                              18.77937190     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qsf6e6zm630wsa68f5dm683g42yt8vuuuh5xg3n        BTC                              18.77860000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6vlwr4xht5xxuh04ymxkc5pwknrh84dekfgsj4        BTC                              18.76677194     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfesuqc7733v8n9f27v02uvrkpnh7lg4eg4kscs        BTC                              18.75747198     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qszmrv99xpvu6hlccqrn60y2w7hvulpaa3uxy52        BTC                              18.75154556     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qmxfj3edhzawzhnjxp46vwye2atrwjhdwlul8pw        BTC                              18.73937184     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrgpt0p9mvdqzu6mns0h83fj537nasf330vdtuj        BTC                              18.73317199     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsnjygx6r384tz3f5jucfe7f8f9vydcluc2hnur        BTC                              18.72797183     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qthv2uccflw74vyq05lpef36emtua8sg50mwskd        BTC                              18.72417184     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4tc4ukaw4cwhqc0qg0sk7ss4ayknktja68jg8z        BTC                              18.71647161     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrltt7kfvx4tzdjk0rk0njsafwncev83pdn2e75        BTC                              18.70180000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qw8msx4pdh558h2gzzazknzkp3y7f8fnhrmlns4        BTC                              18.69667164     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qt49076dc3enl5gpavmk9thmkdp32qjwze4g33s        BTC                              18.69334079     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsymwfhr9wd27k7kjsvherqtm9re95nnc22u62k        BTC                              18.69207189     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q02haks37sshfdhvjjxuay5rk63wkzw8w6xn95a        BTC                              18.68574566     2022-03-29 22:59:22         2022-03-29 22:59:22
                  Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 8 of 76




                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qam08y49ygk2xd70tj068j3kehm0qxqgln7hpcy        BTC                              18.68007193     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdw4q7dfm264duaas5m0j85dcgf9wtdsvrfd375        BTC                              18.67857207     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qk88ae2r2xkypmys5eypf2lfccrnw2suxdf2s6x        BTC                              18.67670000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzsry668gpxas5veapmms9uyn3ymjmqg6ktxuf3        BTC                              18.65887210     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6znrhytm8xekc7wet2qa04d0efwdp0zlvl877c        BTC                              18.65470000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqpun5avj680y4f0r74savqp340a3h7q27rakq6        BTC                              18.64747212     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkw4k5kqux3pmnhy2v6uyxammgfg3xhp7zfcqaw        BTC                              18.64517212     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsrgs46tdncprwqv72wd0evvwnj8xdxzuy3gup2        BTC                              18.63857213     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qhnkj96al60njv5g5560matfe4h2yrsrgzah8th        BTC                              18.63747213     2022-03-29 18:18:34         2022-03-29 18:18:34
                      bc1qwftjk3hsxr0kcdwz49fsd87mz22j6lxvdxre7m        BTC                              18.63464574     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1qsnv3rml6zr0uzk8rpzf06u7hdslw49e6gst9e4        BTC                              18.62387213     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qhuktu4c6z58la4yaxqd65jsk5rm3jnjgr8k5s3        BTC                              18.61297217     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgypfndsp76ldyehp0lz77zxxdthtdrkxl24lp2        BTC                              18.61047201     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgafj4t3hujwx9n5kwtv4kag27ydw5smhm2neh6        BTC                              18.61027217     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6a9w57pr5ggpksqanqgjr5weqrlrszt30hhga8        BTC                              18.60677218     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkuceaevarndmfglw9x63kfcy0pm9zdwxlzfe50        BTC                              18.60077203     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdzr99gfl08x2e90mlxqdpk2vjv4f9yuellke3u        BTC                              18.59290000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyx6zcffzdtxuua2dpcwcm76kuprnk4nl6sjleq        BTC                              18.58197208     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6l93ungk693nx64wvrr9zs4v9yv9yl28zxuprs        BTC                              18.57787220     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qa59prxfkt8vlv205p02rwdfughe6x4qqrf2awg        BTC                              18.57600000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qymkkwmw7xtz7xt7fwvrppmgh2wpjnw9jqayt45        BTC                              18.57177209     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qa0gpal3c94xgpnzerz9vf37ezy3cewwxs9kt8f        BTC                              18.56257227     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpqcaepk7fwhcrrhycwf7u36s03mre75p4wz8q5        BTC                              18.56207225     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzykgxvj4ntxughq7qjyrrh27gtp79gnsas9x6d        BTC                              18.55740000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5legcc7kfvrlhzpv9awgkyrr79zqq0h7d3sfzp        BTC                              18.53707228     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnmaz5gaqfsamxxmut3xwvrfce6ysa9gwms0fqk        BTC                              18.53627227     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qtp4gg7hp4ztuz4mjt34pjrslyer5stjkggzlsn        BTC                              18.51397232     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qylcffx6wr4sdhp0sl2dt0zjzpjpdch8tc9lycn        BTC                              18.50597219     2022-03-29 18:30:06         2022-03-29 18:30:06
                  Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 9 of 76




                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                   Destination Address                                                                 Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qzkzhxmdkd92gpjecexuu6l3smkck3gpyak0fdn        BTC                              18.49497235     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qak0hctxcvxzvv82268aduhzga0ucjgv7jntkx9        BTC                              18.49047235     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qeh8txm587r2q3ryq438v7z9alamkkkykhd7vy9        BTC                              18.48797220     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qygssr20angjsfh86w05jaw592p6pmmgmpycaqs        BTC                              18.48087237     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzsgr59c6waqlrvnjt27zyusn4hn6tztw9hm7mh        BTC                              18.47607238     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qtkwy0yfr7zr0s3qevmfvjc8x05edx33hyklpcd        BTC                              18.46977224     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1ql0zkzya4jghvrs4zu9ns597usn0vg0yvjzk7kj        BTC                              18.45527241     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmeg8s222wp7eg5qwzne36qtp3p486d8mg7pklc        BTC                              18.44754602     2022-03-29 21:22:50         2022-03-29 21:22:50
                      bc1qf4ruxhhlyj7y7k3nj750xp5ztmcdw09l6mv7y5        BTC                              18.44667228     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q884fjkc838h6c0y9cy2llerrxpdrvzfh6skp4c        BTC                              18.44037243     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwapa29tps3265dykrdqfc7vqzvn3aalju7wgpa        BTC                              18.43794117     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyp5k8wnjzwxh6asgy43lu0rc9cxstpwgxr8zgk        BTC                              18.43787245     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qx40c3nwcx8g2s6rz7k9fjhqnr94l3neakseyut        BTC                              18.43540000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q37gjjpvxawpkyctwf7hy7h9vevykdrkfqyr7t7        BTC                              18.43257204     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qjc0549kch8nupyqeln499vd2xqc7rff6ju0lzp        BTC                              18.43037244     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7lpnstjj74fmdazqpcsm7pepgktkg9gj9yskxd        BTC                              18.42837229     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnv7gu5568g49j4mscaays28jsfpqg2mc0rjhrj        BTC                              18.42530000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpw9mcs6505wa66wvwgt47htmdwrpga43mkndq5        BTC                              18.41637232     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvnqtrlvx9twv6s29lp79yzygd6csk8c0stmr3a        BTC                              18.41284607     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qjxlrs2996hn4jyfqmtctz2k5yz4kqxx7rklje3        BTC                              18.39847251     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqljzj3qh2wk29j2k3675h89s270g7v7wxlf02m        BTC                              18.38817237     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qez4284etcdvrr4dnfexcs7svyvxvsnrn67wwym        BTC                              18.38574611     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1qlay0g2xgchgk35zr7mh670n07avzjsu8n87vg3        BTC                              18.38507235     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7m5vuv85rxr7fmfzfs05j88z4cy0vukv9hkppg        BTC                              18.37697238     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5pc0wl20slgw3yyn09nrn8zc24s8wkfnmartg8        BTC                              18.37377237     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2hlde72l9v29zyaa5vxg5rcgkrpzfnueyrgz6g        BTC                              18.36181168     2022-03-29 21:22:50         2022-03-29 21:22:50
                      bc1qy7jggcmkemjsgerrvrj0fagtslh4yf8ayem434        BTC                              18.36017253     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qzd83744y5k0nhr550xtuc8vh87us8n0mpgxns3        BTC                              18.35457256     2022-03-29 18:30:06         2022-03-29 18:30:06
                      Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 10 of
                                                            76




                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                   Destination Address                                                                 Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qazqkqzve556n7sz7qpmsdn6u256ecx25aaw5up        BTC                              18.34957259     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qj6nzwcux6vvkqlqj5j4z0jrnq9jwwaswtg5czm        BTC                              18.34508727     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qaqn5n8j80wgwhjryvpagcc4qpsen3ma6ljfcjk        BTC                              18.34487241     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7d8a9px7662k008t86vgtl6rmrexavu3j4dxyv        BTC                              18.34337257     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzqktqzphak3m63kpu05xngk5mqrzg95yq2hxrk        BTC                              18.34067258     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qs5f2kcxjrxgmg5yhklcaqplwe8pna8ryx8fr33        BTC                              18.33407219     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qejqcf4lq07q2slp2uy38gw8e2j9sc7lst0lveq        BTC                              18.33127257     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qw3hnu7v25hw8khfwzlgafavpxgrhkjrt9hce8q        BTC                              18.32537220     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qga8mxlmggh43me436jarf64x5s5gk7udz2fwx6        BTC                              18.31620000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfkr6sg2nmxpjrdh5hjaatzpnx93j0llnmqev3x        BTC                              18.31331835     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qcna0xhl0fy4390uzp34x9xg2esxfpj2ejh89h8        BTC                              18.30964622     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1qhq64jhsful4n2cqcgylg4cy7pdhqrh5ml7hnml        BTC                              18.29710000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qhxtcw52tl33v3srpstk98hqwrxatzr3sv4dv4v        BTC                              18.29477263     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qg5m6th44wxrj5mqxvmuz62dug4jfap8l0fkfz2        BTC                              18.29117265     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwuwz4dgr7r6rhf5zumdhx7qe2eyggwu8zgkvcm        BTC                              18.28557252     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qr3dmw4vv2mktsgsn0jlgy467xpvekcfrumsu3q        BTC                              18.27657270     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvndtx85tdyg8u2mr4qlpa084nhtcj7tk5lvlhm        BTC                              18.27503476     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qv7n59f9qcr4frjmgf6weygtsv2k9zmmyrnja9t        BTC                              18.26117270     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkw2n3nysxe49afdzqan3c4wrmpm7x4khk5hesx        BTC                              18.25237273     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzfjkqgedfqhl0wmqhy63w9r5r7jr42nlfk4lzk        BTC                              18.24657274     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q89emdasydum0t050mc2nnyecuq6n5k5ugm73mj        BTC                              18.24617272     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh6uyr0e85cy757glzjlvevelns7sq5zq33wmea        BTC                              18.23437258     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qhprvahqr7822v2z52d30g0c5kh6sluepenz3uv        BTC                              18.22517275     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qw0n00nnt03edasq84s7uewruytedmsxvyma8ju        BTC                              18.22437275     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7hcvntw9kplc3ngtt4jfxknaue3tsmywcvgswe        BTC                              18.22227275     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyvhmdz9s8dem8r8fv29eghqrg0epx6ex50cxmu        BTC                              18.22207276     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q293xfezr6m2qewfyewyu80z6s0cepvmdu3rdxv        BTC                              18.21847276     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwrx6duagac9yv6fdcgz4u4tz2gkrg33ht82v4n        BTC                              18.21497237     2022-03-29 18:30:06         2022-03-29 18:30:06
                      Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 11 of
                                                            76




                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qjfru6ucup7vj8qz2yle6jemlu7pkwjzywg4rmr        BTC                              18.21007279     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh2ewjjmfyy8vemyrg4cqw9m88s5ee49n3ay8hj        BTC                              18.20907238     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qjd86dlzsrelpkmkqx90khrz4kkqy9rzakjssdm        BTC                              18.20587278     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8nu6dvtngfnr6xczclv45s60yqn9ltvy96czmt        BTC                              18.20027263     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvtyg9kv27uyp5mj87p7fkyur3q48cexatwms38        BTC                              18.19987277     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qmd96fl4uj0mcear78ujxw2cvhxvskz6y4xrgkf        BTC                              18.17468751     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qdvchv3wayvc75ha76h52y9074g8dsn5279aqey        BTC                              18.17180000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkzceuneeugyjxzkk7zwyf3cad0yzfga6a38rll        BTC                              18.16427284     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qlyrqyd3arfqknscqsj5w86x3whwnyzqhr3t0nc        BTC                              18.13967288     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrv3akdwyx7mwgn89gvnmxu0d63qhsp2xc9as7y        BTC                              18.13017289     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qlpkg56jppkdkj8vrfes738qc8z29wcf033ky2h        BTC                              18.10197280     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2dp55p9uxshmmt358dq4nwsac9qpyrddg45cvx        BTC                              18.08347257     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qm4kxuzsy40vzn2lgnv5yms0wf3c3ejzrp0a93e        BTC                              18.08137283     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsa23gmyjftuhva8c38ke8s85fp0dgqallcdtz6        BTC                              18.08095643     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5n374np68zx890j22ap4pymc8mmcs6npx0j3gv        BTC                              18.07767283     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qx8pk0wkp497zellzge6dzrc2kp89tduw2aazcj        BTC                              18.07357258     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qxgqj0nltrkkx063zmv0wlhqfcagxz3extjw4ku        BTC                              18.06067260     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qy7ukgk79tj09tk0k55lytjevehsxqjt2f4y58u        BTC                              18.05327261     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q58gjrx5pvlt0334qpfe0wm594nnvx8ravptum3        BTC                              18.04530000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2m6zhyrw8vn9c9vymsrk97wnwm2hdrv5w05c2j        BTC                              18.01837308     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qc26qgxphalzqvc7nwxxlvh4a0usmu9t98ctmtf        BTC                              18.01387293     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9fxylvdqanxfy90q3ylz4anm4l95jlsjcj2af0        BTC                              18.00291882     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgels4s2g3h9s3szc8r683pul006f9e96fvxzze        BTC                              17.99997311     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1ql378jp46tdsq25svqdajw6fkxhmmptpzkzfr67        BTC                              17.99498779     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qhfueehzprjl4v6p6p2kyv898svghj7xpkkceh7        BTC                              17.97668782     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qa52qty4j2d75kyp00yw76ylfutf32h9a7a249s        BTC                              17.97027313     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qj78mrl68hrva088ue27cluxuuumkmm44sv9lfr        BTC                              17.95887299     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrnkndmd67qet52hmlg5ln7ea36jwnd6lyemmhn        BTC                              17.95207316     2022-03-29 18:30:06         2022-03-29 18:30:06
                      Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 12 of
                                                            76




                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qst8nul8lpwf7dd76w9tycwpmft2w0kdvu7fta0        BTC                              17.94697319     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmwpe5p0p2yvvwytp4nfzdwmel6d6tqg3ak2g6r        BTC                              17.94567319     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qthhs7jpzgau79vvj0ewfymwkpzrdye2fndcggv        BTC                              17.94537303     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh33ekr0ceah5nwhk5c08vy2638zvl62ytfnnuc        BTC                              17.92547318     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qvv83gwf7dyrm7rpnpq878gphpp34sk535ctfy8        BTC                              17.92027321     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9a55emj0l6kd2g7sevd9msjwmchcrfd0wclvd3        BTC                              17.90657323     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgfzq6eavgcnfua4p00ck9qkkpyxsqhcd8dhgqm        BTC                              17.89904684     2022-03-29 22:54:53         2022-03-29 22:54:53
                      bc1q273ynplrkgt2fv3jsd7qwk5rfec8m8rxmv8dxh        BTC                              17.89747322     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q6x9p8n756j8tg0wl8hhau9hmwgukgs93tw08ka        BTC                              17.89730000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qk8kyfv2aluu5ql9kmyll4je69tsl7nw3t67mqt        BTC                              17.89547322     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qvujsyhvyj92u6hz2wy5986sgm78p9cal3kj67w        BTC                              17.89327327     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7g53yvduhejqvf0zafcttepnprf6xrey4uml0d        BTC                              17.88137326     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qe6fkkq4ymj64fs8hqmvtvx56dhmulvmyc5j27r        BTC                              17.87230000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qp6k37n80pqjmu0x3d40kytq0nje5wdz73cqylm        BTC                              17.87130000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2andfngz0n94tfn9pl0u5xldnxyf6nytjfylr6        BTC                              17.87010000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6lrlw2h6w8tjmzssz4mgymm67jg3l90mam6uha        BTC                              17.86582038     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpzy6cehq8ru38r2g3v5vp4nquyflfmea3hrd6k        BTC                              17.86117329     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qla0q0szazesgacet797edpsfe7alt6hmywfu7g        BTC                              17.85837314     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqej222ampvkmx500kd8fdmcze9jrlxnju5l7q2        BTC                              17.84887331     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrltkzlp632rrfasnzdj8cewkhznt2xm564vujc        BTC                              17.84527316     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3lgjwxnyauhzn9xhje7fnj53hnn2e6vjkhqnkw        BTC                              17.83937294     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qetgnss9sv87q959n85qdsfqj92krqfvf8qg90r        BTC                              17.83827335     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3wf7m8twmzsz0yljlxml9dr83k4qlw0d7a8586        BTC                              17.83617333     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qaakx9ccxm4ejdpg2rdsenefylyq47t4prrqwy3        BTC                              17.83357334     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzzwclnfupsd5ezp45xdl53e9dgaqjsazhnd24a        BTC                              17.83347318     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmas7gl8mlr02rgjzuvtnkcet0k38kf5nxx94xw        BTC                              17.82337337     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkee4hvx7rdk72t99742u4y26afsqwfgn47g7qz        BTC                              17.81317337     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsvu6a97cewcayp9p8c9weg6868kgu8t02gazr2        BTC                              17.79507337     2022-03-29 17:41:00         2022-03-29 17:41:00
                      Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 13 of
                                                            76




                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qgkh4fkz0tca0dms2qtt2nnd7esxzq358hg6c7z        BTC                              17.78727325     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qr0ph6em6wd8yjtp32620mff08kmq9z2vym0e66        BTC                              17.78437341     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q477umc0ddwtrtmn93wgp5mmt42wfq7av0srkz5        BTC                              17.78120000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkeq7sqx82s7a4s68nnx5cjrpp0e2pkm42qpfjm        BTC                              17.78107341     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdfx02yx658zuzl66mfpy6r0qr0hvhwmzwf7u74        BTC                              17.77447342     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpypyw08mx4mf5ee0gr2rscgv0duq38hlylczr0        BTC                              17.77427329     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qn2qf8c838mxsvr7y6ar2zw04mqf74k3vnw4qrq        BTC                              17.77247343     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q853y8zrh26t4xtmlvgafauz0n7saz306d32a0w        BTC                              17.76677305     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7edewee7ut2rfern4yxqg49a298248z68x293k        BTC                              17.75747331     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnlmmq60guf0edehyra69rhj4rqd9h0azuu6cl4        BTC                              17.74867346     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvw6dxs6kdhj8u5kcgfnjv8fl983r064ffrl9ed        BTC                              17.74267347     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qna05mqqqsujy8asjaymtcqykjld65ptdcesw7j        BTC                              17.74150000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qx0562vz22dgrc9fhkmqzk7cqllq8uah8qz7509        BTC                              17.72257352     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4aenhc7yap5u0lxhjhuvyc8zz02esr4xzc4fmp        BTC                              17.71097336     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q36049yfh8mzwpjkumwmd3pfu54p66kcazvgjgm        BTC                              17.70877352     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1quz6m77rnhpnz2yul53nnu9wwjpmz6ug2wfup0r        BTC                              17.69384714     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1qfyy963yh2tuajevmgklhs50mnvknwk0mrqww0f        BTC                              17.69107357     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzmy8wn52ww6pjr5e79rfxtj7cakusnpfy0tdk9        BTC                              17.69027340     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qu9lef3ygs4u27ypfgykuj8aflqx2ygka4pzxtd        BTC                              17.68087354     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qmrtwmzurmjuwdk7zf7kkkgnjrykgzkleaunvsj        BTC                              17.67114718     2022-03-29 21:44:59         2022-03-29 21:44:59
                      bc1qh9h9yex38cr0fzgfl73cwm4mqnguy9j3tny649        BTC                              17.66197359     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qs607mf7xnd2l3tlupn0jept73lrwk4sqxnxtw0        BTC                              17.65624720     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qz9yr2g6jfp68zu5r896nhg8x878jw4s2u0a9pe        BTC                              17.65507360     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q239mqha9sl63rshcc9lw475re064h0c7rf6ta0        BTC                              17.65327322     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvta4txfe6xqqkc9yp5qj0s5vfhmsmswx2dg8f8        BTC                              17.64877346     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qex0m4f5tuyjjndn34xwywyxyu2v00hk5sdfuj5        BTC                              17.64757323     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3cp58td33rakrxvu32txz6rc6yzt9jstjrgp8e        BTC                              17.64127362     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qympmkjcshwq3e4fya6uahn9cs95sh8lmsz39uk        BTC                              17.62477349     2022-03-29 18:30:06         2022-03-29 18:30:06
                      Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 14 of
                                                            76




                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qxrja0dvgclxlnw89mx82ags7g8d7g364zufzp2        BTC                              17.62120000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qa4rvugfr0t8dvqg76fku0s69q4zlgg5h5lw870        BTC                              17.61497366     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsse3vsrqmrz8uv7dewpssrze33azu66hjdcqtc        BTC                              17.61447353     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qg3dugzmtvwptcfe3hurrwqxqtpmpgjcvynp6ug        BTC                              17.61177367     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q927qphxxyvzae78v7pl6leszj6a548aefyjwkc        BTC                              17.59784243     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfvwc42gfp3r7kp3nly95r904jsmu3992vg5x9g        BTC                              17.58697368     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q5n4h0wc55e7h9v33grcgtrlt8ed75dcgr7jpe2        BTC                              17.58117371     2022-03-29 18:18:34         2022-03-29 18:18:34
                      bc1qjx4hdmhd7sz6tay6y2ejy77a76z5mmc7jjswzl        BTC                              17.58077371     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qphwx4t4y8h54f0x2rqas9uwk4vpt7qkh95ezuw        BTC                              17.57967372     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qm7m87slgnmeczjqjyk6vgvutjnlc7cf28adv3u        BTC                              17.56967373     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qy3fc8c0qkcgaznsfnl9jyqmukw2zu9h7zqh0uz        BTC                              17.56807371     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qv9xg22vxu4hzwls88z4c9pcn7pvnee3kkv4vpg        BTC                              17.56374734     2022-03-29 22:18:04         2022-03-29 22:18:04
                      bc1qdshejjvvtpan734tgrlrw7xnq8ux8v850hfpjf        BTC                              17.56117374     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q33yp9xsvqgkns0ll3h84uwsfchs8zgvmv3zy5r        BTC                              17.55897336     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qv89nj064gfsap0496wx63pjfpvtl24rwpylq6h        BTC                              17.54447361     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q70tnw385wpef8phwwpejsz62lpq83c0ycp98lf        BTC                              17.53208849     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvuavw2qrg8chdfcs3l86c5y96tv7l82kvzj746        BTC                              17.52577380     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qahsafw7fvn23rrlgv73hf2hc9keuakgvxr5ncm        BTC                              17.51377343     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdn38jpaj34q2p5jpadc8rtcadr2h6ak9jzzpd7        BTC                              17.51194255     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qn80y0czc8zggp5cgfx06ryn4h8j94z9r05zspl        BTC                              17.51027384     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9xhyr98jwutaudgf2pjx2dx9v6cync8pw6vhuh        BTC                              17.50527383     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2f9p6063ye9dl6uucxx6ekv8saxtd3zz5l6uzc        BTC                              17.50237383     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9adsetpcf0skxwhfty7xfptlhtwsknwywnde62        BTC                              17.48827385     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qlr095pce058ecuk7hffvgqnx3n67x75g3dhpkd        BTC                              17.48750000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qa4qqewglnl380pc7qrnddky9tpc3w6gc8kyunm        BTC                              17.48447372     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qspljw3t8rpq47kpxctypmsn50lsqcr32yaeyyg        BTC                              17.48377386     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmffa7w2ftkhggwd5ylcz49vujr7v2sgg5ra5xa        BTC                              17.48177386     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkyg8n8ff49fkx588skmq6amgpqd3dkq35d6xnn        BTC                              17.47947387     2022-03-29 18:30:06         2022-03-29 18:30:06
                      Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 15 of
                                                            76




                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qycd55frpdxyrl9chsr9w09zqdlw95rduhhtzxe        BTC                              17.46717390     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qw5xxrh07uqcld7gtydujgm2w83te5gv9e7wdhs        BTC                              17.46479976     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qjphna0ww3f7k2npentejvsg9tujdcvvg94m7pj        BTC                              17.45994749     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1q3utx0uzvrtweuxdpr3h8wckayfu6fjlnrzpyrz        BTC                              17.45607352     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3gedu9wdehr9azkapmtagxrqdthanj5mff3cgf        BTC                              17.44727376     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2c9sywyk4pmw26fqq4yrghwwqwesxg8dk0ktt6        BTC                              17.44547392     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8vpve0q7j5gajz0sdxw2m8vfe07ssr84q53uvt        BTC                              17.44008824     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qg92s9ju9uxm6qhdqapp8w4qzpuf7lu6t7uqtq2        BTC                              17.42837394     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkhdf0dqgqknxs66zw5a2z9p37q52zu5d8ctakf        BTC                              17.42697394     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qd492029qfmn94x949s365cq0ccz8nnnax5jenz        BTC                              17.42187395     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnupdpftl05m5u7tjwx4kaak03ehcmy83eawa4z        BTC                              17.40614757     2022-03-29 22:51:22         2022-03-29 22:51:22
                      bc1q98l23jyh0pzjjvcm7sxf6uutf6fa3cg424mkm9        BTC                              17.40237385     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qlvjvfjagucqjrsx8zs8lfhs8jf6raptj29x7t8        BTC                              17.39500000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q39j4a6kahvs357krq03jpwqwmnlgyve32tdgxl        BTC                              17.39314759     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qpvdct69ftrya5t7fwnk6h35lxa27mygy0efpmv        BTC                              17.39307362     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3wjcqgj9vnzmzce00qkktesj2f7txxktv0qap4        BTC                              17.37587402     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8tfd6075kg4fsdufkge4vfqr4lldgpfcpj8nn6        BTC                              17.36457402     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qjlcmny5g33nde8mgn7rgqh798myarf3ckcgffs        BTC                              17.36307402     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qy6w93xfg00jtt9ztvwt9dc7mk9w2f7j40zn0yf        BTC                              17.36007402     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qr74wp5yqru53j66tnr9zzn6ym2cv6zt9n9wpl2        BTC                              17.35980000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q09kvn3vt3dun8eqwjz6h0gpnepvrzpl8csxhzs        BTC                              17.35977391     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvraw7etwk5lxy7tsgm6585rdak9dgdu3yv4epd        BTC                              17.35330000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9pszn2gtp9wrktsvjpdy46zcc8qv46kzyevndj        BTC                              17.35097406     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q86zhgagnhgxqaeg0frrnrtvnvnm49dm6avyxez        BTC                              17.33464768     2022-03-29 22:54:53         2022-03-29 22:54:53
                      bc1qna9ttyfa7mm2y4n6ec9kjp9talvzdw0m70mapj        BTC                              17.33077411     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q74vwy0zdpuw42rdtpekjfsag5s649a0jh5hyvl        BTC                              17.32887394     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1quj7yzgu03c9rkf6w376rpqz4wqd5dsvdfgnaqm        BTC                              17.32154770     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qx3w3ddsvttrw96gesyjwnww799hqhtvh2er7q8        BTC                              17.31357398     2022-03-29 18:30:06         2022-03-29 18:30:06
                      Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 16 of
                                                            76




                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1q4l5zr3d2t4w6xxeqmscathk57qx2qd6w2he8vt        BTC                              17.30747399     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qy858w4sv0ff38cmq688aaxa7y5mumzc29lfgla        BTC                              17.30647375     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwq8t0xjxlw58u4jx6gn3spv4g83a49t6c4yw7k        BTC                              17.30070000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmjgre9frcukyuz3luhc5ujmtxee3k57ydu3ece        BTC                              17.29389625     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4pj728nr0x9gnl9awgl2yqxq6daw8ng5t6u94m        BTC                              17.29167377     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qa0m4897c8fs0z99e02lwfeakq59vkd2mvw9qqu        BTC                              17.28997413     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qtgrfme3727t7cas3quhqxv5v7cnrpyf2pxfaw9        BTC                              17.28707415     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q039vd4zt0xhuydjtn0vf408fm7d9awtp68y9fx        BTC                              17.28490000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qad9xx5z9agzrlpun6c5m4tdtn0mx47sekev9e6        BTC                              17.28274290     2022-03-29 18:18:34         2022-03-29 18:18:34
                      bc1q2kxzkws3wrupemv4wfreyepjqphgq3ptywcjdw        BTC                              17.28097416     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgh6079nr7lzzk3qegthyah8l3rql5pz7zzqdzk        BTC                              17.27454777     2022-03-29 22:51:22         2022-03-29 22:51:22
                      bc1qfc9ggl28fhfg6lysh9efxmeq96vly64d0ge6l8        BTC                              17.26250000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6yk906f8zg5c7u430qhyppw2qr6mrdtgh92k5j        BTC                              17.26007417     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qkjpgmrxux58j5cqrurn0gjyxrv65qtet4yvysd        BTC                              17.25887421     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqgv9umd09j2t83mmm9sntlzd3y4wravu9uxpqm        BTC                              17.24347422     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qg06h0e2fkck49s85elmjgpeksl8z6vlzudp5ra        BTC                              17.22587424     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmu7nrte8xpv9mcxh9xr46vr5qhg7aa7jejened        BTC                              17.22160000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9ydcdfqg54n5ykhhq8f8j7nlgf06mhy9t4edq4        BTC                              17.22157425     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qahth6sxavc5dkj9t3e7wrxgh7jaxwezp029pw5        BTC                              17.21717426     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8dux5j7e9ywsnf3a8qm88vmsfcl9lc3n8k40we        BTC                              17.20587426     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qmce2eeqg4vajsm8e2ptxdwjnpgv2pnz2w4gp8g        BTC                              17.18397431     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1quvd6ylgpeqkvuczudgny9zs3q9y29l6csle7ry        BTC                              17.17935443     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7f9f3ljtyanq0j354eupdh334ca64k8rwlpjhh        BTC                              17.17917431     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1quyfh5gxkh6ug33075lat32874hlsx0keexl3rl        BTC                              17.16610000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qq5nyvhrq6e8wesklxggjt9slcmdgzqvugn8zxy        BTC                              17.16257397     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qjwg5dg38nq8shwjtupddece7ct95h3zdqag2lx        BTC                              17.14827436     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfzeyq8ls0vlaf94jq3a9gsxdmyv9pzwgfl3dxe        BTC                              17.14827434     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qkjl0qq0myhvsk348ljg7s80jg5ek726ud267c5        BTC                              17.14477439     2022-03-29 18:30:06         2022-03-29 18:30:06
                      Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 17 of
                                                            76




                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                   Destination Address                                                                 Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qqmgewgsskgt9wpq380ufnrxyl4ev78nzcmypkh        BTC                              17.14380000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzxwla5xg0a8fmkdws9laf2drmexlgjekjw5k4u        BTC                              17.14207422     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qxfamn5cf3mqet9kuqgnxdxtu359nh0y3l99g6z        BTC                              17.12897439     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q79tjtcfjlrp3c6f3eprxh3tk2ztzlt552gh09z        BTC                              17.12877437     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qz0qlm0ng5zfayg6hlvseq76tphytvd4en3g5al        BTC                              17.12127403     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdcx55n0ewspttrhdyp0zk7aa88kuyh0g607272        BTC                              17.11457426     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpvh3n2rrcq7m9nay6jftdq24fw9zga9jauzzm7        BTC                              17.10897442     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q32lz5jeuet4rupjunwtyztaqer7gy8wvjf5y63        BTC                              17.10710000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qjywp9vdawmhyumrh84qve7j7dhrwsexalk39p4        BTC                              17.10624802     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qmm67kncsdctzu3yk9km2wxzmec3a5yyvp7wm9q        BTC                              17.10617442     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3hruu2el65wju9q856jzqck9nua3h8n4l46vqr        BTC                              17.10312016     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdelvj0cntnsnr5tzw3ytle9xq0nerjgfj25na5        BTC                              17.10167428     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5c03nrf3qqr28mnr6mek6zst5ne8lxdf973s0r        BTC                              17.09887443     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qf72kqx9q6lhdnv4vdru20rr2pfvdstdqhlehvq        BTC                              17.09497442     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qcchjkmxl7xgf63n0l2as77nvkrdjmyh5ch30jl        BTC                              17.09257446     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgl0u8ddmdhm58w4zmycfjpg0ga2a89tkqd45gy        BTC                              17.07867446     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qu4rg97mfkufy5y5ma96z2c5qt3z6ftzjynng0y        BTC                              17.07760000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qy8erl2wtamr09dzlydyheqm88wedcspra5qqmt        BTC                              17.07487449     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdy2x36tju2y7aet2h6lyl30eat5kyw6r3zsu77        BTC                              17.07077448     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qajcw4w7k5u376y4m5m8mmsgvrklwczpypu3dk9        BTC                              17.04857414     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrf2cmmcdjwqj77peq3t8a0xjw7cjarscs7vt2x        BTC                              17.04720000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyaglmhwzrrnrt6jelhed5w49m63n9amlg42gmq        BTC                              17.03897450     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qz33kny7pznvfxy2stpp9us0me25nfkvl2vyjz4        BTC                              17.03747453     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qlvyz0u06npnclzjxnmuzk4qj9nfuz47yf0jp77        BTC                              17.02950000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9juxgm8rvpjrde00eqk4rhtxslwfzyxx3yvmcc        BTC                              17.02830000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfj60pmjg0w8yn880hz7e4dsj5m5qmdgdc4zeyw        BTC                              17.02564814     2022-03-29 22:59:22         2022-03-29 22:59:22
                      bc1qhnnthcz7fjg2kq79ppz29f4j9kj9rnzwqnue9j        BTC                              17.02487454     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qx48qx802tqdp3tfns8x9dpyqrkrejx9rm5nlnr        BTC                              17.02477457     2022-03-29 18:30:06         2022-03-29 18:30:06
                      Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 18 of
                                                            76




                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qr55lp8f0rrfr7uqmt47y0g5vz7vxua47zdm62t        BTC                              16.99784330     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1ql38p4tmx4rx6xjts5vdsafwk0dqd4u2wv2xec4        BTC                              16.99007460     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfvsll9fs4nc6e7l57gnjfaph07arhys0q866le        BTC                              16.97897461     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qt86wmxwz2ds4h5pp0xvgzhuk0am9hl9894dm3y        BTC                              16.97877461     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyhy94mtv2222a5jmqd9wt284akrtu33j4l23ex        BTC                              16.97097426     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3kd7h8yg7due4kqxcz7c9jt2mu37qaqnl9rpdv        BTC                              16.96477463     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qq0p36czn34u22yhc3mpse3ga682fnjh0puvj0v        BTC                              16.95937462     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qmt7v0rfmpylfp56cd4g2k59g7cga88fe6fn4pw        BTC                              16.95537465     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qxvlpltu7382mqasj590xh4pcgwwev5vlmf2983        BTC                              16.94897429     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrym0uu3hda5m4fknrl70ma3k684hdya89m909e        BTC                              16.94087454     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwn2wq324c69teyr0jzdhvchcdcc0nfm3x6j7hk        BTC                              16.93287455     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qeahsnu76jxk2420j5l0swy89m0zu49s78feafa        BTC                              16.93177468     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrkgpgnglqffggapztz9ghe8stcugkrys6qa0fg        BTC                              16.92020000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5mesfn2aqr2246u592ae9cpsp0xykx87ks6mwd        BTC                              16.91697473     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpw8t005f60w796a5xduytlp67kgcjlk84xz332        BTC                              16.90457458     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfg0jhxgvfdd792vqh4dspzsgfarphhar3fexwk        BTC                              16.90397458     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q0dqf3tr7736tfps90mgp6q0ly9ec083258ej85        BTC                              16.88774835     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1q6dayfsc6nk7k04zf2spg2mfrn63yllhcy5jcjd        BTC                              16.87500000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qw2gm6tp7mx7fad4cthfsjgvgeqz3wh5hy3vxaj        BTC                              16.87207477     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qern6wy38r6ywuxgyfk0jm02ht026ml99a80l7m        BTC                              16.86780000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfp3t8f54lyq292kxhnsujuypk46meug7nnvwu6        BTC                              16.86237442     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qu2vayv43yunhdxmlty2mrsys9glesrxmyxu70k        BTC                              16.85717467     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qn8t5dfg6zs9y6n965hc4h5sq04dk6pv0vfr2yc        BTC                              16.85684840     2022-03-29 21:44:59         2022-03-29 21:44:59
                      bc1q00rxugd8hnjee95gklgxmuqgm0jps0yl87rzm6        BTC                              16.85460000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qewv39t6df7yaztsd8ad7vn4lxdg8ldgdzz9h67        BTC                              16.85332374     2022-03-29 21:44:59         2022-03-29 21:44:59
                      bc1ql6t0386r4vlrt8gscm3q0erh8cx9q5hpudx9ke        BTC                              16.85217478     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qu2tf65aytju5e04dz35ymp9ju0t2m0xw5g9u4q        BTC                              16.84790000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzgzrm5x6kmrq3shp5a9skx4xvmwu6m4celv0hc        BTC                              16.84637479     2022-03-29 17:41:00         2022-03-29 17:41:00
                      Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 19 of
                                                            76




                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qtuy9zss5kxqq0ymcqt0xf0f46aqdxfl5sunp9t        BTC                              16.84577481     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpynj53zs2hxr5cjnjwus523g6jqspasegapyye        BTC                              16.83947482     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qel202s28zxe5cywum80ca5phhpqz604f079duc        BTC                              16.83480000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyx6h2sl8p5p0m0aj4nm8g5ch72l5lcrt7ylmr0        BTC                              16.83387483     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqaruz7j67hx68l5478u3hmfwyeernscv6mwf7m        BTC                              16.83087447     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh6v0tm6jx4azx5a4suqvjatlvje9m4yjv32w0g        BTC                              16.82640000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8uxv4aykrnkgvjdeakh4mt2k5ng379ca3cxlaa        BTC                              16.82277485     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgaa4leghhd2sjxjrwnfgx7v0re35u2s4q3zjyx        BTC                              16.78867490     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5hl230ne5mcnfl6mudqc6r9e6mtzjxwdqs545k        BTC                              16.78537490     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7q5tp3cxyjv2jmp4a0uv0h05tctxkvcsmrtf44        BTC                              16.78094363     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qvcamupgqjsglsp7d6kjzkw2y7m8sqskzssjmt8        BTC                              16.77947491     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmwvllgzg0nmu6lt54vyrwldfnpnrgg5jkxr5en        BTC                              16.77677492     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qtzk2zu4vcw0eq7793lw570j0cum5sjlqfmwsp9        BTC                              16.77597490     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qvkgdc5yp3xfsy7mnmrfqxdpnew7qsn2vmuyqz0        BTC                              16.77207494     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2x7cl4wmrsxe7m5s7zfkvpj752lkfegrax2gcu        BTC                              16.76160000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q99q95dllhw7kggfaysrywg4ukqylv5qjwre9yk        BTC                              16.75967458     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qq5ryughhrrnghpd3nfc07etfpdeuy4765u0ec3        BTC                              16.74874856     2022-03-29 21:27:37         2022-03-29 21:27:37
                      bc1qneayvahesr48l76zwywn5srtxrgk5sdedhxufe        BTC                              16.74597482     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqdv8xzd2w8es8m4fz0z9jxl2x2zl96rmr7q7a5        BTC                              16.72537487     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9ar2k774pv03mpm2ss5z6m4xegjkjsalppq90q        BTC                              16.72337502     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5zkyaktqq73zml0xgpwcwfc7nf0fqgsrce977m        BTC                              16.72147500     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6ehvxywk84ue4fhle5h6cdpzp5sd7ckx4fh8dv        BTC                              16.71347465     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1ql8ul7amj8keq78tfnkw6qfclee9lup9n7jpp9z        BTC                              16.70947502     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5xuch7swp283avn3asgqhsxmzc237fcx3hda3x        BTC                              16.70110000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrq6umk0nwgwt8s88f88my0ms5uep85d4z799qj        BTC                              16.69957503     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrc3v8gz9a7a00yc3wl2ymxza8pfkfvs577d6jg        BTC                              16.69847503     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qg9daljpq4kh5206mjr2y48cyrsr64wfjnt9zk8        BTC                              16.69537504     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqzf6x8ph8e8zgzvjqxw67umk3rc5vx66j66y8d        BTC                              16.67897508     2022-03-29 18:30:06         2022-03-29 18:30:06
                      Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 20 of
                                                            76




                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qm3xx9xuu64awff3r2p57dplrd2jtl2700ad2zy        BTC                              16.66677508     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qce5zz7gfujzvuw9uk8q5h2wa4wx9hn3eayn5x3        BTC                              16.66227472     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qy9q9s2uucgwxhc669wstq2hz6lr0ycz8w7guv0        BTC                              16.65827509     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgkcs9szdgcxtpfqheu0kpjc2k6v7slmza2pcka        BTC                              16.65647495     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qt93gck3pljrenr8fcvsgj4cees83mdsmp9cwag        BTC                              16.65437510     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdpnhpwqyh7ag2ktm5ngg2azn4my4rs79r4986q        BTC                              16.64327475     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmj0rl42r5m6w8tfrt895smwmgxjafk9llla25h        BTC                              16.63014387     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9djway5wgqufx7ek90dzanqwfdt530n43syqlg        BTC                              16.62667514     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qfj2ma0j575peu03nxqgpvw3rqtdhzsa99k4dyj        BTC                              16.62187517     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qw3lwdqs0scz4ljjtc24j3y3pq5jg5t9vxzjvcx        BTC                              16.61124876     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1qavxzld6x3pacdwta6vyf9x452r2nu32m8n4gsw        BTC                              16.60677481     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5ntmsj52de6mar6v9swndwsq802lfesfc4sce2        BTC                              16.59967516     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qmk2v5pgx8nxfdep2qxsv088579aldrzvepz0cy        BTC                              16.59800449     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qn6gzalvjskxz64xhsvnvyqy630ruwfev3496c4        BTC                              16.59774878     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1q9fgjrapqvxfpk6f3cphslatfcnzvq5uzncerp6        BTC                              16.59657519     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsntqg43wz42yqa6xptrdlykun488kvkz3thrqh        BTC                              16.59107519     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qzwgw06h5f5v2ma5t8q0xrt90r85n3gxkt3049e        BTC                              16.59057519     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qlh2wxns8hsg3euqwhv95hq5zft6yvt8mh09cr0        BTC                              16.58457518     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q6rmfscn7gk7zkafjjl4np8esle6zwxm0yahy7y        BTC                              16.58427519     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qtfn2v5uyg468f6cdthr2gvm9fqsh9pmys2upgn        BTC                              16.58354880     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1q4sk0ewg580ugmktmqgrct586n5zl466dejj9mk        BTC                              16.58037506     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnkpp8r8u89r9az3fu6j867nkm4racaltnynpmh        BTC                              16.57927509     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh5krv884hv7rfj4amayg62wye3j6a8xnxshxp3        BTC                              16.55197513     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6x06yznh9l0ek9fvpgy7g9e8r68j50entp9xz3        BTC                              16.52650000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5d409hce83jxy2c7f4ajqw894ha4jfhs773ynw        BTC                              16.52200000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qjss5dq5qdu6wl84q4lgug577np70p07gd9yzed        BTC                              16.51567533     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnc9zc582hdxlvph54d99gnevm4e4c3yr9a3cj8        BTC                              16.50857534     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5p20szt49dlqpjputy95qry6x0722q85qkh0l0        BTC                              16.50597532     2022-03-29 18:18:34         2022-03-29 18:18:34
                      Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 21 of
                                                            76




                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qr7a05d4rxqres3mhygdnj75fgynwvwsgkx56fu        BTC                              16.48967534     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qa08lld2hqht46tk29rwk0cpmlz02hszm9pmypf        BTC                              16.48637535     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwhzukdd8xtjylule8qu9t6f5hcrqk24vuwrl3z        BTC                              16.46877523     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8h9f8d9c4llhyx0gaeuglzv05cuurz5dj8r5aq        BTC                              16.46717536     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q5kleet4jkr5u7f48tj7jwvej9llenl8u892w0t        BTC                              16.46547536     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qggqvw6p3xa6hhdkxegxuzeds75jr2xccs6528s        BTC                              16.46497536     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qsnwzd9j3ujj25xlzcccwxwxew00kp4qagp9ur4        BTC                              16.44937541     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2qq0pg7982x2apv07mxsl4a4g8h5268k7kdzsr        BTC                              16.44107540     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1quenruqdr9kzwy7ls67n89gs507nj3rtvg22lt5        BTC                              16.43897540     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q87fptx5f4qvqfw5lq0qzygj2m00v9kgjsxv0we        BTC                              16.43737528     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qragv07feecp0vzpyas7vfxvj8ulcs9kcx5yydf        BTC                              16.42747544     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qhyguxptexhal9qaeghrcfl09xy0s9pvqlfxyxs        BTC                              16.42417544     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkn2s2lx3sg0ce4sxku52gkdy8x0pn96tghy58e        BTC                              16.42207545     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qg9dqatyffd2kc0c40feck454jgegvznc2pnt39        BTC                              16.42177545     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7gkm6cyj7ugq5p4kgxqu9myreepulamk4fry5h        BTC                              16.41997509     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6c40rhdlenkrjvvgkn2276trnt0ujwyrwg6jq2        BTC                              16.40397512     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qplc0rmzyjj2wxt4456uf8zcsacawgm5plgkugx        BTC                              16.39317549     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qz7fa4v07kc5ygp86yy0np0n6dgzhusekvqcye4        BTC                              16.38677536     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qncncnjwggfaewnht5sk3ngrqg3me3tpyh7y022        BTC                              16.38297550     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4dxwns5aptgw0aqsysanrahfr7rwnw7wvq9pef        BTC                              16.38270000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8v8fjfrvuj96g3r27veu30x20qvnqe9w9es3c7        BTC                              16.37827549     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qe6f9jt0zzvzqwf0uz4q5fgwfj2wwrk50eztufh        BTC                              16.37707551     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsr6zsuhsx8dd7dtwddcf4ajvfn254peeuh5cxs        BTC                              16.37617537     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpqtm7ds9gm2nk4ukpwr9d0ywjnvhfvjvru06tj        BTC                              16.36877553     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdcv0vqy5p87d6xarcg6d8r0njz0ryxlj6qfvh0        BTC                              16.36852488     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwhc6e6swcacnze90rvy6kwjg94wts7sw0wnn0w        BTC                              16.36567539     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q22jz2xna50hzcj8ueekq839w739gl5zchegyef        BTC                              16.34877543     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qf725j4jtpq29evxxkk9n3xru6lv3t6tyeedz9p        BTC                              16.34407556     2022-03-29 18:30:06         2022-03-29 18:30:06
                      Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 22 of
                                                            76




                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1q3zy4ejyt8mw4mewuam9d08cehta6v2n8ql3v00        BTC                              16.33597545     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qhscss3f94wvpjrxuaf7vxjte0wdln57zg58l0x        BTC                              16.32490000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qcs8zdrhx7hav40tsm3q9wcjr52g8mfr7enxd8m        BTC                              16.32037546     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8yxnhqczr28l3eqrq88cl9ksq5cul0q3mlt5h4        BTC                              16.30587562     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q79zfm0k268cy6xup63hhta6agwn0xkccmxpsze        BTC                              16.30497562     2022-03-29 18:18:34         2022-03-29 18:18:34
                      bc1q9s06yv8k3czdmats0h7uqlfv9l79spjaja55dc        BTC                              16.30357562     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qpktut59ykd05kms35t30qjvzw2qyjcsfrk95az        BTC                              16.30320000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q0q6dlnhmr5tr8p8lvduz3h5v830kjw0gtfl480        BTC                              16.30217563     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqrx4ypw8nlt5yua4z0u6ywpdlqs5xmpd45mvcq        BTC                              16.29770000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3rw87eq9gqmkwpeg72twgz2pm86m70k8v83fj6        BTC                              16.28807565     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qm7mkye7zfl99mj46gk3dlmsxf7d82nkfhlv07l        BTC                              16.27214927     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qvvfc6jjjpc3gczt3cz8par34sveysppumqdsk2        BTC                              16.26967567     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q0lcdr7usfd48q5g0hyjdu5gda062dyq52ec4c6        BTC                              16.26857568     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qd5c8qfwxnppxajrlt905xpt0t64fhcllfdvvyz        BTC                              16.25131814     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q8m6lek94e6pyp6t5lr9je5pt3fj0rs283wadv6        BTC                              16.24717573     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qxfgpeq0qrrfte4cp58e8qdwwja6nzrnajy5atv        BTC                              16.24117536     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrgdnqt58jdcjqy6up5gwrlpxseu2msh4mn6kg0        BTC                              16.23547573     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q537h8wdcy47c5km7wfnhjvjjmn3t3r7g9cdegp        BTC                              16.22007575     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8jwxj3zqeenc9jarjhw7x0khjpxxrj40y4kjjc        BTC                              16.21907575     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkukngqd9rv05dc0h3ynq5v9ugm2esr7swfm9vt        BTC                              16.21857573     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qhux3pl6y44j48xcpn8krfynsazac23hrwevfnq        BTC                              16.21647575     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7dzr9as3hyzp46ex9fe5llvgprkczlfy2z0nkh        BTC                              16.21227541     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qr7myhrcr87ggulu426ywgucxanrs920t9vzmz9        BTC                              16.20787579     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qr8szfj86vne4p8jr24zmyst5lg48tsg2dergw7        BTC                              16.20667577     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmyy92mvl0ex32533jat6vf8qpgfl7pen8yslw9        BTC                              16.20374937     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1qd4vtzf79mtu58vfw6pjnyxkyxetfy3xt360qaa        BTC                              16.19447543     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqf2jv7382cpenjnh4sswa77w6t37w524x3lmuw        BTC                              16.18970000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh6rmq4zxzqd8cd7ngn89mm3kkc78yk3wg49p0p        BTC                              16.18877579     2022-03-29 18:30:06         2022-03-29 18:30:06
                      Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 23 of
                                                            76




                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qqmhqaljyusgkwetu39c0x82fktsect8ursx35k        BTC                              16.18317566     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5eny32hhz5s6mysx8frd40q6teu0qapydttphk        BTC                              16.17754457     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qng5ac5gqnqesw7mmgfpaausjzd9y7qcgrfc3aj        BTC                              16.17217570     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qctp5h0fk7ddy5csu5e7m8n0mu7jmphpuas9xls        BTC                              16.17027582     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwuttq2kujuaa5vdswesjc08m5g5nw9lpcsq888        BTC                              16.17027570     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q56r8n5j42sk3uqxxn60frm2n0v3qg4fjd2szyg        BTC                              16.16927581     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q3vf06u66x9s8dkn88586a80wzr7mgcqvs5f6l5        BTC                              16.16587583     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7tduuw6y6lmmwsyqsky8rjzzqq6z39c2tpahkx        BTC                              16.16397585     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvqtn0mffpd2hq4tjce5a0t3hw4lrc7rlxtt0f3        BTC                              16.16037584     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrlhkthdxu4upyap6phn2w3ks8795ved4gc9gza        BTC                              16.13957589     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qww46j4rnu04ahu20r3gdqtspfgmdsslfku5q8u        BTC                              16.13197576     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9zwpmadsvfpzmgv3wqsrhuy4u42hqmg05g4n3d        BTC                              16.12580000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q63gvy8jjv58sknu4ey0xlw7t9j9znfmat4pa53        BTC                              16.12513798     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6698srt4pvuxae0fgs8sgj2xqt04tutldkppn7        BTC                              16.12434428     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qj52d7tvrtpt6gl2s2eqh35w35ugqvf6jknvt72        BTC                              16.12247589     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyj807mzs9ddy2mndnyf3z8z8pvtufltweel5w7        BTC                              16.12100000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qn0hx45fwwunqehdpj0knvvdqqgjdw47m85xwh0        BTC                              16.11417556     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q488wnp4sjqkqas4rkffs2v78u3lck3eyhug3fr        BTC                              16.10177592     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3wnxhclxx3mvzg7k5fahzf6stk0ytmk3sspmsg        BTC                              16.09227596     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3zsgk08mua29ty8v57exqexngs2x2faqxag2zv        BTC                              16.08307595     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qm08j82akx6lfzfflyequ389dzss9vqmz29u9sy        BTC                              16.07137585     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8038jaw6yn32gavpknd2f0wmy2tsmwhhnkl5s0        BTC                              16.06524958     2022-03-29 22:59:22         2022-03-29 22:59:22
                      bc1qvmhx0l73rv08zqn7pznz6jweq0qsv4ngeyx45m        BTC                              16.04374961     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qwu4nwleag4slspuarsjxf80sjgf9cgp799mgwr        BTC                              16.03767602     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qaprce5shp9su049x3etj23q7wd8zcc2axq7t8k        BTC                              16.01197606     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q5t42lnrdvxd7s7rrsq00dn2d99wtkutmtttrg3        BTC                              16.01107606     2022-03-29 18:18:34         2022-03-29 18:18:34
                      bc1q9u7l00pzqvr2wr0cpehwj9qy562x7cpal00k44        BTC                              16.00857606     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qlnssnz5e7vlgxmc6wmepyep82n70sa5fcsgymt        BTC                              16.00767593     2022-03-29 18:30:06         2022-03-29 18:30:06
                      Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 24 of
                                                            76




                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1q23qmrjrc340ztz4f20ge7exj778t63d6z5m9e2        BTC                              15.99387611     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qeyyj9xlaged6td05jt8rt3v64snrx4u69p9t7h        BTC                              15.98764970     2022-03-29 22:54:53         2022-03-29 22:54:53
                      bc1q8quyk463wt9kdr862fv4g6dyelz6taekgmzrnf        BTC                              15.98637608     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q2ekmuhae2pggqrnt4fuvpna4d4yf22k724mxrs        BTC                              15.98127611     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qj3ggz2u2702lnrxne2q6mkdjh60tadj3a9d0j0        BTC                              15.96162187     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qa796h09yaxxpm850yrddnyw6nhr0d3u4k3mnuh        BTC                              15.96147579     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qev2370m0eytfmw6lpyavpjxnjnjp2h5q5r9w0l        BTC                              15.95354975     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1q3w830x9ndth5hmz3qp0drqzlne5apgcfu2elen        BTC                              15.94993826     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qm66rkllvr2rzazcwg28wtl3drsel5fc8grsvxn        BTC                              15.94877581     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qathx9zqemzdvvmnksm8rgszxpw27ft74m5h28a        BTC                              15.94837617     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qthdsj9fatjzre5eqy27qvgvrlatyzx3wqyncyv        BTC                              15.93980000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9gs4el0c6x6q57hzkxwpxtpezgs8cxywtswquc        BTC                              15.92627619     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qt8jvfks4cyznuwla592ppa2hsyrvrmxdcatnds        BTC                              15.92487619     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrsl8txv56k4pvvh5px5gegsgvnf7x0f0fduac8        BTC                              15.91677620     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qf4rvxnu2vhwuxmt54rqkyjx7dshs953lcnr7yh        BTC                              15.90657610     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qe0tmzmf34znxna4tlzwwe9xu670q4eq65cm7ya        BTC                              15.89127612     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qd5s5vlgw2w635x325tgtm638luhewl5uk2v064        BTC                              15.88637625     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvl9uryd6uf4ls2mptzchd0gvd6269v2n4ut3z6        BTC                              15.88490000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3560zh957sj484mf3gk77hufpnpfmzmle09yc2        BTC                              15.87067627     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qz98jz72hx9lvq4jm68entqlt65k9herxw3dz3c        BTC                              15.86537614     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q0879s5jmyajr70teru2k50rjrn34s595jm77xu        BTC                              15.86260000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qf0ve6r9qxzlnh06wngevyh09avded5epd0060p        BTC                              15.85420000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmgy3w34glckm0rw2cx95tucgf2n94nc0ghqz99        BTC                              15.85407630     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnw7xzrfzav4k988uguj9tuv066c826gzln9g03        BTC                              15.84827596     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qlkjd95rf5ghnrhrq4z4h2axr8p0k9xdtjpf9xp        BTC                              15.84077632     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvfe23jzlrx25yw8gw2ssaf85rtymljdtnkvpny        BTC                              15.83437634     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qy3xt7m300l2rq74aun3azpvzurp4syyy9phj0e        BTC                              15.83137635     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qa2k4yh9h3z4z8xgga2hjlg6222ex7kfaf829jc        BTC                              15.82587636     2022-03-29 18:30:06         2022-03-29 18:30:06
                      Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 25 of
                                                            76




                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qgke60ywg0e0stpr659vy7w5ewz2zk823n4klrv        BTC                              15.81160000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qusrsal4tpt3y5xmv8q043c30nqhtwddn07n9q9        BTC                              15.80157637     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q75qzwlhuzyap6lac77edeukgl0yagk55wy8epn        BTC                              15.79947638     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q87jesllwj90wm5lwnnn5fwvr4ex0sh0e0dll8x        BTC                              15.79837638     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qt0x79dspxtgf20kzhzysh47degdlcq6kea59p3        BTC                              15.79117637     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1q9t9w86spqz57amguvmxzqwja8qkdq80ua5xhl6        BTC                              15.79100000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvfzdjjk70w900new3mtdqu50qx6kqjckvqj2f5        BTC                              15.78517640     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwegzkga3r5zruywmzr7wnmg6y638yvm4aj7mrk        BTC                              15.76777642     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh29xuvfqqnvdduptgwf20k9hk3xfwpwv06g8g9        BTC                              15.76277643     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qag6590st8q2pwpqjsw95f28uaycy8vqd9zlp4g        BTC                              15.76247642     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qq8cvl3pn9gd33jpg843ywk8sxuu4h98442jwm2        BTC                              15.75020000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdnkf85223u3le7ewaa99zp4cckwphys63z5wqt        BTC                              15.74717611     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdeuz9u5a85zk00gnfa0ssr0vqsjg4764qlwnv2        BTC                              15.74597646     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnvsxdppqvhprrw6kk77jjgc2w00p77knxkcjgc        BTC                              15.74527612     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwf797nleh32nj45r4g6waus57me7fm2trf7hzy        BTC                              15.74297646     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvy093h4agmge3csqkta5gth539jwk4nrpqgr27        BTC                              15.74087646     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1quegh0ke8f86xdqea6u84wrwknesp3jc4t4aax0        BTC                              15.73607647     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q38dk5auumep96cssa4ukeq4ter7jm6lk3phtjf        BTC                              15.73415007     2022-03-29 21:44:59         2022-03-29 21:44:59
                      bc1qh7vkyjegtayxwhfjrkatkx22mndpdt7xyjuyva        BTC                              15.72747650     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkmef7n3jf7qzvw2vmsyw5ajlg0q4nncyznl8fv        BTC                              15.72567651     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qu09y8w9umlt8s3cqsc9zl4vhdcua76rq7ejwgy        BTC                              15.72380000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7hat5tn99c40lpxyxkrnzzyrdju5qtnd4eelqk        BTC                              15.71807650     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q26nfjf397el7zal2w420nnpdl89e0dakch7kw7        BTC                              15.71267653     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qna92njd7shaqk4kf66mkzmel676dmmhhc3qvwv        BTC                              15.69767653     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qchn4w0wkjlu926sm283x884635qdlpepclzktc        BTC                              15.69327652     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qx3ew8v56h8vyky6zgzztvf70ec2mwxe9jr2hpm        BTC                              15.68237643     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdndpss25jac62maw7ltn5g4t9xm8rl6kgrhv69        BTC                              15.67915016     2022-03-29 21:22:50         2022-03-29 21:22:50
                      bc1q5dd57n4g9d9qu4uvdq0au8vmmnt4hwsrsxhtlx        BTC                              15.67677656     2022-03-29 18:30:06         2022-03-29 18:30:06
                      Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 26 of
                                                            76




                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                   Destination Address                                                                 Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1qjlzuy8f364jry4azgdzaqu4tus0ylr947v2z2w        BTC                              15.66047658     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qq6pfd8ddn4vr3p6l578eeuq6lf740pnwjk37sw        BTC                              15.65957659     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qxrfd73wdl4wv6gd4s9l5g2e82fzwxlk3eh22nn        BTC                              15.65897661     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4jh53w6rhelsne4nx4wd3t4hr48g95v6clvdhf        BTC                              15.65157660     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qt3vwqfqkzs44pxn8e6ww0cgfstelzu2maqsvkn        BTC                              15.65057660     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9zgqfs7xe54dxcc6pcggfyf2cahd97f05gjdh8        BTC                              15.64870000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qxs4wa49x86x9mwlt6tnmtwewc4vce0a9exws4c        BTC                              15.64407663     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qqvg86jny4x0rzcgrn83yv0npsyt0gmtf9calvn        BTC                              15.63777662     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qztzdet87ldaepqu0anaut7wttt9v60uvw4g8zz        BTC                              15.63487649     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qvy4tjdyjtc5kjupyxc9xs7v3a2n4kfs6qqpnsp        BTC                              15.62437664     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qz3j0g8nkpkg4nky29jytv7lgucflquv9w77ztk        BTC                              15.59137657     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4fculnfd9dg89ysptmtwqg7ca8cel3ty6ttw2u        BTC                              15.58753879     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnnpv676tql2fq8gzrrqrn6rdhl27v3w55tavrf        BTC                              15.58597670     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qcrpz7jn2vv0rpqx3mydrc476dxe45c73fa2j7n        BTC                              15.58577672     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6ax65de99hy2zhnehlglzcz4dcd0q2zrz79umz        BTC                              15.57657671     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q87mgg5fkvk2av3enzgprkgt2t3ql7uqp2z0ngv        BTC                              15.57207658     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qm9rmmjgd9fk4ucdfxsr3g2ftzw4jv7uyj9z9dc        BTC                              15.57056502     2022-03-29 22:10:34         2022-03-29 22:10:34
                      bc1qsuykqf45y0fyzkaxmxnp205zert7exqxc7zmdw        BTC                              15.56477673     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qgmmmd9pndkhhtcw6erxqvtg75j0njzxjwdqk6k        BTC                              15.55497674     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyk7d26k0asmym956efq8a3qaxch5wjkumsw68m        BTC                              15.55080000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qtfus7a4zyv9pm7e5l3ar38rs0hm2vt0s86v2qa        BTC                              15.53727677     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9td7wlj6gm32npxzacw4hc0f0n3c5pz9jprye0        BTC                              15.52577667     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qmeukund88y3674dualnfz7wqc0qsm2jyp6j5d8        BTC                              15.51297681     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qp5ppgk7ms7vnwjyq3yrjqzy9d4jwgtp7uckfvt        BTC                              15.51277681     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh4funtq5q52unh43vh8ylsavaujzp5rsjhfc83        BTC                              15.50990000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qdjd9k0x98qs9dzx2a7e57zzmzhe2afuyzx5nvj        BTC                              15.50357682     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qv4legqua0rm3m269d3qseu6rjkl4cqt8pqfhut        BTC                              15.50277648     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q70zq4u60nh2sc8juyzqu4953qq7aq7mg3t9r4v        BTC                              15.50227680     2022-03-29 17:41:00         2022-03-29 17:41:00
                      Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 27 of
                                                            76




                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1q4j80qcnysv4jy2hrypeteczzs4va4nwklyf090        BTC                              15.49737671     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q308yjnm84rhplz8j43uepdqj066fehukv2v09g        BTC                              15.48920000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qedc5gw48guna7yuay3jrj8qxh2hrr3675k4kyf        BTC                              15.48764524     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qj75aenld690s7lsamx0gjalfhl8dyjgd82ps5m        BTC                              15.48337685     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qy2qcu9ptztvy5pqv62k6prta74pzlqsyphqunj        BTC                              15.46515048     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1qqzrq4a74ce0s7ngyysfkq8q4pu32ylvjhvkxqx        BTC                              15.45937689     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q45nev9vqh8dtqxq4gsy9ad32s0h9xphkagjqlu        BTC                              15.45330000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qrjqfnjgkp7eetfrytnha3p3neslxnmuasc6v3r        BTC                              15.45207676     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qn6u9azrr6t9ttzdjzudq0mlc25rlv3gpy04kef        BTC                              15.44547691     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qjsmx37mhqq5t8u8cryxgs3cyu0pnct2vualhyd        BTC                              15.42967679     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qf53mpqkxupsmedt6ffv25ehxjwqwc46rvege36        BTC                              15.42014568     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4yj0rnz73uatkqvdws07phlkn22mgnv8xxn6k2        BTC                              15.41807693     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qrlz5dxawmr3eyp38ldvfe4u2etuazyu56jhwvp        BTC                              15.41767695     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q2d45rv6pswxyg5rxelyd4quuxyqgxphk3px4ll        BTC                              15.41207694     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qzhnemtv04jzqvtzamnnx3z775vnmf6p7mds3tp        BTC                              15.40757696     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qngyf8dfkalsjrcruh870m7r35dw48nsmqyhzte        BTC                              15.40655056     2022-03-29 21:44:59         2022-03-29 21:44:59
                      bc1qvcjt2w59zrrpplnyc3pesncnhgl44nnla047hh        BTC                              15.40157699     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9awk0k25l7r9ephkn2gk72dy02z4nnmhu4wa6p        BTC                              15.39770000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q4q9hmk8s92jfntysw7e79klp77hpxzph3yrzr3        BTC                              15.39577698     2022-03-29 18:18:34         2022-03-29 18:18:34
                      bc1qhfxtnr2ns34k98ren48ug9mv8fsp447haqxnqz        BTC                              15.39207699     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qu88sehuyva2ktt7mht4vxwqxn7p99t0gaxhaq9        BTC                              15.39107699     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q3edh96z68djtkg07j2wtqkr7hzr4es0qa9hz8l        BTC                              15.38837701     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qxr809kdh6twjvp0pjgg99n34tuptdlz86kurwm        BTC                              15.38807699     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qv0dus75xt0vqf8xj62swktn0ue6zvq54ugqvda        BTC                              15.38527698     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qyxft0c4f9ks3lexp422ag78alpm5edxvvl526l        BTC                              15.37790000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qp44hw0llytp6u5gfptw2z77jfu0jmgj4um74px        BTC                              15.37117700     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qvsyxnkfm45klv3ls6fd0lfu33sryk85m75u4u0        BTC                              15.37057690     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qwqe8lyx6h8zvse3rl9rt0cmjaks4fpgtj8a874        BTC                              15.36487703     2022-03-29 18:18:34         2022-03-29 18:18:34
                      Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 28 of
                                                            76




                                                                                           Funds under claim
Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                    Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
Name      Name                                                          Unit            tracing methodologies;
                                                                                         in cryptocurrency unit)

                      bc1q5ft5nwcg8jtwk4m3n6tarjmpvaqx2a357y55e5        BTC                              15.36167701     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qgk4a5c7gxhvnwkcvx6djz3htuajlhjq4kencky        BTC                              15.35927704     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q09ya47h6tevqxv2pa3nzvdmdlgd6g3stlqrevj        BTC                              15.35650000     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qm76uhrv4984xe2udmtht85xmm6tdlzv34z78jv        BTC                              15.33627695     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qkktddsguerculynh42kqmek26vdwkeec0j9v68        BTC                              15.32282422     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qyjs9ys7n86cw4gq8muf2xguua6au0xrprvfgzv        BTC                              15.32107696     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnq3grj8th63xtfyg3dh7q9u82feh4cqf28k2kr        BTC                              15.31887708     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qz9rudkg8xy43549l3mn8qwd8uz2nd3mjejwyfp        BTC                              15.30825071     2022-03-29 22:51:22         2022-03-29 22:51:22
                      bc1q5jlsltstk89mz2typw54qgsa34dk3fzcpsujwe        BTC                              15.30817678     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q8yuz0xy3gvq0gt36yv08694tnhn8hz70nudjew        BTC                              15.27595076     2022-03-29 22:59:22         2022-03-29 22:59:22
                      bc1qyj8d2xhcucftm3vnsdj2gz3afgad6cr8990t37        BTC                              15.27397716     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1quvgs939cglc9cyddu652xhxfakke9kxg7slu7k        BTC                              15.26937715     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qcrry55sq6zkytp4mjtyytsn407fd5aft2naf0r        BTC                              15.25287718     2022-03-29 17:41:00         2022-03-29 17:41:00
                      bc1qkjyrahygf3yy44e5cxgft79jasnrvzp85g0zh8        BTC                              15.25117720     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qcsa4lyq4dlpx0jk7nfl0pjzkc4nhmmvjs59gm7        BTC                              15.24735080     2022-03-29 21:51:13         2022-03-29 21:51:13
                      bc1qz3jfahcrvm88ej7dght4c5mwmv78g3zrzqrujy        BTC                              15.24577720     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qskxygznnn3r6y9ehuaq9x522zkr398kxdfv9j2        BTC                              15.24564594     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qka3ruay09n44xt55jzzclyrfwwjd3m3nhkmjv7        BTC                              15.24237721     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1quxha6fawsv6kfkw7v6qwtwt6pcpky9wz0ng0dr        BTC                              15.23147711     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q6r8vk2mvz768qd5qafvzgyjlc8jazxkxlhzgn4        BTC                              15.23077725     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qh5tnn2z45qf69x0hk6cpkau9rcqh5clh3qzenq        BTC                              15.21667725     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qp65vzh293c2ngyqcydpu38t4uk25huj3utyjgg        BTC                              15.20507694     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q9xfv6zrwfelvucpdr6jrumznat07jfp0wflje9        BTC                              15.19857714     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qep32mwza5vfrm9d6h5p98z5q2lhlxnqj2eyjyf        BTC                              15.19137696     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qsd8y7v90yzed99w8t3pz75cpfzff5j9q3j8u9c        BTC                              15.18397732     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1q7aptdtc87wm272kd7fq5g3v0tpuxr9aggwxt02        BTC                              15.17045092     2022-03-29 22:30:44         2022-03-29 22:30:44
                      bc1qzpzc5vjq55qsrnzh4e0s6qu3zmskthu42fnlm3        BTC                              15.16557733     2022-03-29 18:30:06         2022-03-29 18:30:06
                      bc1qnx2npkgvq54vf5mpyf7pmtnq4mr9fp4klv2xvl        BTC                              15.16317700     2022-03-29 18:30:06         2022-03-29 18:30:06
                        Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 29 of
                                                              76




                                                                                             Funds under claim
 Owner    Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                      Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
 Name       Name                                                          Unit            tracing methodologies;
                                                                                           in cryptocurrency unit)

                        bc1qml6uadlgagzwn8mvm2jtu057u2yzvc3er5gucl        BTC                              15.15450000     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qgsrkuedl7mgaft4gyhr3hrf2j65e96pa0vfa3x        BTC                              15.14107736     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q4nfeatdsqgg5xj60nt90l5nlrt233xjkc804ax        BTC                              15.12777738     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q72qj7x33a8ljympw5fzc2ugzghmmjkvxmg7svc        BTC                              15.12250000     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qn7wzj273v5hqpz8gu4mhhhnj8zyv3gf65wlxru        BTC                              15.10917741     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qe8yq7my5tqr0h5tljcuvqa97m787qm3evpauvv        BTC                              15.10685101     2022-03-29 22:59:22         2022-03-29 22:59:22
                        bc1qm6m5655erkrf86prqz08jnfdvdads00jqu2fdg        BTC                              15.10655101     2022-03-29 21:44:59         2022-03-29 21:44:59
                        bc1qnjdz9ex9phcgaczsgp9tc5gusqsaf8dsazr72c        BTC                              15.10507742     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qea7lhuynzuxv4z0hexznedm0sad0zl87y7wvch        BTC                              15.10457730     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qzx22jvfnmyd5sursxwgxjnmpkx6sjhxvdyfke7        BTC                              15.08867731     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qfz0t5hqu0zn844p9qg7k7p9elkrs2uj5c7vsj0        BTC                              15.08787746     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qhxveh4cx9tz5s7hs0xr0jxgnka4jarz5953rgx        BTC                              15.08127745     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q7xpctyx20r6762h7248nu0ky8ndt66yzn98wdm        BTC                              15.07337733     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qanrrfj9dalv9gzt8txwru83m7agqwfah2gc5s0        BTC                              15.05947748     2022-03-29 18:18:34         2022-03-29 18:18:34
                        bc1q3rreq6sdz8648vvlad7ay5wwr2h75ktzxt8z6u        BTC                              15.05187738     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q5ksyr8acf88dpg54fa8p7eq9pvsf578xjj5yqd        BTC                              15.04920000     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q6k7zfkf836qjarapnnw7ch0x8577e4wq72hljy        BTC                              15.04837750     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qfpq332phu33cyz345kntdhpdn8rr4ypvauwn8s        BTC                              15.04814624     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q3w7nzk5vntmddk256j4c5z5faq58288ztw44jy        BTC                              15.04737750     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qmgc0fgy83ywze87d6lf5td3r9ueu90hz6z3ug3        BTC                              15.02960000     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q3sa8pkszkkg9tr2sd6qjutvqm5hxtf243t6rzn        BTC                              15.02777720     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q8d06pxv86sqlg7dfh8f0kp0ea66hw35wmdgpf8        BTC                              15.02457721     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1qsp5lcqeyrmr7knp8jj692mmc8qkyp7jl6pk0ly        BTC                              15.02437754     2022-03-29 18:30:06         2022-03-29 18:30:06
                        bc1q0eqyuc8x3utx33fj5u09lakgxcggfwwhzrsfhf        BTC                              15.00787723     2022-03-29 18:30:06         2022-03-29 18:30:06
                        1156oPWN2U4aYa5yHnQQeeWC8Md1uRzhZo                BTC                              11.17130350     2022-03-04 01:02:35         2022-03-04 01:02:35
Binance                 1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg                BTC                              10.94525982     2021-02-24 08:11:46         2021-04-18 10:53:00
Ren                     3LqdjTMqS7q9AeGfWd1xk9rz64D5qgUmzT                BTC                               9.28167776     2021-03-01 13:52:38         2021-03-01 13:52:38
Binance                 1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG                BTC                               9.06994620     2021-02-24 08:17:53         2021-04-18 10:53:00
                          Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 30 of
                                                                76




                                                                                               Funds under claim
 Owner      Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                        Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
 Name         Name                                                          Unit            tracing methodologies;
                                                                                             in cryptocurrency unit)

Binance                   17iwoMJv33UgjWxsM1j4UpKtMnGC8hh5nD                BTC                               8.83901059     2021-04-01 13:43:02         2021-08-16 08:27:40
                          bc1qra99c2y4hsu0qx35g5nejx56zhe6gmwdx6xadg        BTC                               7.99197644     2022-03-27 23:54:03         2022-03-27 23:54:03
                          bc1qytx462v93nya0w86eca9hce8tr5n0jwpx8ex4u        BTC                               5.52891525     2021-03-29 12:29:40         2021-03-29 12:29:40
Binance                   13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR                BTC                               4.59320846     2021-03-14 19:43:26         2021-03-20 18:43:23
Huobi.com                 1NnwU2wqppE4f7cjHPHRh79kF6UDMcwGzB                BTC                               3.81539799     2021-06-02 22:37:14         2021-10-01 15:35:17
Huobi.com                 1L15W6b9vkxV81xW5HDtmMBycrdiettHEL                BTC                               3.70618106     2022-03-29 13:58:11         2022-03-30 11:36:45
eezy.cash                 398FNpRVsj72YHcagHyExDeSTH4FG3t1KG                BTC                               3.59489019     2022-03-21 20:40:59         2022-03-28 20:14:28
Binance                   bc1qt73y0anphywgrf570twd0htekatr435d9xf5mt        BTC                               3.58410164     2021-04-19 18:22:10         2021-04-19 18:22:10
Binance                   1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx                BTC                               3.43832425     2021-03-08 09:34:45         2022-02-13 16:41:01
Ren                       38L2i15SxTqJ2vD8X71DtfsBhuUefwibJX                BTC                               3.36616218     2021-03-01 13:52:38         2021-03-01 13:52:38
Binance                   1Fs4QNPYf7Zf7CeJiFmSkTK3kzvENVD5w4                BTC                               2.32731897     2021-02-16 02:39:49         2021-05-24 18:55:51
Ren                       19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                BTC                               2.26423183     2021-04-27 21:43:52         2022-03-28 15:28:47
FTX                       3LmNPNQRWt74qvVrsFZerUcSpkH4UZg5sA                BTC                               2.20563584     2022-01-06 15:48:14         2022-03-29 05:47:59
Gemini                    bc1ql8c2rgv2qpa25cc77usap7lvsvms6tgyv6smxk        BTC                               2.02532661     2021-03-10 01:12:35         2021-03-30 05:38:04
Ren                       3CzGP9Je4jHD591qW6e6c1AbtLQrsxQZo4                BTC                               1.99991662     2021-03-11 03:11:02         2021-03-11 03:11:02
                          bc1qfvtcxxxfvcx65f5wq2p5f9s64e0kgjlpu2dg6k        BTC                               1.94636578     2022-03-30 08:54:51         2022-03-30 08:54:51
                          3LpdFRNgGdVsRuxj4RGJCJLN99TJNyUgbK                BTC                               1.92094692     2022-01-31 19:06:48         2022-01-31 19:06:48
                          bc1ql88yt08t8z7mzfd7luvp9x903z2alvm93szzwn        BTC                               1.91972765     2022-03-22 21:51:16         2022-03-22 21:51:16
Ren                       3HUQjCX6bLXzHMdCzTduAUWc3yMkzRA6La                BTC                               1.82352728     2021-03-26 23:53:49         2021-03-26 23:53:49
                          bc1q84p540mk0fjzx2t0yc70q67g3q5yvsxpez2jzs        BTC                               1.66660525     2021-03-30 16:47:06         2021-03-30 16:47:06
Bybit                     1Etc4GPZbe7iXY7y5zqpA3gRhGqSLBGXt1                BTC                               1.59985854     2021-06-11 08:34:44         2021-06-11 08:40:16
Binance                   17oFzfQQb79jHghVBLF5wic1tKASRjpT67                BTC                               1.52477837     2021-03-16 03:49:39         2021-05-20 03:37:24
                          bc1qjchu79yew2wv4mt08xp57vvule0dq49xf5m2d2        BTC                               1.49701725     2022-03-03 06:42:18         2022-03-03 06:42:18
Kraken                    38HyrjdARosXGr8SXyzLQLWuSCdi8hqcDR                BTC                               1.39992011     2021-02-27 15:21:00         2021-02-27 15:21:00
                          bc1qffm9u7a8czk8pgyjznkwvavkutwgfrnlvdkhay        BTC                               1.39992011     2021-02-17 03:06:09         2021-02-17 03:06:09
                          bc1qrrm8wgkt5sdkcr9qp2eth4ltr9q3xhn06v6l70        BTC                               1.39992011     2021-02-17 03:06:09         2021-02-17 03:06:09
Ren                       36CpqVr1SHJ3aj5NcWbnnDaZNxTN3PrtcT                BTC                               1.39987192     2021-02-16 14:30:47         2021-02-16 14:30:47
Ren                       33DaZYib7zij1LP2x9VHHSb6dYDhUymqXt                BTC                               1.39987007     2021-02-16 14:56:40         2021-02-16 14:56:40
                              Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 31 of
                                                                    76




                                                                                                   Funds under claim
  Owner         Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                            Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
  Name            Name                                                          Unit            tracing methodologies;
                                                                                                 in cryptocurrency unit)

Binance                       1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                BTC                               1.39406858     2021-04-27 18:07:07         2021-11-09 16:44:29
                              bc1qzfhwgletqd4u4vgg0lca5nlgatj8evz2uuq5cv        BTC                               1.38222881     2021-03-30 05:09:20         2021-03-30 05:09:20
Binance                       14kbqzg3mJrx6zmY5dYpCVhBJ3mrd7pYSt                BTC                               1.35380062     2021-05-11 11:53:29         2021-06-05 22:37:32
Binance                       1J9UZvdFP5betiX2oFkeHBcDjVXD8ceFPV                BTC                               1.33290382     2021-03-27 14:28:50         2021-05-03 22:36:38
ePay.com                      345WECfQe7YUAVXRkueY8QQqr8dDeg2iqz                BTC                               1.29111901     2021-03-21 04:43:57         2022-02-09 17:30:18
                              17Q63JDKjEeaEcLuFNrvoozbP6Qx8G7xfs                BTC                               1.26661505     2021-02-28 21:14:21         2021-02-28 21:14:21
                              1KNyd3rmeaUMptExLR2fy4kd8eppCdfpW9                BTC                               1.26661505     2021-02-28 17:10:03         2021-02-28 17:10:03
                              bc1qsnz7d7zkeg90yxe9hsufhv8qcp8353jlpce47h        BTC                               1.22541131     2021-03-29 12:34:57         2021-03-29 12:34:57
Ren                           3953TFvpANofLb45AkrtitCp2k35sp2kJg                BTC                               1.19998029     2021-03-15 13:36:06         2021-03-15 13:36:06
                              bc1qxnrhje9ekvu3qyx534t38q3j0g0w85c3ruwznf        BTC                               1.19998029     2021-03-29 12:29:40         2021-03-29 12:29:40
Huobi.com                     1J7W1QdckENxyrE4mECLfgZXvgJj3jy6iw                BTC                               1.18715936     2021-04-26 13:38:26         2021-08-21 08:30:12
Bitfinex.com                  bc1qfvejaeuq8pef8dph9v2zgg0qndszxjvnupk74r        BTC                               1.12518030     2021-06-22 19:11:02         2021-08-24 18:07:51
                              bc1qvvxu96tf7wtsmjd4usv7p4nm50yzr8ffa88qcq        BTC                               1.09897684     2022-01-27 10:59:39         2022-01-27 10:59:39
Binance        Suex           1L4ncif9hh9TnUveqWq77HfWWt6CJWtrnb                BTC                               1.02996683     2021-06-22 09:11:17         2021-06-22 09:11:17
Binance                       1JTDfmnMJPUSE5iHM5tfvbWC8wGkiqJhsF                BTC                               1.00912125     2021-11-07 04:00:12         2021-11-11 18:21:08
KuCoin                        36LKXRs5nvELt9oJDWa6wi66Zu8jiwxj9U                BTC                               0.97565993     2022-03-27 22:35:33         2022-03-29 21:27:37
                              31yj1DBjxkyk4jQ1HGFDLGKidaEzZKP7Vm                BTC                               0.94583983     2022-03-29 19:20:55         2022-03-29 19:20:55
Bybit                         1K2NLvcHwup8FbGiUVdRWefKxnTCLd8t5n                BTC                               0.90420114     2021-03-25 20:04:03         2021-03-25 20:04:03
                              bc1q60vu5wptrcw528429vthfapxsmr3stl3trkdkf        BTC                               0.89351412     2022-03-29 03:47:46         2022-03-30 04:14:35
                              bc1q89auwcjq74nsac2sfed3whx67863kdsvxua0hw        BTC                               0.86837611     2021-04-29 02:02:09         2022-02-21 06:45:45
Kraken |-| H                  1BCEtYsVj9vYEBCWMCNVAPEJoPwVuQwit                 BTC                               0.86061844     2021-03-11 00:29:47         2021-09-07 22:56:08
Mandala                       1BqazAeRaCLJUquxWfQPhWGU1nqVmyFmMU                BTC                               0.84861044     2021-02-23 15:36:54         2021-02-23 15:36:54
                              14qrRJYj1umtUktTJ9aSzvXScdSsrNegoP                BTC                               0.84861044     2021-02-26 13:00:10         2021-02-26 13:00:10
Binance                       12K8u22kjGxWadyks4YSZbNqZbEGpmUNpm                BTC                               0.84215171     2021-02-27 23:53:43         2021-02-27 23:53:43
Binance                       bc1q5ewee3tn53kqapqhn4c2r652lpv5llvud0r40m        BTC                               0.79992927     2021-05-26 11:09:01         2021-05-26 11:09:01
Binance                       1LArmCe82visDjDeKXq3xxCWGmFMW8f3Sz                BTC                               0.79904496     2021-07-06 09:22:06         2021-07-06 09:22:06
Binance                       1HVj6JWaAqu6JSjhQeq9YpG8kRCAywY8nk                BTC                               0.78480180     2021-05-12 14:10:25         2021-05-21 23:13:00
KuCoin                        bc1qx65xcxz6dfsge2g4eaerercslh83y66wrpm79r        BTC                               0.72165325     2021-04-28 15:08:19         2022-03-20 15:01:48
                            Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 32 of
                                                                  76




                                                                                                 Funds under claim
 Owner        Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                          Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
 Name           Name                                                          Unit            tracing methodologies;
                                                                                               in cryptocurrency unit)

WebMoney                    1N615Az75xbRtQsTDvDRrxEaRuL4SxdARs                BTC                               0.70461396     2021-02-27 01:07:26         2021-02-27 01:07:26
                            1Gy3f9vDFrFZY9sgqQ6gmxAko8ZRGyPaPJ                BTC                               0.70461396     2021-02-22 04:13:53         2021-02-22 04:13:53
Huobi.com                   1JLLHirATruFSm9bt6U9kBXu1uLH8ztx66                BTC                               0.66898374     2021-11-07 04:47:25         2022-02-15 11:55:04
                            14tkMGARrkM5QNJexJFqP1gGJTYoJ5z5bm                BTC                               0.66662837     2021-02-24 22:54:43         2021-02-24 22:54:43
                            bc1q942nekgt2r080x04ytc900t02cyyqug8qmldhj        BTC                               0.66662837     2021-03-09 17:16:57         2021-03-09 17:16:57
Huobi.com                   1xSEjfGqgxXkSzeG6MEVtfdjUuumEZqsB                 BTC                               0.64986873     2021-04-29 13:58:34         2021-06-15 11:43:04
                            bc1q26rgpvcnrgfu3ay7rvhjj8hddlng30f9ld73j7        BTC                               0.63084987     2022-03-24 00:25:38         2022-03-24 00:25:38
KuCoin                      38mtv2P85GLKLBQ99b9vk3MQ8vorVJ1TBB                BTC                               0.63084930     2022-03-29 20:17:43         2022-03-29 20:17:43
                            bc1q0kkhuhs35jkvla43nefmsggwwc0kvwmevc350j        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1q6xwzfvdrztg7yfqetv5qfsspxemmlqk89u50q4        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1q74clp37u6e9kxd0rsuchd98yz4tf4v2fzlah2s        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1q7ag3d3kqsenkzkd69nwxum0za9uxwzpyjdfwqu        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qck8grfkyzt3n49h6dwgf3g633lfagr998l4skl        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qd38e9k75d5l9zdtfz8dk35uh0khfjz40a6vamj        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qgk63nhphq0t4qg92aey4hajunuqd0zmjj5etkp        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qj7mafvpnppqa263t96at9ar78qaptc7d6f2hdf        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qkh9j59tzsgfpm5r7yzxzjv8tsuemeapdlkhur0        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1ql862fdu5m4xg60trzhk9gsct3a30hxh3mllvvx        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qmhux6ucklkxzd89vqmm49zgx2hn7y8fn4gsqf0        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qq09th3heych8lvzu53y9vaxyeywyv67fq5y5u0        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qq600x69vtzl2l60tntfhz39lnjglh9vgpwtmm7        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qvt63qc6ktcy3rlc7s3mj3wtu079cargwx45gle        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qwa8eqgqefzz5gqwnc48sert68t6lmj8de7fhws        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qx8przrauvnn2jp4hc8g675e7fgh86p96fl9y5m        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
                            bc1qy0qqa32ag69a2ccu9dwyujhpsu09plmcnkwn5e        BTC                               0.63084930     2022-03-24 00:25:38         2022-03-24 00:25:38
Binance                     1FwAX1yW2szV6gG7YNJvRWY242dokFCrtf                BTC                               0.62657482     2021-03-27 21:29:01         2021-05-25 16:42:56
Bitstamp.ne                 3QgTU5fwPWHMNkbx4fhwU9MgPzPbrYnXqY                BTC                               0.61318338     2021-03-08 04:10:29         2021-07-25 06:15:20
Ren                         3GwVA3kPCxkfxiTnZUJbBzF9cH7j5omtFh                BTC                               0.60953274     2021-03-25 08:11:10         2021-03-25 08:11:10
                           Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 33 of
                                                                 76




                                                                                                       Funds under claim
 Owner       Beneficiary                                                       Cryptocurrency   (average confirmed with the five
                                          Destination Address                                                                      Tainted Inflow Start Time   Tainted Inflow End Time
 Name          Name                                                                 Unit            tracing methodologies;
                                                                                                     in cryptocurrency unit)

                           1JYiHUUxcLSo3dzNHu1gc3EhCuoFK5iAtX                       BTC                               0.59999651     2021-04-25 09:37:01         2021-04-25 09:37:01
                           1Ld3oUUcN7EGhJ1ckoBnZ2LoN2QmCbBHX5                       BTC                               0.59999651     2021-03-24 15:40:11         2021-03-24 15:40:11
                           bc1qz9e7p85d7n4rgkarudx80xh77crzz4ad0pnnvg               BTC                               0.59999651     2021-04-08 00:50:18         2021-04-08 00:50:18
HitBtc.com                 1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                       BTC                               0.59772461     2021-05-11 09:43:18         2022-03-03 08:58:50
Binance                    bc1qhjja98qwyf8lhw480u7aq2je7vhstluvz3cqzn               BTC                               0.59769477     2021-05-12 13:09:23         2021-05-12 13:14:01
Kraken                     bc1qfuddrpsmkymngxkm4nz99ac95vrxad7carhxp945ajrcr        BTC                               0.59450753     2021-05-04 06:33:22         2021-05-04 06:33:22
Huobi.com                  16jjLTYuDkxJMvqWCbp6vsznBGYoTgysNT                       BTC                               0.59179182     2021-11-07 08:47:35         2021-11-09 08:25:49
Binance                    1DqfMX5dGC1pbPtHE9hb7b9NSe4krJXByH                       BTC                               0.58142987     2021-05-13 14:24:04         2021-05-13 14:24:04
                           3E6LcDYmsTgqSDPK1WL9dCR8anypGSKCdD                       BTC                               0.58121912     2021-07-20 12:30:38         2021-07-20 12:30:38
Ren                        3HSUqCM5BqF2mZW3RKExw9AGQvE5eAaCnb                       BTC                               0.57000334     2021-03-24 14:20:43         2021-03-24 14:20:43
                           3Mb5fYVRqgsvvXBLAG4DpbpPNa2mKhSdYH                       BTC                               0.56907181     2021-04-10 11:29:37         2022-03-30 11:16:56
                           15LvA1NxD2musvaqsTe7jTL38jnhG3XhR3                       BTC                               0.56892175     2022-03-28 16:25:01         2022-03-28 16:25:01
                           bc1q0nfzd7u4gp4ujqnjqvn2avaka7apw69yhune55               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1q2n7vle3ndlkvwj3rwflz5wltdqhvvjkwgrp8pg               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1q3qlsplctu0gdjtfn9ru9ssgauwq5flj5r6t3vm               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1q4wgkthjsed7zpnrsz72ld37g55h6lq3lc94e5r               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1q6n5gn0acmjhzd7e0q65ghynuvcsy6pk99pgm68               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1q9pcylvq33rfja32vqjmkwh2fkdp6qe4gqa9k80               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1qcly2e28c2n0urdu7el3el54numesud6cmmn8r3               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1qjxl425j8nzmn5lwtem9rzu24n9gql2t90yhrn8               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1qnnxkjj0fxun6dyqaucp22kyt7mhpn9nrxwvfp7               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1qqe0c2hdfwgafvuh45k4pnejfx0hepa02845wzz               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1qqnte539mh8r20hc3wpjyua6hda2alfyndef44t               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1qscuxw70wuugt49yj0kd58hjkawztur2lljh7nf               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1qsywe8ng5avwkzqz2rskunfjreh70xngs365068               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1quqmwlk7rhynuepm2kdz6rve7ugagfpf55j22m4               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1quvty9m279paqg0qt04m5y7qa85a603ghgcazt6               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                           bc1qx06a93u5g852x4y684kgsu6yag4k4pwec90z34               BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
                        Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 34 of
                                                              76




                                                                                             Funds under claim
 Owner    Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                      Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
 Name       Name                                                          Unit            tracing methodologies;
                                                                                           in cryptocurrency unit)

                        bc1qxydj4s39e6ntwjm6z7vwxzdv3jycpmtuaapmsl        BTC                               0.56892175     2022-03-24 00:25:38         2022-03-24 00:25:38
Binance                 17ssMKaUL7vVJZQBs1CSP7oD8in6fFQ2vz                BTC                               0.56689702     2021-06-15 09:43:53         2021-10-08 12:39:37
KuCoin                  3Agw5GYmkpsJmg9kajCvxx4mq9UwtZKLvM                BTC                               0.55118600     2021-08-20 19:33:42         2021-08-31 02:32:28
                        bc1q5xx0efc6eg65t44f84xmpx5dhmy66337egdqma        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1q62gyqqzgy40g4skdtg7a8ed359y4em8nvvemvy        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1q7arw7sz8mczyry4v3yzwj4m4ylhtujs3renkp0        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qa9080ucs7ydwxwshulhgncv6q5rkuefs3nc5pc        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qg58g6mjj63k46q872tsex63mhnrhp59l6qpsv9        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qjdgqs5ckupyxu7fh2rnqdmw7jrwkqlskv7sevt        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qm6e0rajkvhkkzs9tt3j74wdeyxuvujsllqm2ze        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qmr4pws8ak73xfwu87ssgtzw5562ez70npazg93        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qnajvq48c0cgjr0vcgjcv4n570ws47pww655cm3        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qpz5adrc2kqz4rs4eg2vlan0v9vt80vqpf6phh0        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qqp5rcklcd2ac798qc9avt3v4hmr5ezazzr0rcf        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qrrskakx3n32n82wllxg8ue36xq329gde947cl8        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qskdw772zr6z3nsyyg5stca9jwnjz4emuc7pwjh        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qt3wccpd6h0y7sz3p2auer4ewh0900r75dp2ud6        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qw564upzhd5avj4fsne0dvvgswrf28qzscp07t0        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        bc1qyqqlnn8sv2gnp4pyks0mtyucls7pcn3f0n7w6d        BTC                               0.54418243     2022-03-24 00:25:38         2022-03-24 00:25:38
                        1JjNHsLp4x6BkeBz8hyk5tGtynykgXYk3y                BTC                               0.54224364     2021-04-24 02:29:41         2021-04-24 02:29:41
                        1M91yasLRiWghSHsg3kfmxfwUaeC7F5f3T                BTC                               0.54028621     2021-05-27 18:59:06         2021-05-27 18:59:06
Bybit                   1DEBVQ1bVgvMXFmrTHi7AWSCaQGBCm55NB                BTC                               0.52627984     2021-03-10 21:06:18         2021-04-06 19:10:10
Binance                 19U6Fk9YQGAhi5bBg6xcvNydPd9SJyCmXf                BTC                               0.52447578     2021-05-25 07:42:30         2021-05-25 07:42:30
Binance                 1NkFXyXcaYKqnuc3EC5JB1CnvHjQYH1x5                 BTC                               0.50793289     2021-05-01 21:59:47         2021-10-20 16:37:20
Ren                     35TjCuKRbKcofxnKG2EkC8B66ZNXKqE1aN                BTC                               0.49996934     2021-04-22 02:00:30         2021-04-22 02:00:30
                        bc1qaucqacwa5huhwcxhnyzcadrpfq2ananru06jfs        BTC                               0.49996934     2021-04-08 00:48:32         2021-04-08 00:48:32
                        bc1qswqxyaan9s29r42mhy93pt02rcnc3dw3t55uxl        BTC                               0.49996934     2021-04-08 01:14:25         2021-04-08 01:14:25
                        32NNmWqELdRvpKwgwxc8jWXdStSDt55uCR                BTC                               0.49972764     2021-03-17 21:13:25         2021-03-17 21:13:25
                             Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 35 of
                                                                   76




                                                                                                  Funds under claim
  Owner        Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                           Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
  Name           Name                                                          Unit            tracing methodologies;
                                                                                                in cryptocurrency unit)

Huobi.com                    1DgFr4KzUZD9cpgnBZCypK9iYeHb7vgRH1                BTC                               0.49915514     2021-04-05 03:53:54         2021-04-05 03:53:54
                             bc1qa9z7y9m056wz6hrzqaznv4zdu0dfld97mcvrx2        BTC                               0.46666504     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1q3xkg523g2e8fuu6v2hnsl2hgnx9p3mzgz69u88        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1q4ah3ksyeu6wdxf5yc09w206u82s8pmqq9gg2d8        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1q4enlt0wmxxs9mphxdtk59g22l4v6zctsgw9hhs        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1q5cvtwt6pw9fghdmnat23gf0gu0fj5zs9jgtvty        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1q6wpn9mzk5xsqxk3024kgc5jx6r5aqh4augtxne        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qa64nnpnd8saltw35n378xz0rywsuy75pexrgna        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qenkthya086fntrp7cj2fruesjrag6tvuwfcnda        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qepfr4z7mcd4hzqzm4lzw0e2dajwv76d3lngpq2        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qf9elym9vt4xvyhzmchqzdtpkz6t93y4856smq7        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qfxy2d56mlusu9y0qd0qam5zqwkr9tfsq0xkjh6        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qk6dghfg3fpv8z8vupt0zxqt3h0ct9q35htvgrr        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qk764kjla2r5300njcs5pdlnyasy84tavspkplv        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qlayhwj7p0rnez9vx9xm64aqcwqedmc7g78smg3        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qrywv6cj0mpejvkzrkuvj803j2akjn8y4n4ep3r        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qrzltvvpef4v2jr8625ar9w6kk6kya894s7kv8k        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qrzm6l6uaquwuvzjd4p5aqummmfp8guyvuz50qh        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qs4rthcl345qn98yjt9qnchkkpv8smk96c8myhn        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qt2ee5hff3p20hf52895lr9466rshlpxqpzzxap        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qttdz8p5kwfp2c49sd5kf4wcw7rf5a6lynrycvm        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qu0pteap0avz7k65j7v4s99rgawqgde842h4km2        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qvjkd53ltlrdan97294mpl2e38z0vgvrjklt9t7        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qvpfnxzfmge30v3cndktau27smgqekcst35ykea        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qwg4scylw2fufthd3y9a6cml48cyy0q99ad4hj9        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
                             bc1qx9l70vs36wangm9u37fys4rmpqkvafy8x9x394        BTC                               0.46666489     2022-03-24 00:25:38         2022-03-24 00:25:38
LocalBitcoin                 3Hc17tSzv1L1J7GU7FC7624m7vm7EVnxZS                BTC                               0.46658883     2021-03-12 20:12:05         2021-03-12 20:12:05
Ren                          39TSkidWoFVb4qnnWDrcgXirwoxCLRjYbC                BTC                               0.46658883     2021-03-21 18:47:47         2021-03-21 18:47:47
                          Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 36 of
                                                                76




                                                                                               Funds under claim
 Owner      Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                        Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
 Name         Name                                                          Unit            tracing methodologies;
                                                                                             in cryptocurrency unit)

Ren                       3M8VZjtAqi51LsMuRGGY9mhPvQk5hvubvt                BTC                               0.46658883     2021-04-22 02:00:30         2021-04-22 02:00:30
                          14kj2WqjoDqfqRJo2Mtop9DofELcdR2X4i                BTC                               0.46658883     2021-03-24 20:13:41         2021-03-24 20:13:41
                          bc1q6ajkvyjrtn9dpszmz58gvh9nux6jx42d37dkp2        BTC                               0.46658883     2021-06-28 13:34:32         2021-06-28 13:34:32
                          bc1qsfsmdaqun72j8haws5hxwclal5x4lzctyhrjkk        BTC                               0.46658883     2021-04-08 01:04:38         2021-04-08 01:04:38
Binance                   1XYEAuFfgrwzLbQvUKfJNZmwrqguXsnmd                 BTC                               0.46256888     2022-03-28 10:19:50         2022-03-28 10:19:50
OKX (OKEx                 32rKAri2ED9ngZiKZAKhfiRQ8hTSEEnDQw                BTC                               0.45738987     2022-03-29 20:14:38         2022-03-29 20:14:38
Kraken                    3M1NSfWJ2jHnBuiXEekivi1qiQtK1hKydv                BTC                               0.45644656     2021-04-06 23:56:53         2021-05-12 08:08:59
                          17BbJDYvPLFN13d4DcUXSYmLUfG9253TmE                BTC                               0.44901103     2022-02-12 13:43:44         2022-02-12 13:43:44
Binance     NEXO          1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG                BTC                               0.44757220     2021-03-26 21:30:05         2021-08-29 08:30:48
Ren                       3Nwebgx6r4cu8gsLcBao7SMayDHmjAaDYM                BTC                               0.39999020     2021-03-21 20:41:31         2021-03-21 20:41:31
                          bc1qupfaz34ry8vn2l8f4mjj5yjpy7j63vfnt4xspj        BTC                               0.39999020     2021-03-30 16:47:06         2021-03-30 16:47:06
                          bc1quy22vmeg7j9nuw5all5e60fcxpzr4jny0tjcjw        BTC                               0.39999020     2021-03-31 11:53:47         2021-03-31 11:53:47
                          bc1q0cart3cj46dff4nzyz8tl0gg8vyt3hfz6gw02x        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1q2r5vrwqwst4ravmhmhhk0fd26kksh6ge352k2t        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1q6qm746y4plxjy5wukzfxn7dk0taxyqx5nr8kwv        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1q7nzqdrrr87hnyhjfxwlenqgaphmv7pychkhxnc        BTC                               0.39986846     2022-03-30 01:01:44         2022-03-30 01:01:44
                          bc1q9sc42acqcup8djtjkpl9exx6juqr44ccj36zah        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qcvdq9uymk8j6cuszelnj2a9ms88z3g90akz8lf        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qdt4qj0av4j08pxy6weltyv0sqg2vp9p9e63gvt        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qjrr9dfwx59jf2q90mecea4egvsr60km2kd2p5n        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qkm2tjzj0c52uwku8m9d3nva32c0pqdpffgdazy        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qr934s8470qs8wads889h3km7dd470nvu405q99        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qrcj6wdr4ndh5ztrj5g69gxyvcsmqgck0ercdrz        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qrk6y9vyx7ps7tmzl67athrape9llkgjvm9930e        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qs5x3saxf56gagrhyeety2ye7zuufh6rqkqqk25        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qtqa6scpm2cf4xmxkglt78q9mq48zhvvvp9knu8        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qtu27fkqjycqf52tgws24v24sa33gg5n664m97t        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                          bc1qudfwd6ng4fxx6f5nn2dg42a203lerahs5knz86        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                       Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 37 of
                                                             76




                                                                                            Funds under claim
 Owner   Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                     Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
 Name      Name                                                          Unit            tracing methodologies;
                                                                                          in cryptocurrency unit)

                       bc1qvl9vrxlmh5rgfhrxpcw4r988npv3c3ggw7f0tw        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                       bc1qy5w4sy8z3460x5v4tqwjzca06jd9hqhhn586tp        BTC                               0.39986846     2022-03-24 00:25:38         2022-03-24 00:25:38
                       bc1qhewr9vle7zhz635njcj65333aw0lvyqzc4xqdm        BTC                               0.39295819     2021-04-29 13:10:14         2021-04-29 13:10:14
                       bc1qg29njpg7ee0gdhtcgunjhg7fs8uqjfwtpz2kza        BTC                               0.37951898     2022-03-30 12:15:25         2022-03-30 12:15:25
                       34dKNXgo9UH4qqYE4XgkNMCo3Cczu7XrhA                BTC                               0.37283333     2022-01-20 13:05:59         2022-01-20 13:05:59
Ren                    3BhWD6JtX3RXS6JeKyBoo2BEpfeoK3HhxE                BTC                               0.36839428     2021-03-09 22:03:57         2021-03-09 22:03:57
                       1DXByswUcFrU1zio2PCBuqrS8XUwqtmCxE                BTC                               0.36666516     2022-03-23 17:12:18         2022-03-23 17:12:18
                       bc1q3q5lvlqvls5u90g0whs6s4d92sed94tl5kqcar        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1q579y6jgun4876vjf3cx9a0jegqltr29e6eqzxk        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qae503h8fxhf32mhufarhwqhtpx3x4nd2jthzcu        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qex5hptzfcxfmnhspmxsqaj86e0u8pjer4k2kzs        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qf3ftulzxmwl907a6ws4uau4wn3ml2xlhr4vt4x        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qfsdzcqf94qj6r57tgak7xg4e4lpe5kqxgvxyuc        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qquea3deh5h286q28kpmd4qv2t75h9xekr3q67d        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1quc45a5p6frshw4k6tmrw2awvccvx6usa94falw        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qxzjzwql7ezvaq00ecp7jan562r7063d6fks6uu        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qy24jsqwrh3vamd62983jw4xnnqsc0d76fkafx0        BTC                               0.36666516     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1q0etcsphst97anpjp6m46p0r53pht6faf3k96c8        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1q4cy2t5s69etpsu7vm5ujj0temmtzxu4n00cvue        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1q4r9enwd785pxh2tcgzef9k707vga3kv6vc874f        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1q5lr6uqwq2a4lrwtf5h4f8agysvrc558c05ftlk        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qasppe2qp93ypkez9yrc7lpf4l62xjz336ntmt3        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qe90plsajfenecpv6dv2fn93g9xu4z0e9mwnsgw        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qfnf90j37ym6aecr85tvl4h3mw8wzduyt04yplv        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qfqkt3ske29fqd67ugjn9dt0w73c5wjnfl2m7np        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qgrpvusdt59hceqlcf2wwdhxzyprx42rtulvzs8        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qjx7p5qcrn86hd0x6k2f3j48fanav67znvjsrku        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                       bc1qk5rlmdc2vh73g4jerdlksch3r4epddyxdpxmjn        BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 38 of
                                                                   76




                                                                                                        Funds under claim
  Owner        Beneficiary                                                      Cryptocurrency   (average confirmed with the five
                                           Destination Address                                                                      Tainted Inflow Start Time   Tainted Inflow End Time
  Name           Name                                                                Unit            tracing methodologies;
                                                                                                      in cryptocurrency unit)

                             bc1qkr9d9vvj8t05nzw2gg5vkfnxpdce74vnde2z5s              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qlk2962n0qjxe5xydqh4ug09sqsl0kchgwhfn7r              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qn50ekv02clh7avcx8vr439uwrtf92t8gyg0mka              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qpukg0mr44hwlldk9hsvjmtcfxhum7qkx64pwej              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qsgqzg3w850lht0y287gqnkp22nfudjknfl6vjf              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qsyqgxjgc5v57e6tq4cj8g839kj3cp3l3mt3c9z              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qtcwyttj9ppcekdn3lk703v32f73wr9xw5cdwyp              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qwlqux4hdun8r2cez7rgavsv0xz30wg7mhhcv2r              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qxzqgvl2zd8cfz4aezgmr8xp72lc8n2g0x9l3xm              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qzzd7vv98pq3ypx2h54uh7mdh5tukp7vlfnqcpx              BTC                               0.36666496     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1q9yexm4z0d07jnqlq6t7llzwx3tg48sgw08gu7f              BTC                               0.36587047     2022-03-25 00:12:44         2022-03-25 00:12:44
                             129ogBs3PZw3yC7T3A2PZ9Eb2Duej5f1We                      BTC                               0.36030570     2022-03-29 16:00:12         2022-03-29 16:00:12
                             bc1q200humncd63q0dzwt4n6g6yyeue8kq6je5y0wu              BTC                               0.35914616     2022-03-22 11:55:35         2022-03-22 11:55:35
                             bc1qxljfjnp5fgkq6snauffj63j4cv0saqjjj5fesr              BTC                               0.35914334     2022-03-23 17:50:55         2022-03-23 17:50:55
Binance                      1LmFmScFggjDak4JBZqJsxhAykRwYtkTFv                      BTC                               0.35700215     2021-03-27 10:21:37         2021-04-05 05:46:37
                             bc1qxul7shms33h3j7r99t6kjumquzjht2vnfvswvy              BTC                               0.35669602     2022-03-24 11:38:50         2022-03-24 11:38:50
                             3GmJCyed93nVimY2QFG7sCTp4FREDfraFo                      BTC                               0.34938163     2021-12-27 10:22:22         2021-12-27 10:22:22
Binance                      1P1LCMr7U6jxf1Mx2XYTRPQzRSsvjZcTc                       BTC                               0.34528192     2021-05-01 09:50:27         2021-05-04 16:32:35
Kraken                       39SaPmECYfU1EHc6Gxu1mYiarudJ2ywY42                      BTC                               0.33474991     2021-03-14 04:10:10         2021-05-15 18:54:44
LocalBitcoin                 37PPZuGqkg7rSXy1VNTvUB6CHeU3jz2poz                      BTC                               0.33190362     2021-04-05 10:23:29         2021-04-05 10:23:29
HitBtc.com                   35MiwdASDkgFqUa3YQfHFucggwNYjrBjeG                      BTC                               0.32627438     2021-02-28 13:02:44         2021-02-28 13:02:44
                             bc1qhhd2ny5ae6s53vcz4u4f3xsy893ew8hl647qs4              BTC                               0.32497947     2022-03-30 01:20:11         2022-03-30 01:20:11
Kraken                       bc1qqwy50uahzvnn8lpc8769sk3q8dsl3fe0ye02ksk43m74        BTC                               0.30821102     2021-06-22 18:34:31         2021-06-22 18:34:31
HitBtc.com                   3JSc8fYRWsn6qAq7UnZE8Q9vm2aE5Whg1b                      BTC                               0.30698342     2021-02-28 13:13:01         2021-02-28 13:13:01
                             19sosF6jvurWL3VYe4MF9KwCmKk1RQm34D                      BTC                               0.29979908     2022-03-28 11:14:22         2022-03-28 11:14:22
                             1CixWyvkSLseDGpkC7Fbm5qFDbZ4dSN41x                      BTC                               0.29979908     2022-03-30 03:16:10         2022-03-30 03:16:10
                             bc1q0enqea9uycv86yajvxlgd05alj3r46jyhyve6d              BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1q440kwh66gdecmwh5kn8kx5mjvuar2pxpjzxm3s              BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 39 of
                                                                   76




                                                                                                  Funds under claim
  Owner        Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                           Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
  Name           Name                                                          Unit            tracing methodologies;
                                                                                                in cryptocurrency unit)

                             bc1q4hnw4v5c3njxgk5f9kw546n29x9zvfdnlf765d        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1q5vmkc2hpnqp7j3kd62vrjtcejvflv2ulc76dyx        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1q6czm4z5d6rnxddkjfus5szwp36j9kamfrx9lyf        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1q72w9mg0a00j5v07wgxmhmp43juzj4ge8qrzcja        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1q7t2lt3gmx0hpwdamwgy4l8a4lxgy7p87qe2xcp        BTC                               0.29979908     2022-03-23 01:05:04         2022-03-23 01:05:04
                             bc1q7wuyjhgf8s4cv2xcw8av6rar7lvhuku7lpe8hx        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1q86julvk8ttkvwuwwc8gu6ny4sxawyq4jdgmtql        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qdu920z6qm6gvrglw70g5f5v4ewmn89rcsjklrn        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qh0kghzlgecnfp3p9nnk28zwvwkq3tp08vukas8        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qjylp4wkuxkfjuar09zh3gyqg2n0ap8vsf2y7e3        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qkq787y7q9qpyfqpffwqwp3qpc80qh5qqsw0ta5        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1ql6e5dn2j4cmv0df2z33jvr8kkzmwa4thz0zzxk        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qlfc75da3609pmgsyp0ws7ems3y4p6ae796hcvd        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qmdmz5zppylkyzsspt2uxyhwwuxgzhvu88q7exs        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qmyjajhqznzwczawfk3dm7u0ml4wul3vxywxjuz        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qnd96sp4l04vleks3w0ftca303h9ukq5cd4hfdm        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qr5ypj8hhsz0xzpy2egagdytxpf8zp486h5lwe0        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qrczh6s24kdmn0h59cy86dt64l4d39n9dzuefhw        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qtqahcehy94kkpsh4y4glzx7w3caq6m88dyu6rv        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qtr3xv0xt78ey0k0ea0s7qejv9f9yaqy24f5t58        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1quzmf9e4gflrme09qx7cwhqe9njcahllza2zwyg        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qxet5vq0xztrf4pys9vy2742cjfux7grrj3qvfv        BTC                               0.29979908     2022-03-20 04:23:44         2022-03-20 04:23:44
                             bc1qy4rdr8hs7lz7u7sdwfs2jw57k48xahpw26kwsq        BTC                               0.29419772     2022-01-08 12:21:14         2022-01-26 23:04:32
                             bc1qyfjv0hs9hyxnrkse34x0j0kzj60qpdvdhvn7rj        BTC                               0.27377889     2021-03-30 00:23:23         2021-03-30 00:23:23
LocalBitcoin                 3Fyg8b8416fvgB9SMLjxHZDSuVVvHBf7Te                BTC                               0.26929146     2021-04-06 19:07:23         2021-04-06 19:07:23
Binance                      12T6d7EJUKft8Nh1AthLakm3hMuM7UXndv                BTC                               0.26408622     2021-02-24 17:59:31         2021-02-26 13:52:31
Binance                      1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY                BTC                               0.24063387     2021-05-20 10:28:47         2021-07-31 02:01:07
                             bc1q89fqjd7jx3sgzdlfe7zcgla3st9lv7q9mehq95        BTC                               0.22356966     2022-03-30 01:22:45         2022-03-30 01:22:45
                             Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 40 of
                                                                   76




                                                                                                            Funds under claim
  Owner        Beneficiary                                                          Cryptocurrency   (average confirmed with the five
                                            Destination Address                                                                         Tainted Inflow Start Time   Tainted Inflow End Time
  Name           Name                                                                    Unit            tracing methodologies;
                                                                                                          in cryptocurrency unit)

Kraken                       bc1qyxfd2ctza3npghs9qphpfa2p3su7wxhafs2z4txdmmpep           BTC                               0.20477522     2021-07-03 22:43:08         2021-07-03 22:43:08
                             1AGxhidQnHK3rtQTTcbLWFCCaGqvyqrWW6                          BTC                               0.19649979     2022-03-30 06:54:31         2022-03-30 06:54:31
LocalBitcoin                 3PHS3rk7Rkwz8f39ZE7CuxjAL7YvH86rUH                          BTC                               0.19555794     2021-03-26 10:31:35         2021-03-26 10:31:35
                             bc1q77wxatdmg46ps9zjd0v83cn4f0dprumremhupp                  BTC                               0.19495577     2022-03-29 22:10:34         2022-03-30 10:57:06
FTX                          3Lvr7473mA8fiJzpc6qf4oS7nAtGPTJ8ZA                          BTC                               0.19399382     2022-03-25 13:51:03         2022-03-25 13:51:03
LocalBitcoin                 3JFrJ6P6t5icD7bSAGtVU9Vbg8bQhfDHpg                          BTC                               0.18868763     2021-07-26 11:04:09         2021-07-26 11:04:09
                             bc1q84dwk8eayjntwzsp8hnxg0ezcv6a9waptf9v24                  BTC                               0.18493648     2022-03-21 17:12:38         2022-03-21 17:12:38
                             bc1qkcrf5dx508ptkmwrl7tnnlplnh3fz3z3xwj9jx                  BTC                               0.18224852     2021-03-30 05:09:20         2021-03-30 05:09:20
HitBtc.com                   1CnCfvUTFQf11QNeBEpk29rRXfNFg75R9n                          BTC                               0.15821696     2022-03-30 05:10:47         2022-03-30 05:10:47
HitBtc.com                   3HxnoQXVhPXeZyqgmTRnV4pDJaZME4k1ZC                          BTC                               0.15456499     2021-02-28 13:13:01         2021-02-28 13:13:01
Poloniex                     1AQJFdK8aAiy7jSpu3KeoVP6sXzsPjBVvf                          BTC                               0.15438851     2021-10-03 20:07:10         2021-11-11 18:21:08
Ren                          3KN8ZNAmsfybuieLTU2rwJQoWttiSECztQ                          BTC                               0.15058266     2021-03-25 22:33:21         2021-03-25 22:33:21
Bitstamp.ne                  37VWXtmckaPrKaeARcRvToJsEWLxeQYutd                          BTC                               0.14325588     2021-03-12 15:04:26         2021-05-06 16:41:07
                             bc1qxme9w7jdj94sefhdvj86tkjgx5jx03vkzdkgm4                  BTC                               0.14236451     2022-02-16 22:17:45         2022-02-16 22:17:45
Kraken                       bc1qyvqls3p8t6jp4g8yqjg50n6jpkaqfcypyqcgr9smy64ldz54        BTC                               0.13533877     2021-06-22 19:40:48         2021-06-22 19:40:48
MEXC Glob                    32YgzEsdvt8Mh4s3skG7UYYAEcorxdoMo1                          BTC                               0.12886460     2022-02-14 04:01:36         2022-03-25 02:20:37
                             1PYtAJPnL2SAPQVnMMyHNRzthKcTiK9G5H                          BTC                               0.12680340     2022-01-31 21:48:23         2022-02-17 12:28:58
Binance                      12or6jPtCQXvdU3H1EyEHgCEX62Ga6jSid                          BTC                               0.12259585     2021-05-19 13:05:41         2021-10-04 13:14:36
                             1JZqZP3v5GkfhAH1o7ZhNSwMEqDojoreDq                          BTC                               0.11557473     2021-04-07 09:11:00         2021-04-07 09:11:00
                             bc1q4xyrapnzamf4k3t3edd6k32872xf2kqff3284q                  BTC                               0.11486260     2022-03-21 17:12:38         2022-03-21 17:12:38
                             3K8Qu3XahfaxG7v5D5N4FWqTUZ8E73sNNJ                          BTC                               0.11396751     2021-03-26 19:34:05         2021-03-26 19:47:32
Binance       SimpleSwap     19iSJXBSJpiGPmyLkz8c9sx3Nk3amyJok5                          BTC                               0.11254411     2021-06-27 16:40:15         2022-03-13 00:58:55
                             bc1q7ndcwe28clgv04vw8n36r5fusrd658ep5nr6vt                  BTC                               0.10868975     2021-03-30 12:04:58         2021-03-30 12:04:58
Binance                      1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU                          BTC                               0.10062081     2021-03-28 22:24:57         2021-12-17 15:03:48
KuCoin                       3NgEQb6dTjdLdtTjDnBaZMbau79gHScodt                          BTC                               0.09808890     2022-02-12 04:00:43         2022-03-28 08:33:09
Binance                      1AKtxjFfY3kGzWGX5XvEyGiZXR9ZCGmXFB                          BTC                               0.09778368     2021-05-13 21:33:56         2021-06-11 23:01:57
Nominex                      31s4AxJaFthfSG21ScGHT9LEPPrp4mR2Cn                          BTC                               0.09605104     2021-07-18 01:52:20         2021-08-11 08:04:31
                             bc1q495y585ssu4qqqp66gyxhhslkldk8p5cf2j66l                  BTC                               0.09442945     2022-03-28 22:09:57         2022-03-28 22:09:57
                             Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 41 of
                                                                   76




                                                                                                             Funds under claim
  Owner        Beneficiary                                                           Cryptocurrency   (average confirmed with the five
                                             Destination Address                                                                         Tainted Inflow Start Time   Tainted Inflow End Time
  Name           Name                                                                     Unit            tracing methodologies;
                                                                                                           in cryptocurrency unit)

                             bc1qmv7mudrvjc64c0fsmptx9dghpxxsn367zse6lx                   BTC                               0.09442945     2022-03-28 22:09:57         2022-03-28 22:09:57
                             bc1qvelej34mct26hnx7y0mu6uzhpxfmluddnca326                   BTC                               0.09442945     2022-03-28 22:09:57         2022-03-28 22:09:57
                             bc1qhe55h202gk9z0jsg5h0vzqydjsgmjl3c3490j0                   BTC                               0.09427943     2022-03-28 22:09:57         2022-03-28 22:09:57
Bit-x.com                    bc1qpq00d2yg848ljcsypg0p7jj5gttap9l4attpjw56rzn93x6cw        BTC                               0.09341780     2021-04-08 02:56:14         2021-04-08 04:44:27
OKX (OKEx                    bc1qaqeu4s7drfpxdrt505fe8qcraymplh7eh7339g6jfh30mv           BTC                               0.09317869     2021-12-22 10:35:29         2022-01-19 10:33:26
OKX (OKEx                    3Ejcov8UL29FW6sozV1vFfyT4npDUwEJsn                           BTC                               0.09127831     2021-09-16 15:54:52         2021-11-08 05:50:12
                             bc1q9qtnxs4vjtdpmflav5n6xck0shvsjw7wxy49qdxnpn92zn           BTC                               0.08904310     2022-03-29 21:51:13         2022-03-29 21:51:13
                             bc1qqz5xamdwfklv7qr3fp52s89l3jdmx4fkj9fpcx                   BTC                               0.08596064     2022-02-12 02:53:42         2022-02-12 02:53:42
                             bc1qyq62hmu0736nvzu5s6w9v4tevwze28ymamvq0w                   BTC                               0.08596064     2022-02-21 13:30:03         2022-02-21 13:30:03
                             bc1q7vsrpvk7dtxeet87fa3tjzg0yfvzytz5pxaz2f                   BTC                               0.08518203     2022-03-28 22:09:57         2022-03-28 22:09:57
LocalBitcoin                 3GQQM3zDK9tvvdnQ24vaoqkyCr8vzEQvM9                           BTC                               0.08439749     2021-08-26 16:05:39         2021-08-26 16:05:39
                             bc1quyytcd090xn5hm2l4r0822ngxmcqx627pu2mv2                   BTC                               0.08022858     2022-03-29 21:22:50         2022-03-29 21:22:50
KuCoin                       3EtnttbT7MwzrMNwPc4SVsBtd5obqkcDzT                           BTC                               0.08008933     2022-01-15 22:37:14         2022-03-21 20:40:59
FTX                          3Aqx9j4V3hipZdCEkM5RaEoYbo8CvmKmrP                           BTC                               0.07998647     2022-03-27 12:26:43         2022-03-27 19:08:13
Binance                      1AwhgUBg7ew6jcCpiun5zJXDmJMqo38HBh                           BTC                               0.07857063     2021-03-11 20:42:39         2021-05-15 15:27:17
                             bc1qa3jygewzeck97j33v8535ng9hzsad30mwuc92y                   BTC                               0.07673837     2022-03-29 21:22:50         2022-03-29 21:22:50
                             19tbywqEFgqo4pkvdH1GdcDDzpYqB7ftLh                           BTC                               0.07619770     2021-06-26 13:21:41         2021-06-26 13:21:41
                             bc1qla5t99qf4j4muwulftwnawrggnddlw8rx4kg3t                   BTC                               0.07549603     2022-03-29 03:47:46         2022-03-30 04:14:35
Ren                          3ErtV4K3sDHoshbudwAnkreSuXS7u2YREJ                           BTC                               0.07513967     2021-05-05 06:22:24         2021-05-05 06:22:24
                             bc1q9hghr9m0v4kz2lm6xaa4u328sem4jsd4rx9885                   BTC                               0.06534965     2021-11-13 20:29:13         2021-11-13 20:29:13
                             bc1qjer2lhn50pxjrg73mxa6evwjjxk36jgn3s0lgk                   BTC                               0.06407880     2022-03-28 22:09:57         2022-03-28 22:09:57
                             bc1qaw8d0msdzlpg5r8mphkm7v0xmkzsgjxa7aj9hq                   BTC                               0.06206556     2022-03-26 18:12:53         2022-03-26 18:12:53
HitBtc.com                   3HVfPsMegSmX1PwUcmvRyqCrXng4tQpbzX                           BTC                               0.06061241     2021-04-08 05:52:57         2021-04-08 05:52:57
Binance                      bc1q0lfwx3d7hnuttnmn8mzcegjda4avmq8sdxujey                   BTC                               0.05800039     2022-03-27 04:08:58         2022-03-27 04:08:58
Paxful.com                   37jdH27yixRNcK9Vyg5FvcBfMimTXjHTbG                           BTC                               0.05799017     2021-03-12 20:45:20         2021-03-12 20:45:20
Binance                      1KKFohFF6yBZhqqfKfMrwPUDE2BwTGU2N9                           BTC                               0.05755191     2021-05-15 07:20:35         2021-05-15 07:20:35
Binance                      1H23VQRYDYvTeov3CVEJopy4JdtzXzdeEa                           BTC                               0.05699151     2021-05-17 04:23:19         2021-05-17 04:23:19
Huobi.com                    17oXZFjxV3TRwPGRB5gwxEttEupphM4k3U                           BTC                               0.05699151     2021-05-05 11:18:12         2021-05-05 11:18:12
                             Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 42 of
                                                                   76




                                                                                                  Funds under claim
  Owner        Beneficiary                                                Cryptocurrency   (average confirmed with the five
                                           Destination Address                                                                Tainted Inflow Start Time   Tainted Inflow End Time
  Name           Name                                                          Unit            tracing methodologies;
                                                                                                in cryptocurrency unit)

Binance                      bc1qvw0876ldh6mfcmdv25xu9xqmfzth76lawkxhyd        BTC                               0.05699151     2021-04-25 14:54:33         2021-04-25 14:54:33
                             bc1qzx7gl3jlvapm53ngg0xhgl5wckkrf3ydmk3m9j        BTC                               0.05604895     2021-04-12 17:08:21         2021-04-12 17:08:21
Binance                      1NNC1t8quVLQz9dn2ZGQqZAsZV5dFEYEPe                BTC                               0.05582116     2021-03-29 17:52:04         2021-03-29 17:52:04
Kraken                       3HGdiSbfnM3FH4CapoDctJ1ffXz8cd56er                BTC                               0.05276544     2021-03-16 00:09:13         2021-03-16 00:09:13
                             bc1q6l8lsn4kttlvpc3g6up8t25f75s0nr4gj5k5jk        BTC                               0.05266181     2022-01-19 19:14:15         2022-01-19 19:14:15
                             bc1qutv962rncmm5eamguuf4nvnj6mw3dkw9y9j58e        BTC                               0.05266181     2021-12-07 17:27:31         2021-12-07 17:27:31
Huobi.com                    13z7nQx7nLJNdQPxMa4RmVgsfqhhm9sgDC                BTC                               0.05261756     2021-04-05 09:19:22         2021-04-05 09:19:22
                             bc1qkfv5r2l69ujfugfrjrlzuzp2kdaykgeg2lrn6z        BTC                               0.05227597     2021-04-07 17:00:34         2021-04-07 17:00:34
Binance                      19RuWhdXUruJECvdaiYVcHdtqT19Ue3Hin                BTC                               0.04953150     2021-06-21 12:22:44         2021-06-21 12:22:44
Binance                      1HjCsxkyJBbRSZU7fqpUczz96wK1JP7eES                BTC                               0.04953150     2021-07-14 21:01:58         2021-07-14 21:01:58
Binance                      146QSUpVgEnw6cPdvqK9Ektc6Fs6T6Y78m                BTC                               0.04953150     2021-07-03 18:24:11         2021-07-03 18:24:11
                             bc1qcmm3vk59junfzztae9hz82kq4p8s5myaygjpd8        BTC                               0.04870071     2022-03-29 21:22:50         2022-03-29 21:22:50
                             bc1q6qtk68af3yjg7fzn4992eh96m2wk4g5lkxc58t        BTC                               0.04858017     2022-03-24 00:25:38         2022-03-28 20:48:20
                             bc1qd6rpjyzhym7v6ug45r2kf4g5c5xm7a978m7m8g        BTC                               0.04830540     2022-03-27 04:08:58         2022-03-27 04:08:58
                             bc1qdvrj6w6q9gnwjk8k80f9ht3galnx3swkzmxfy6        BTC                               0.04577013     2022-03-29 21:22:50         2022-03-29 21:22:50
Binance                      16MoMBF2pQyq1xHWpU2QtdApSocWnkRdg4                BTC                               0.04398661     2021-05-12 22:52:21         2022-01-05 19:27:49
Bitfinex.com                 bc1qnfd26kl2l9kyezchn9xa82k3nnyla2ascdzuwh        BTC                               0.04394173     2021-06-19 19:37:37         2021-06-19 19:37:37
Binance                      1D3XqcAkcUYz6N3mCLaK2brwPT28wrXCae                BTC                               0.04358540     2021-11-18 13:32:38         2021-12-18 12:23:18
Binance                      1CEvgeHddizVumNdT2V2P9yRgHtQjuMfhM                BTC                               0.04244118     2021-04-27 08:47:01         2021-04-27 08:47:01
                             1NoeNfqBxhS1BHuLk483wv1DKHDRefjYW7                BTC                               0.03760716     2021-03-10 14:29:09         2021-03-10 14:29:09
                             1JVpq7G4eg9krVeufUmrkS3bMPwR2LRPez                BTC                               0.03758381     2021-03-09 15:26:54         2021-03-09 15:26:54
Bybit                        18Wn4PdYZXrrxyMdZvMofyLfNKWVtCZviM                BTC                               0.03745606     2021-03-24 16:16:19         2021-03-24 16:16:19
                             bc1qhke5wpy7teah90ncsqaraft5f4ll2vkp54fkdq        BTC                               0.03707367     2022-03-27 04:08:58         2022-03-27 04:08:58
                             bc1q04zrnl4g0xf4h8zc0amf44r9qczsm5m52fncnh        BTC                               0.03627789     2021-07-18 01:52:20         2021-07-20 03:15:51
Binance                      15XeU1EtEwNzRQ9eWYRxkomBFdBMH79KDX                BTC                               0.03610531     2021-11-14 05:15:27         2022-03-27 04:08:58
Binance                      16DHWd9D88WpHxL51d4MixrC1LvoTHE9oj                BTC                               0.03357427     2021-07-03 18:24:11         2021-11-23 08:33:30
                             1NjfsPVwHippjcZUU3jMiGs5WoUE4LDeGQ                BTC                               0.03213093     2021-05-04 09:25:33         2021-05-04 09:25:33
KuCoin                       3JtozJ9CCkfw9KUpUD6tZnEF36bv4Mv54A                BTC                               0.03077355     2021-04-21 08:31:08         2021-04-21 08:31:08
                            Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 43 of
                                                                  76




                                                                                                          Funds under claim
  Owner       Beneficiary                                                         Cryptocurrency   (average confirmed with the five
                                           Destination Address                                                                        Tainted Inflow Start Time   Tainted Inflow End Time
  Name          Name                                                                   Unit            tracing methodologies;
                                                                                                        in cryptocurrency unit)

Poloniex                    1917vGDrz4ukiuNx5vzMMkTXaXbsG9BWLF                         BTC                               0.03074507     2022-03-28 17:52:59         2022-03-28 17:52:59
                            1AwyRpD6KHJVHDuAAKQjE72aVNMn61J4FC                         BTC                               0.03014960     2021-03-10 13:43:42         2021-03-10 13:43:42
Crypto.com                  3CXDfdypUbQdu14NhhAfWerRcsifL8cTGk                         BTC                               0.02965372     2021-03-30 03:16:23         2021-03-30 03:16:23
Gemini                      bc1qg3z6gv0gyn2pw3ktnr9h4ehfzcexdxq0yy8plc                 BTC                               0.02888805     2021-04-07 16:14:27         2021-04-07 16:14:27
                            1BgZDS3Z5LbyU3bDQcX5S9Uf7dztWrFSjb                         BTC                               0.02848793     2021-03-10 17:31:56         2021-03-10 17:31:56
                            1KR1ZUCzGd4ndPjCFPoopRi4zxQ83MfBhw                         BTC                               0.02827639     2021-03-11 16:36:36         2021-03-11 16:36:36
Binance                     bc1qmazmlmkyl3995l3qw49uya2k97wjcrmumwg8ct                 BTC                               0.02788380     2021-04-21 08:31:08         2021-04-21 08:31:08
                            1PsNZVAfJq9y2Uvy6NQhj1CzgrjadY3rua                         BTC                               0.02744252     2022-03-29 05:34:01         2022-03-29 05:34:01
                            3PFz8DYcpqKiE7fm6LFvN7f4CynaZiWM5n                         BTC                               0.02651832     2021-11-14 05:15:27         2022-03-27 04:08:58
                            1AhNDX24iwCwamGPT8w2RYexWeM6t98s6v                         BTC                               0.02619829     2021-03-10 16:20:36         2021-03-10 16:20:36
                            33UJjQE3PiHJeFEUAMdBuzY8jw7nRJGBmb                         BTC                               0.02424595     2022-03-26 18:47:48         2022-03-26 18:47:48
                            1CgeP3bo7i95kJaW1DrDD1amRSrovBHpCL                         BTC                               0.02346233     2021-03-09 14:46:09         2021-03-09 14:46:09
                            bc1qz8auns0l52uvm4szfzrup4ysh9sd8m3kk82tre                 BTC                               0.02202640     2021-03-20 05:43:55         2021-03-20 05:43:55
                            1MT61qG17FZUcTrKvotkXFTCMdGt93EupT                         BTC                               0.02119018     2021-03-11 17:06:25         2021-03-11 17:06:25
Kraken                      bc1qlfyznlvatcm3wchudqmx79fg5u0xl5ejx6dq8xx6p3sr0ks        BTC                               0.01957083     2021-05-05 23:39:43         2021-05-05 23:39:43
                            bc1q6urkwxxa0am00ax2xaf4nv4htnclfy30jd9eg3                 BTC                               0.01942788     2022-03-30 08:54:51         2022-03-30 08:54:51
Coinbase                    35yxnumGu23y5FYnRLssntZ86nUQZqkuCY                         BTC                               0.01937410     2021-04-21 08:31:08         2021-04-21 08:31:08
Binance                     17chsw2ms7pJqV46onQqpMkiUc6ctKWvfP                         BTC                               0.01689129     2021-04-19 08:58:40         2021-12-21 07:14:19
Binance                     1LL4DoZP9vfEsw4VRqvx4M9CcE2qWFKYph                         BTC                               0.01657129     2021-11-14 05:15:27         2022-03-27 04:08:58
Binance                     bc1qhnhh3j2fxn9fu5vcuqly4ntc39wzsq3yp8476f                 BTC                               0.01468140     2021-05-07 23:22:42         2021-10-12 13:34:23
Crypto.com                  39cUnKwrRCPF7NqSRiAwF6x5Mk6nWywMDg                         BTC                               0.01440663     2021-05-14 18:13:53         2021-06-20 10:23:50
Binance                     16aVSQ8CK5Z9UTdtzHiRKrD8wg8b5K7Yij                         BTC                               0.01384736     2022-03-27 04:08:58         2022-03-27 04:08:58
Kraken                      36GNnB2G8mo7nv62MmtH4sUUg647rFxrwP                         BTC                               0.01348439     2021-06-20 12:07:54         2021-06-20 12:07:54
Coinbase |-                 3AUZE1wrARfzv1ZjuM9ZnjfgUNh31zmmY6                         BTC                               0.01129230     2022-03-27 04:08:58         2022-03-27 04:08:58
Binance                     165aq15HV6PZSkyfprSBoMRtenXHq9DuQT                         BTC                               0.01084292     2022-03-27 04:08:58         2022-03-27 04:08:58
Coinbase                    35MkdfL2CZidgvq3HsZQ1PLWdo1znuMMF8                         BTC                               0.00582604     2021-03-01 18:17:42         2021-06-24 06:12:33
                            1KBy6MvcBb2qQRS5fQT92o2c5Dq2W6ygx4                         BTC                               0.00270375     2014-07-29 13:17:36         2022-03-29 18:30:06
                            159m8sYcDJwPfJaVpLeKJitkQTiPKevnY4                         BTC                               0.00146536     2014-07-29 08:54:46         2021-02-19 14:37:16
                         Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 44 of
                                                               76




                                                                                      Funds under claim
 Owner     Beneficiary                                        Cryptocurrency   (average confirmed with the five
                                      Destination Address                                                         Tainted Inflow Start Time   Tainted Inflow End Time
 Name        Name                                                  Unit            tracing methodologies;
                                                                                    in cryptocurrency unit)

Binance                  1BqNAxgppfFTFRTXtiU6FebqR1XDzyNjYN        BTC                               0.00130640     2021-05-31 14:02:06         2021-06-02 15:46:10
Coinbase                 3H332gtSHCYnUDuzVnzPNZu9V5jxhf6HX9        BTC                               0.00040478     2021-06-13 10:54:59         2021-06-13 10:54:59
                              Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 45 of
                                                                    76



                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        12K8u22kjGxWadyks4YSZbNqZbEGpmUNpm          BTC            8a945c1469663fae2ff33a4cfeaf948ba82ee9a74f71e2bbe88212a62d411394   2021-02-27 23:53:43                         0.84215171
Binance        12T6d7EJUKft8Nh1AthLakm3hMuM7UXndv          BTC            bf3733394bbf299916d090b9ce4d66f145224e821bff0e2efe3e8e32a4ebd1e1   2021-02-24 17:59:31                         0.11185959
Binance        12T6d7EJUKft8Nh1AthLakm3hMuM7UXndv          BTC            cb51ab19319a999eddb1135f7e642d3db4135b5c5c666402f07d83daedbebaea   2021-02-25 16:12:10                         0.03899375
Binance        12T6d7EJUKft8Nh1AthLakm3hMuM7UXndv          BTC            dd61fe138b8908572be8731b907f53556326d6fc41c8abf96286874830a4a7fa   2021-02-26 13:52:31                         0.11323288
Binance        12or6jPtCQXvdU3H1EyEHgCEX62Ga6jSid          BTC            c50d9d842ead951b2e6b7e2068ee2f1e351bc73d2e0ce3bb21f0af2cbabbfb5b   2021-05-19 13:05:41                         0.00201627
Binance        12or6jPtCQXvdU3H1EyEHgCEX62Ga6jSid          BTC            ce98d8a2972107a9306025c93b9f646ad3d2c255655a84d0c9b9b3ea3035bfd9   2021-06-13 23:37:37                         0.05715225
Binance        12or6jPtCQXvdU3H1EyEHgCEX62Ga6jSid          BTC            85f3bacd28fbb82a965e7921d0e932cfa425a068bb0af38da4a9d40ccd3b42ed   2021-06-29 09:22:45                         0.05011109
Binance        12or6jPtCQXvdU3H1EyEHgCEX62Ga6jSid          BTC            f242b159ae1d4b800dc64ed5a9433196b87ee97479db4bbd55f1ad9fc3449f80   2021-10-04 13:14:36                         0.01331624
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            37aafd738a5ec65a9272495ca6842b1bac84cb07e6bb18df38fbb8b002c716e1   2021-03-14 19:43:26                         0.20550635
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            dad8faf3facc84bd41d2a1582b5ddc0d3a1f25704b93c5b90739e699b02bed9a   2021-03-16 15:02:58                         0.35991912
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            81f021aa447ed904fdbd607286596b8460d4e9e3334ad18e62b585594a05f5aa   2021-03-16 15:49:52                         0.21351748
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            30850ea2ceded334cb8cc3170c8cfb3938265137f8485e787175c20d48ae176e   2021-03-16 18:06:06                         1.47131788
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            845e89e986adef4a27c235e543296a4ad3f6c9bf9d14a45bc33e5d61f64ad603   2021-03-16 22:34:56                         0.40823475
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            0bc4d33959004e9a3ac9e808c2e5816491511848af6c135e81f79ed492ed08db   2021-03-17 00:32:20                         0.11025811
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            6d675f1e8ba320046d4628ff5bd807e5b11ff6cabc0cddc840c82235141fe08d   2021-03-17 10:58:37                         0.31286174
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            4b6bbf863c744cd3772f7c874eb49adf19f2ec3e1758326adde74d9111177018   2021-03-17 20:09:56                         0.27788505
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            c85e43d59137a93ad09a83c05fd99e79f76826a6222cdea2f516a6a8c75e6803   2021-03-17 20:09:56                         0.09700972
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            980973cd6577adc7fc6739849962d31c1e1771537c85868013b1cde0853ac036   2021-03-17 23:42:33                         0.67952373
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            8c03db1279da7758be163a20d0b82388ede8b96037a548cc60cc21dc0057742b   2021-03-19 15:33:43                         0.00506710
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            8321b44612f3e12e6a3bf504e7fd58a17dd5900ace1f5ab3de3bfb7f7e3dc3c6   2021-03-19 17:58:28                         0.12138696
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            7401cab6a96c8281b74145a7d97690fe310ef1fa1d4476a79592597fde7aba58   2021-03-19 17:58:28                         0.06294581
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            1e15b350a8007759212485f492717a0baba695ad9257aad3e59131abbb97ad7a   2021-03-19 20:03:45                         0.25973178
Binance        13cDbDF8TQuUQiF1pAU59CeKTD69tNLcFR          BTC            7d48676879b27743a61f5ccc26a04b76c00859a1b8491fd67efc8d768bb3ee7d   2021-03-20 18:43:23                         0.00804288
Binance        146QSUpVgEnw6cPdvqK9Ektc6Fs6T6Y78m          BTC            8502b1ded87f77b61e4c3410d7e45d965b34fbe99dab5aa4f156ccda5135a75f   2021-07-03 18:24:11                         0.04953150
Binance        14kbqzg3mJrx6zmY5dYpCVhBJ3mrd7pYSt          BTC            a1f43ac1c8770aa97cfedbb15ae67694d17ca8ba7f0f502b2bedb6567074e978   2021-05-11 11:53:29                         0.49972895
Binance        14kbqzg3mJrx6zmY5dYpCVhBJ3mrd7pYSt          BTC            1e081d7912124daf60d52b85248eb70d1f239e365d1ed02dbef09a8029d24e96   2021-06-05 20:11:15                         0.76401933
Binance        14kbqzg3mJrx6zmY5dYpCVhBJ3mrd7pYSt          BTC            39fa84209a0b1ede489638194acc33f731b49ace68da57c319bb6d6289f60078   2021-06-05 22:04:36                         0.05557181
Binance        14kbqzg3mJrx6zmY5dYpCVhBJ3mrd7pYSt          BTC            3f4790cb846058453e14e3c4cc97317ac8ddbbb6c7ab70d38b796b77e8e23fcb   2021-06-05 22:37:32                         0.03448053
Binance        15XeU1EtEwNzRQ9eWYRxkomBFdBMH79KDX          BTC            718a1e8df7e2c67a6a97768fd84249fe29bb5be45624a0e9d2bcfbff7aac7fde   2022-03-27 04:08:58                         0.03610531
Binance        165aq15HV6PZSkyfprSBoMRtenXHq9DuQT          BTC            718a1e8df7e2c67a6a97768fd84249fe29bb5be45624a0e9d2bcfbff7aac7fde   2022-03-27 04:08:58                         0.01084292
Binance        16DHWd9D88WpHxL51d4MixrC1LvoTHE9oj          BTC            4b810888e73fcf8a48885c8bcb1592e5f62ad746b85e7b1a62094896eaf784ac   2021-07-03 18:24:11                         0.00384842
Binance        16DHWd9D88WpHxL51d4MixrC1LvoTHE9oj          BTC            203d2456cde0436971f4290306538603d42b8da30bc224cdc843ff4903a222cc   2021-07-12 14:43:28                         0.00541160
Binance        16DHWd9D88WpHxL51d4MixrC1LvoTHE9oj          BTC            4860d1a8bff0d2f52c10cf0a6ddd1479a9fe128b139c3f1f27d3e4a47cf32a9c   2021-07-25 16:00:44                         0.00740480
Binance        16DHWd9D88WpHxL51d4MixrC1LvoTHE9oj          BTC            d003d20aec2daf76c659739ec7ee53e3aa44dc11f36b4d494f4a517918844d18   2021-11-23 08:33:30                         0.01690945
Binance        16MoMBF2pQyq1xHWpU2QtdApSocWnkRdg4          BTC            ff156e0dd697f16b835f3eef3bd42a79854fe04597caf9a28fd96a91329f67c0   2021-05-12 22:52:21                         0.01458145
Binance        16MoMBF2pQyq1xHWpU2QtdApSocWnkRdg4          BTC            35bfd360c1ef8f4567f1632d7471cd7b8bc3a40738ae9d4af32c12790b552805   2021-08-18 12:05:01                         0.00564533
Binance        16MoMBF2pQyq1xHWpU2QtdApSocWnkRdg4          BTC            20a68d99bb33b0b573584e7374a135cc724016ccb2aca726bd7a4042ee74c7ae   2022-01-05 19:27:49                         0.02375983
Binance        16aVSQ8CK5Z9UTdtzHiRKrD8wg8b5K7Yij          BTC            718a1e8df7e2c67a6a97768fd84249fe29bb5be45624a0e9d2bcfbff7aac7fde   2022-03-27 04:08:58                         0.01384736
                              Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 46 of
                                                                    76



                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        17chsw2ms7pJqV46onQqpMkiUc6ctKWvfP          BTC            ed6f9e0353317ab11809656816cec66c3e4ce1118df8d528a48681c309ce1baa   2021-04-19 08:58:40                         0.00879788
Binance        17chsw2ms7pJqV46onQqpMkiUc6ctKWvfP          BTC            7bbc502069d1ac1bb00a7109d7a05aaea49c2b20956ed0353f95c7c6c6057a80   2021-12-21 07:14:19                         0.00809342
Binance        17iwoMJv33UgjWxsM1j4UpKtMnGC8hh5nD          BTC            a0d739ae2dcc028d11900c9912a69f7819e0cc461a969800a4b4e96c34af9ea6   2021-04-01 13:43:02                         8.04098631
Binance        17iwoMJv33UgjWxsM1j4UpKtMnGC8hh5nD          BTC            79da48b2806746859d289411f50c939fff1f217488d45164814917e7ddaf7717   2021-04-01 15:37:12                         0.02122634
Binance        17iwoMJv33UgjWxsM1j4UpKtMnGC8hh5nD          BTC            3ee65234f824d46df806d034e805687192301d265c4485bb6fb2db1412518aa5   2021-08-16 08:27:40                         0.77679793
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            c78a931a5f698ab3ef3090cd50cc8280003727a14949807f5ae946e1d41169bf   2021-03-16 03:49:39                         0.46658883
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            d2ba7ed86b5e6c1d5bd6c53e06a1c516d86787add147d70a08d2231c7467060a   2021-04-20 23:56:48                         0.09850967
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            42ceaf25bbcc2921e6ff1201926780e70af6304d5b666bdf9d587494ef7582f2   2021-04-21 00:47:31                         0.29528010
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            bf6c9fe2443f8f80cf57a1077ec7b07cae056284446c9ca79eeec831dedcd9af   2021-04-21 01:14:44                         0.07258172
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            5929eb726826d21ac05d4e4ee2f868e61611b4d5dc62f2d7fccc79d7f79b6902   2021-04-30 01:13:01                         0.12328542
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            3f431db78d6afade2de37005b327d4cfe7d49433107d0f0d55b8534f84b124fd   2021-04-30 01:53:49                         0.02284149
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            5eb289e704119b0cbb23de0267ef14128d07827696249daf8fc244704cea2a58   2021-05-17 04:04:25                         0.29752921
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            ccca79f4a689e230d2fd115b341f27be1843b8a7c90b6e4390f61724209b255f   2021-05-19 02:08:55                         0.12299363
Binance        17oFzfQQb79jHghVBLF5wic1tKASRjpT67          BTC            363db164598cf9b7db0260f18693772bc4dd928ad4603238151bf8a4face0421   2021-05-20 03:37:24                         0.02516829
Binance        17ssMKaUL7vVJZQBs1CSP7oD8in6fFQ2vz          BTC            5e6ec9ccf6aaa8e508a7f5a491c2ea8ee38c5c96aec326d4b071634395585cfe   2021-06-15 09:43:53                         0.00100262
Binance        17ssMKaUL7vVJZQBs1CSP7oD8in6fFQ2vz          BTC            c0479fb4255ab18e088ffff1be186e64256d8345c85f99b326edc7e176b8d279   2021-08-17 12:09:28                         0.08599086
Binance        17ssMKaUL7vVJZQBs1CSP7oD8in6fFQ2vz          BTC            ed844d463be5d3e467d0201b8ca9e81045c96f72d177551e134fe3feeb6a0758   2021-09-22 06:45:41                         0.34199914
Binance        17ssMKaUL7vVJZQBs1CSP7oD8in6fFQ2vz          BTC            f7381a55f2ca0d8c6f745b9e3ce886d047a4f0946a9b114492af42158c6a3344   2021-10-04 06:26:14                         0.12956621
Binance        17ssMKaUL7vVJZQBs1CSP7oD8in6fFQ2vz          BTC            229d322b4542bf7ba4329d143c403ff6dccb920c4f763f3e33602a96d35ac049   2021-10-08 12:39:37                         0.00833819
Binance        19RuWhdXUruJECvdaiYVcHdtqT19Ue3Hin          BTC            517e86656d961c754ce00fcaa8f6181da6a87b3afb41a12d3f70015266cffcd6   2021-06-21 12:22:44                         0.04953150
Binance        19U6Fk9YQGAhi5bBg6xcvNydPd9SJyCmXf          BTC            90396691af0751484cdb626c385ec52349fcd0d88fbf22fa9954cd1187c4cfbc   2021-05-25 07:42:30                         0.52447578
Binance        19iSJXBSJpiGPmyLkz8c9sx3Nk3amyJok5          BTC            08def9ec9dbd0ba7f2ba67752c6c601bc8ac16086e15e5894ae9e16cdd0f0100   2021-06-27 16:40:15                         0.00353935
Binance        19iSJXBSJpiGPmyLkz8c9sx3Nk3amyJok5          BTC            4039306b2e7d5a5e455941854edaf15eeef09f47bacfc30f78f037713bd43abf   2021-10-23 16:11:56                         0.03551232
Binance        19iSJXBSJpiGPmyLkz8c9sx3Nk3amyJok5          BTC            d9154523eadfb9556eba19ce01148a46c236a56b80413a256d4499af69214c36   2021-10-23 16:23:30                         0.07349244
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            b88b5febb4b9c7e53c919e21459c72f56d8154ba34ca17553ef850af58c979fd   2021-03-08 09:34:45                         0.46658883
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            c50caaa1d86a6bb1d246bf43aa085a2f6ed9dc6442c912444496c2f451bca885   2021-03-12 12:43:11                         0.45776544
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            a112888e5acd2eb76a3bdcecbaf1ff1627ab8c2878765cfb67b0f097ff168ab3   2021-03-15 05:17:00                         0.59999651
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            764808ef218b056e2552a052037cb22667110a5014a497556a7a0eaf76269e6f   2021-03-15 07:23:33                         0.59999651
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            647898419a89c4d77051558c97dbed91fd2135e4734704f02985435b80494184   2021-03-19 11:40:27                         0.59999651
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            074a0020c4742dc5800dce2fea2b19a8faa5c6001916ea7c813238eb08255e1f   2021-04-13 13:38:49                         0.02743932
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            6da7c465aecc9a4a4c9bcfb0432c19d8c93043bdf1fe803b7a508dfd8b906e2e   2021-04-22 19:10:51                         0.05699151
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            143e070ffdde323dff2aaef21a5e32bb06c68a5455e93e08d90f80194741bcef   2021-04-25 12:43:00                         0.59999651
Binance        1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx          BTC            9dd03ded4c1ae6ac4554ffebe42e8a00dbb189df5c74192ca3833306eccba3d4   2022-02-13 16:41:01                         0.02955310
Binance        1AKtxjFfY3kGzWGX5XvEyGiZXR9ZCGmXFB          BTC            c236ca21ee9b56d8e05e8532c6f80d2eaf4889c5efdeb2c9788e065d7b6f449e   2021-05-13 21:33:56                         0.08229850
Binance        1AKtxjFfY3kGzWGX5XvEyGiZXR9ZCGmXFB          BTC            62debbabff57c86e3067c9cfadc563b6ce098b4ed5a0eda946bd847f25b5d5b6   2021-05-15 13:41:52                         0.00221585
Binance        1AKtxjFfY3kGzWGX5XvEyGiZXR9ZCGmXFB          BTC            b777b4e29ca055ee4553ae92d38e8154f8d783699cbc44297c01fc2582cd35cd   2021-05-16 18:26:26                         0.01112716
Binance        1AKtxjFfY3kGzWGX5XvEyGiZXR9ZCGmXFB          BTC            06fcc66aabf214acf459c534d2d29b51ec1ce734b95874948267094cac3c6e51   2021-06-11 23:01:57                         0.00214217
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c0fb40c3d2bc2822525654830778b498d123009f409277eb257e723c728cadf8   2021-02-24 08:11:46                         0.03216695
                               Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 47 of
                                                                     76



                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                               Transaction Hash                       Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            4c08af8c63f2fb9cfcee2aca005c87ce11eec83d47a25d9f636d43df63414bc3   2021-02-24 08:41:30                         0.03156520
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c3663ab9bbeb49409b5f7384cabdb333a4038dc0181577b1ef4ae188accb60fa   2021-02-24 09:18:42                         0.03096367
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            0238edd3943667b05af0f802f05c71b36a88519f1f33a6ccd4a7cb32e9f26be2   2021-02-24 09:54:58                         0.02639785
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c1ea878e75381ff82f6eb1f4b343bb57391dd31ca3579e2285d5d25451c37e80   2021-02-24 10:49:18                         0.03087536
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            cc2a8d32d4ccb476f02a6c249ead1399be1fa7f7b4e1d5358f6ac46a01ce018d   2021-02-24 11:34:51                         0.03007537
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            dd82473bded5d653623f7a73940ed9eeeb1a7f8b719b80332d9c60b056c8cb38   2021-02-24 12:19:25                         0.02641993
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            300b96086ae93e95824b1f5dfd8340a285a797746e448d254c0e007e46629379   2021-02-24 13:05:41                         0.02983161
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            0a5af62da8890c3b17bcf2ce101c0834b15da45e531c6cce88d092470b0beaba   2021-02-24 15:15:49                         0.02850849
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            0c63072f130f3b29ad5a0f71f68dd0e2d4dc879db8fed3192accc272fcc42dd9   2021-02-24 15:54:58                         0.01771413
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            8a2891a2d0a774efa7e43ed2a83d553a1ccca77c16c7054ade95ff5069c67f13   2021-02-25 13:57:43                         0.03619920
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a7188d8e58e655524fa165a4ded21595d74dc46d8b40c056047f69c35d19e167   2021-02-25 14:42:52                         0.08487516
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            9d91c11738daa498005116ee65b1a2aa340bc18fc9798dd3d43293fa7ac29cea   2021-02-25 15:51:12                         0.06087282
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3dc10fb10fc4a04a552bd74dd51b3b6844da35dce7f9a70572c39918a40bef7a   2021-02-25 16:37:09                         0.06239297
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            5333ca93d24cb9297a291b5ed7ba58b665b972b443602554aea42e52407a14c5   2021-02-25 19:26:39                         0.08830747
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            019c008887198b59274787f9a4e082c5064b46c6d6f909de10e75b4e1e04f72a   2021-02-25 20:19:21                         0.07363594
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            54dd66d4c0a7265927e95386e5273bd7eb9b435980b3838f02c07fdeebe5d0b3   2021-02-25 21:13:25                         0.03948262
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            015ebe4631d4f6e7b3bc70949db8ccb04d7dce0198b01d48480046fba31728d5   2021-03-02 01:15:12                         0.03542405
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            f09a3bc299bdf4a3d50b2f9751f5bafa47477ffc880290a932e9571289d1279b   2021-03-02 01:50:23                         0.02703987
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            8f81ed71125321144e4c49c03ff226205b49a2154b2b430d22720406689e2a5f   2021-03-02 03:05:04                         0.03535824
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            2552ea073b4eb98dfa9e9a4fa7b1b508191dcf99b5bfeda6e1a69f38aed1306f   2021-03-02 04:03:10                         0.02704623
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a2cbe039f8422d9ef25b4f326d753d306c1281fbd8531a563494bbc03b202dd9   2021-03-02 09:48:50                         0.02705002
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            78ffe6fb38a07f2ae521059a8332a4c7622053e7f744f292f533cf4e44399442   2021-03-02 10:21:56                         0.02705434
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            9389eaa5a177e4faa5a246447c28346aa265cb54cbbec1dc6cad3d2e480f60a2   2021-03-02 11:26:00                         0.02705938
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            5a83906c25e1bebc76fd94000a0e2e582c4c17380499c53c252b9993bb64e271   2021-03-02 13:41:31                         0.02706487
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            5df7fa63615526bcee5a30db0a5856df3c36e1e3a55d2f28009431039c982ba5   2021-03-02 14:53:00                         0.04084281
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            7288a459124aae638b8bf26acd6bd5ff029fe4a7a538290fd9962970bf0fdd25   2021-03-02 18:30:22                         0.03694933
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            f2ce12a64fd7ce6167bfdae8fb655ed4d9c127bac24c4e8d4a42dd36ecadbe19   2021-03-02 19:05:15                         0.02709451
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            301fb14b5d30d0bd8392342a02170f5217802e03421dd498df6606d8b70119d1   2021-03-02 23:03:38                         0.02737870
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            afb6fd857df4227e8a71e54ee4082b9a58970a42e4e99a182ce99fdc4f91c84c   2021-03-03 22:58:30                         0.09016808
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            eeb7f82549226f63040c24ba00b4b547a91f8a9ffb9afe25a4226589324298af   2021-03-04 00:52:07                         0.03004863
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            54a13772e08bddacf6d8f0e9ff72524b1b3f85d5d4bd268e639130b25d743c75   2021-03-04 01:45:31                         0.03005184
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a7b88b69277adcdd6e0d29ff7453a05017a7f2232e095ad6bc8475e38df50f08   2021-03-04 02:32:38                         0.09017782
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ba83693c11bc60bbebab69cfcfc5a4aae964c633dc14a010ee8750a3238f44b9   2021-03-04 03:21:42                         0.04452821
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            4420b83e17d8c310183feb827ade094ffa9022d1d571896338e0273f16134d15   2021-03-04 03:48:27                         0.06351245
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            290d2df2ebdb95d454834e04975bca4e2c8a086f52ce0dcbe7863a6e677d9e62   2021-03-04 09:42:18                         0.06486680
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3ceb8c843dd61cf99a2690a7074f47b385b05c03fd7ac0c0aa56e8e3d80ac97a   2021-03-04 18:27:22                         0.08414925
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            2435e1815f1c840c95bd821c3663048674b7749ddfe209c1e809722cbdf327e3   2021-03-04 19:14:39                         0.09020944
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a21a0f6283df93c70d79246810b510808332304f1263f9ef646fc96abf17f502   2021-03-04 20:32:24                         0.09022383
                               Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 48 of
                                                                     76



                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            dc96afd17928b74ee62a1fec1f881ee35aebad11cba660bbf0211f8cfa819372   2021-03-04 21:37:27                         0.08284560
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d4fd720c787ac3afba0c804f9cda803f6e031aa1b5bc91ca9c6766f57b2e245a   2021-03-05 16:59:37                         0.00620012
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            0c384276cc622061d95e6073ab331d4e07589d9d7976061dc4dea0f7d718538a   2021-03-05 22:34:16                         0.09036458
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ff04e1e1a1ff9b81a02f13b8cd2349bed199135fd3a48bc52395b48bea9cad79   2021-03-05 23:43:00                         0.08891010
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            9d5614dfb485a5b4e794bd882e4b4cb099e2d649964cd846bdf058b8c070909a   2021-03-06 00:15:17                         0.08620028
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            7db1c9180651e6486a67223a44df60387b39a82d65c412ddaa1527964a4108b6   2021-03-06 00:58:18                         0.03025108
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            72e9252e2b03dbcc1f4d5853345a73d4748fdf2123d036aba13f89ad8a5caa91   2021-03-06 02:08:20                         0.08587273
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c833e92316073ea1ea8c312a8b88173677d4edfe01b4149a6cd80773f4a2abc7   2021-03-06 08:15:00                         0.03025891
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            fb33a8de9a088b6ac9c2fda1212921f4fee3f938aec7ca2bc3d2bc11e0eb2147   2021-03-06 08:59:12                         0.03251898
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d4b3be52751ff1e1cfa9d187fdf72d6d45040ea80a5bc007b62579bdd1a5b004   2021-03-06 09:40:02                         0.08895189
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            91714ddb4c31c79f618fc707f982347a1b9e805dab5352382e0ea80a24299056   2021-03-06 10:23:17                         0.08265271
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            281c591a015cf2e11c2b2acb78487df79608ad60d49ee8195f8a65f4cdb1518d   2021-03-06 10:49:51                         0.04516872
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b4cc01e948580a28bd5b214f5e8bc853bed9fddc923ff6d0a72754dde682c817   2021-03-06 14:10:23                         0.07958554
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            9cf6da04e20d4c20e234c343b090b627a8f62a7a72a61530576779271c51a5aa   2021-03-06 16:01:13                         0.05911810
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3d9d674cb056eb3c3c8322d6cebbd8b51b7291a1b9e70916ea3b0c170a3ae0d4   2021-03-07 01:29:35                         0.01264402
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            80c18a8fd4beebd05e6343a49f0d97442a946e35de9a316cb3451e6aca822918   2021-03-07 02:33:50                         0.01264514
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e52644defff5cf161942fa0fd8d4578096cca5f74d471b69f7b254771337a37a   2021-03-07 03:30:31                         0.06055802
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            094b09934c6c891395697118a5771aca013b8707fc7a6346dde04cb54684ca43   2021-03-07 04:39:12                         0.01264772
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            6cbeb40475cc17886ad6d7295569bc0886b8ebe6f195827ce736fb3d12856f12   2021-03-07 05:21:15                         0.01264926
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            aab4d38701c3e5f9d9742a26994c0537b7763b1987471d3091d3b2c0bc8fc745   2021-03-07 06:12:05                         0.06234262
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            013c9f1862070792c28157d178832c5ac0b627f8fa0977346edfcb7d011576bd   2021-03-07 15:13:07                         0.01265294
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            41518a61b51cdb1e8b25b27ec4fd568c6b3916b0ba40389104e60b8338245cc1   2021-03-07 15:53:09                         0.06174904
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c90371c63be8e90d36bf8b44be25816e149c3c114406f99c89ff25834f6a0eba   2021-03-07 16:38:43                         0.01476493
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            abab6af64b9bfaeb4ce9b370e43c44da1f16f94300892f8ec22dfaccc1e75290   2021-03-07 17:20:47                         0.01616834
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d4d5efc140db56c6583c461f3aff9e6f901b0fbd23775feb003c6c2356a7777c   2021-03-07 17:56:25                         0.06390555
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            5a8fc161449075b970cb74431008cd0487580af021b10d01a9b76a1cdbb553c8   2021-03-07 18:47:24                         0.03135350
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            615d32ed2450fced4747919d64178b4703cdb1fa75dc729cf7b7c5284795e183   2021-03-08 20:40:41                         0.08621283
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            598c71f5a9e8e903b535a3302a6e9c95235b6515e7b0bf5576fdb1b9d5551ab2   2021-03-08 21:41:20                         0.02609268
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b16bd6655a7ecbda06ea2d5d091e9fe1efc98e0f1f4654ca3d1e1f2ee23eadc9   2021-03-08 22:34:13                         0.08621742
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            acf0ac93af4a08611e742db22b159612de8f9133a8211160a61d1c88c4aa8820   2021-03-09 03:02:52                         0.02609775
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b3891d290f77b957333983c705f06f2e3f35bc3f473246fdb7ca857e2901bbec   2021-03-09 04:02:12                         0.03655295
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c0f5fb2c82c03efd61dc31c4f9362620b7dcd7ec6148dfca67efa6bb797a96cd   2021-03-09 05:02:07                         0.08622652
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            5da8c0b84aea68abfaf028fe69973839b332885d1d5da5ce261b106eafde759c   2021-03-09 11:57:45                         0.05898844
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d36a0213ef484592d044446cec333762381416c9c3f23117dbee00c0605970f8   2021-03-09 13:04:53                         0.08623532
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            dd27b8d98766dd26bd940944586ed774a4072cbf13616f8afd5673821d93b181   2021-03-09 13:50:30                         0.08624131
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d1982e3c5bb77ea066caf507e49485785300b9be2673641dc54d6e8b97504557   2021-03-09 15:44:16                         0.06050889
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e4aee273f8564572e547ca64714f63f1758358858ebeafa93ffc0dc04094189d   2021-03-09 17:03:18                         0.08247888
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            6f96fb0160e3da3b3d1d2736f270121080a0ba703f5e56f9b9d6c5da6866b0a7   2021-03-09 18:15:37                         0.06169197
                               Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 49 of
                                                                     76



                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            56e01fe028159b74c6acd84a1aeb4c3c318ea96f575ea369b55cd2505989112e   2021-03-11 21:36:44                         0.02602711
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a1c4f584a0c0ea13de5f9b14eaf6afa4de109d2221ef5fb5877f21580a8cf54f   2021-03-11 22:13:06                         0.08615147
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            cdf17ce3fb561c790f74eddafaff8044857f2e7b0e0eeaecfccf5c984036c2f9   2021-03-11 23:15:15                         0.08615373
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            eed7614b9c004d29dc4b9aba2aecc0f1a9a3a1db86db766e41ed99bedb75908d   2021-03-12 00:40:34                         0.02603394
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e453cc3c9999d8ba9d62967b63638009cc74ca59977cf68d62e8ee8b0f45491c   2021-03-12 01:20:53                         0.08615908
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            132cc85fb8cdb2fe5567d74339dddafe0ee24de19a24eb0a43f6876eac8858b9   2021-03-12 02:03:18                         0.03652821
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            938f45ffa3f391f603e5fb6bc4f8aa3804f907c63af7e71222e2be37286d322f   2021-03-12 02:58:12                         0.08616608
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            f6d1273f1ec4c41b66f21b7bad37686e5391d1e63c7ec0429b9dc8d5e4e9e602   2021-03-12 03:55:14                         0.05895800
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            2922494439cbd5954dcae50c24699b86ff068922b79eb3211c3217ac1cd7e258   2021-03-12 05:11:36                         0.08617626
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            2372337829237d420a89881f9d07648cb0b1accf57d3cb5cdf1f26d6d0c67be5   2021-03-12 12:43:11                         0.06039383
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            1691ceefd15482e31e80007486bd383509d0c39e896826572f61d5bfbd08ee5c   2021-03-12 15:45:23                         0.06461585
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            8ed703e4024b38ff465a1839bf28d35340fb673331a82bb5f4c04bb8a626d11f   2021-03-12 16:35:16                         0.07438286
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d5b443f8f7fee0e7bfbe317f26f6fa5dd21a12d9fd36d310eff6fdc2c3e55731   2021-03-14 08:34:42                         0.00547155
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e5f40cc9d5d31ded48851ee7ade3ffb69941b26edd21049cb170596246e10843   2021-03-14 18:58:38                         0.01218714
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            55fe988e9f1ad8500db33dbbb418a38d11d1f85a91be124f44556ebb5c09a9ed   2021-03-16 12:08:05                         0.03741578
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            6b375fb297d5924870a1d9582a91cb6ec0d9b6e600c820596f75b26dd7badbfd   2021-03-18 12:10:24                         0.00756606
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d98e04fb103b01a71e6cacb5536555df2529036daffec7f307a75c784d80a052   2021-03-18 18:48:29                         0.01173038
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            f4d179ede4e31496935fe663663b02f69082e792b312aafcc40f7c0672445fb2   2021-03-18 20:16:41                         0.03536736
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3f423637226fb4646f7285fd9ebdb3c1bb304a06aa92fbda26f8b41eb5e27f33   2021-03-19 10:11:13                         0.05546107
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            dfd4128c531959f61bad7e21beca4f518e4329d42010863b0d4fc94ff4d7a998   2021-03-19 11:22:54                         0.05035940
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            35f895debab805f4207000ce7b4c6c091aadef61d5ce1f3efad1048db2fa5dfd   2021-03-19 12:06:06                         0.05800993
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c093b27fcd5a85355091fa2555259125d4fe01414c2076cba72683a5ba6bf05b   2021-03-19 12:45:13                         0.03740699
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            1c9facda41da713ad835cd45a6533b1c897aac16566cfd3532d80a2aa5d1dd52   2021-03-20 11:51:14                         0.02689003
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a6a9f0a4c0b4e10a1a81222097aed5dcd8741693a1fc00546c777bb5d9108b67   2021-03-20 12:09:28                         0.05408775
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            0627b93071c0aee7d1ab2ef7d61bcddad722ae34cb178fe9429d74c9ffa9d31a   2021-03-20 13:24:11                         0.05527245
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a66050fc42eda827371f0278ef96adf554ada89150c74c60fc256246e79e1c0f   2021-03-20 14:29:17                         0.03723589
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            f102c9427eb95756c43daff3e50c4160624d8f9a97e09792aad07be5ea525ceb   2021-03-20 23:10:18                         0.03295773
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e103dae06da27bdbaf46a68298e64ef0a8e89bfef7d1cec7c3a4d709f71c23fd   2021-03-21 12:37:30                         0.01341125
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            60340978dc6b591a26f3e081f080596d97032a5d2fcbb8b2ecfae1eb120e2359   2021-03-21 13:06:50                         0.01604070
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            66061e940a1079a449c94a85357b69448e3e1f193fd52f2111f67b58f0d7f9df   2021-03-21 15:26:55                         0.03957864
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a0267c3feda4a05e026f7d02f8d3b7bb7a23fca59be1e6efbeda62c95bfda8c2   2021-03-21 21:09:39                         0.02406132
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a18b43de0ae0b8e4fd423903d2bf5b73e0d46d20324bf2237cb69c7580126c34   2021-03-21 23:37:27                         0.02406178
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            2e35096c6ec9e630779691c1999011364b0fc1a8ea9a71d188b6e6a9eb11d2ac   2021-03-22 11:18:53                         0.02406243
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            99723f1c7289967c40ed14e211df45f404e652a8f0a86cb58c3f3e1b437f2eef   2021-03-22 12:14:18                         0.03957948
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            184eace474e54fdb10731b5fe62e9ef283db4dfeda0b5eb882e2aae27b5ab14a   2021-03-22 12:42:05                         0.02406300
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            6f5f73483768747519ba4f0f34de31f82ef927a8373966acf7c255bbb0e9d325   2021-03-22 14:57:54                         0.02678228
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            a3c8da845da687918178d5f63b54dffd7673f385385968f395b90ca2ddf338ad   2021-03-22 16:09:32                         0.01604484
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            1282f9778810ea30b002d3c3418927171ad3f2d9b3a0129eb1856bc7072001f7   2021-03-22 21:21:32                         0.03958113
                               Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 50 of
                                                                     76



                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e1dad8c1561512109e7fad73bacd929d888cff0fb9c6306f55f1e35f5466efa2   2021-03-22 23:29:18                         0.03958185
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            837210b6235c473ee8464edcaf2ee6fffd06dd71038fb0ab4fa6fee6e8465fff   2021-03-23 11:52:35                         0.03958288
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            883cd26215c0c70a8f0ee9ded5a4e99aad6d5861516c46577915044ee687660c   2021-03-23 12:13:56                         0.11606640
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            90a12e6c3df7b6548bcdbb68c4c30377d2854ae14d076966443c8d1aeaf1263e   2021-03-23 12:58:47                         0.14407422
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c5c52cc07da00fd25746b7e1c95899955073f609bfca9c12c1a57cc6c44ebfdc   2021-03-23 23:22:19                         0.04171713
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            6e8c29cf48ca13f9ed8da9c03d4f44ea858fdb32514197df74a6a107b416b829   2021-03-24 09:36:04                         0.04268944
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            db99fb7319efb04d7cd36256f45a5b4d348bf248bb984b86c38fb7c94d6ceca6   2021-03-24 09:56:23                         0.02858191
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            205f245828b3bc9f51f6489aa2b73e8203e3deb8916e28b76b77c5378201e057   2021-03-24 10:19:34                         0.09741790
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            5f81520ee9de61a164cf170325317ed251db6d6d4af9b8865da7b0570f731e90   2021-03-24 16:16:19                         0.15959701
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            8f553f77df2c9f1dbadd81db36939f535c62a087a0a07f0de56411ebc5f037fa   2021-03-24 16:50:11                         0.12377490
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            18a46812d03cd840dccd41b7c4007b97dc4f5b448ce259f70650a1596bc2ff37   2021-03-24 17:59:51                         0.03339874
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            862ba1945294653f8f35607c60c7cfaed5fcd811dfbb7b973804c77f09994229   2021-03-24 23:19:01                         0.02306409
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            4b8fc18e9087dd778cb73757908a36269e33aec535c3e04b680b7e66e3284e67   2021-03-25 09:53:45                         0.02306551
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            cfb7e264c30017e66ad7c60aa6323333f7a22fe5c29b7ce35fde79dc285d9951   2021-03-25 10:36:38                         0.01727777
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b07102fc026e1cb95020b39db66db5a4662b6167ecd2b3de31da0e20373c32a1   2021-03-25 10:58:57                         0.02306630
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ba785bf24474deaa561b231aedb9afd4b5d8c24d3ea6c7a27925329307777c46   2021-03-25 16:34:43                         0.02306746
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3e84f3ee8aa9e1f3cf08ccb1236eb5e3c4d14bd025aec2b2c90859b1f57ee17b   2021-03-25 17:14:28                         0.02306893
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3912c0a88c091c8627e57bf0dbb38756f52d87333c0b44554c7d976eb32cd3a0   2021-03-26 01:34:38                         0.02565818
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b576e427eb813a8dc99aada74b29f8d7236cd030bbea301f8e8388f7587757d3   2021-03-26 09:26:30                         0.02826997
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b5606c5ee1e674d13f59f97587b57e7a67fa4b1317a8d921394d8cb59f0f142a   2021-03-26 10:14:08                         0.02870968
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            263124e8c76781bb4ffe674e7d88025f146bdf178e02d62538045b17019ac6f2   2021-03-26 11:11:52                         0.03034016
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b04fb61bb763bb8b43fff7cd9725c6fa8206c48f50631dacbcfae4156798bad5   2021-03-26 12:07:42                         0.05263128
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ab4abb19c6fa9e95774dbd208dfe4a138c94db4e7dd1ee1fae935f045c4818b7   2021-03-26 17:35:45                         0.13763518
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            0340b33bce5093a4e6e8dcb5a5d136359d61b4ef20148f5c96e5be363b246749   2021-03-26 17:57:57                         0.08766534
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            dbfb640ea3a57966c745eaa52b5594abf3cdce96262ad09d9d1e709df18ec8f4   2021-04-04 13:22:17                         0.01796205
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            1af5715cf8bbf18955e726d61b4cfa94ea5e9f1988828f9471f9bebd19bdf90e   2021-04-04 23:50:42                         0.09464651
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            93de582840f5215e4f1504a5caa20b94467f3e11653f5cd900a2851ea7fed795   2021-04-05 22:36:16                         0.02502555
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e369d97ba80f4eac7654e9e03702a6e0e699535664aba5f952592157605a218e   2021-04-05 22:55:03                         0.09567025
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            29b5277abd578c79abbdfaad744a9d3c6641de195134fc044b64700ffa606b02   2021-04-05 23:41:15                         0.02502728
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            5513f1b11e9eda801742ab230a3a6028a02fea7f243cbab36282f5802f7c2776   2021-04-06 23:16:04                         0.02502833
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            4d2075ee03f4b805fedae6ec01bca354437e3691d7acb4ee67b8719cd649f4d3   2021-04-06 23:56:53                         0.02502884
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ce08a916916c9bb61f34f7b68e049a8d5b39ca58fe83e9ad86cd6033f8379194   2021-04-08 09:10:07                         0.21193136
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            35e0f947102093cdf9d187a367acd32f5be79a617f72102e38be9f079005dc53   2021-04-08 09:41:17                         0.21193875
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            996dfa2b345dd8b1e2ca11bc507f4eecb97c7747fce57ab63977a0723cf32943   2021-04-08 10:44:48                         0.21194592
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            483919db32b6068b5e3d567f812b3a9ff6ca1485569350dec0ef376ce46959fe   2021-04-08 10:59:48                         0.02814765
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            73b6551751b2d196479dc9af66cc7046d56c49d63b59384c4ea124322089dea5   2021-04-08 11:38:18                         0.02933171
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d5c25551e692b81ffd92c2ebcd9e4ef729e7b7ffd9537297a8a40530d40e5e2a   2021-04-08 12:47:13                         0.03135131
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            6469646c4567098e9d93c0d9bbf2269627d55708f58b4802437245b2a057c3be   2021-04-08 13:25:28                         0.14133100
                               Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 51 of
                                                                     76



                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                               Transaction Hash                       Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d2899ce4ef81a3ff6acb18d17b6b35c360aeea5fa1890a7d531d15720a48c87e   2021-04-09 08:45:37                         0.07816255
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b0fc4b264ba05536640d9c8721e774687195a90c5264c7ac389b7df29cfc23fe   2021-04-09 09:31:56                         0.09392774
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            23000f8c032b24d000c2d9539e9a937c5ee47b76cc1dad506120f3ad7ebdfaff   2021-04-09 11:41:35                         0.17620398
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            8edb9f7d946f4447a8ea7f1d102990b24ce5db2bb293d25e88a4bdc13406d622   2021-04-10 20:59:22                         0.03733364
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            9bc940c7565c83c8fbd9da4c67d4383f27f7c253836fe51484d492a4430f3b62   2021-04-10 21:50:57                         0.05132007
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            2f794315393badd0a6b14725eb24b6eba70195406413082f324ecf2c199a0b4b   2021-04-11 00:13:27                         0.09560022
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            116b8f5d89d695c08899c49a77b7291a76ffcd5c905db2e3aec00bfafb9c3637   2021-04-11 01:13:53                         0.09633371
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            fdfb7fdd0773bd3378f0717f3ff01468380db6d2d70901a2c1d50d733a3322fa   2021-04-11 09:39:51                         0.09730516
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            052ea19d3a64c72c9e08c90f97585e51aa4b5447f12eea2d952ff701fe74bfd8   2021-04-11 10:13:24                         0.17206540
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ef900eff522f31360c07c9624034cc8b18395c89293b1d4241bdd747ed0ec839   2021-04-11 10:55:01                         0.03421523
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            50c9473067265fc7394c30a3c4ad9637be8d4eaa2e3afa70c2d79ecbe34de6f8   2021-04-11 21:45:01                         0.21185098
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            0f91f54e89bbfb0547aea2765f2bab9814c09ec29dc97de8af004bda4aaafcfb   2021-04-11 22:51:51                         0.05464838
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e416202818ec08c12fab95cfc4e6d5ce4eb898319a54ace3fa35567a3c43ae61   2021-04-12 09:11:21                         0.05548299
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            62406db2d347fbbfb14803f85574fa492a28aaf90974309c87430042bb4e9f22   2021-04-12 09:30:50                         0.05667784
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ae9ec494412c0dc8adb7c733fd5cffc738ac55388ae8080d2025f1a6fe9f2cc7   2021-04-12 10:28:43                         0.21187463
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d6e4e9b6b477ff7a0d5e0da6d49a6274c0baee25a7f861377b8909fc680eec48   2021-04-12 11:09:55                         0.10310211
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            9c0e06714a6e5d253bc6c22401394834466f86bf204981dae25208bbb3afd344   2021-04-12 11:26:53                         0.12992138
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            768399343cba492203d00a7d2f322ed76558161ed58a1b823fabf2cf13ce800a   2021-04-13 09:35:35                         0.17134587
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            8b40644df37441d3f689e86cb404316755470c3eeafc91b2649356778bc61476   2021-04-13 10:15:52                         0.17135502
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c48e6e5419c4c1060866eddbe23204ddcfa8d24c51c48ee1acddb6dffcc8756d   2021-04-13 10:35:56                         0.17137027
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            063c85bf5b63040df9c1677546fa88fccab1a97700a7f4ee814661b7c30ab405   2021-04-13 10:51:20                         0.00291006
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            613ac6f6c1e5f84ccb52e1044dcbc31fdce39b4c2e4b9e2b41c765ec2eeefbdb   2021-04-13 11:41:28                         0.00291015
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            8a96a27d213b46e308ecd986e060f602c941e40f5522953f53a41d52dae69944   2021-04-13 13:26:59                         0.00291025
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3d85813e7d523ed96ccd57fb17cba7477b603c564fe9d77a26e55ace50047a1a   2021-04-14 10:35:09                         0.00291055
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ec1fbae2957bcda9fbd2ae1d4030ab7b10991ccbb51e239b86816d3f97ffbac6   2021-04-14 11:09:04                         0.00291072
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            bb17edf50573be457c34c3cd9914df4235a67d3e751d879549c911b17569a658   2021-04-14 11:30:46                         0.02441397
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            d35866aa3bc8692162a8ce4608034cb294be258610ba82c36163fd145d1d93b6   2021-04-14 11:57:00                         0.00291112
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            4898adbb60c41ae1139b85085fb2c034d4da117af717bb23a89d2f95a1ba5b0c   2021-04-14 12:20:12                         0.02441647
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3055b909a44f1f28860f4b39e68dcbf3d683d1b4759696155cb6e84f7e3e0050   2021-04-15 11:36:08                         0.02441998
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            678cfb8010a0c65ae1bb77214f68447933ce68ebe92d843b0c3bce351f96f2d8   2021-04-15 12:13:59                         0.00693696
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            c61084ed45c1af8dedf303115516c73f19db9750627d7b0aadbc0c47aeeee43d   2021-04-15 12:34:40                         0.02741702
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            b20b3e7241bd3b980c59924ac847330ab126acaf8b21ed82a3c608f37055d279   2021-04-15 13:54:44                         0.08681186
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            f403772ada90df2c40fa1e110244f35fdfc304e17904a5e94104e81b0693c10b   2021-04-15 14:38:01                         0.03040064
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            4723b88793cd9700d2fdd10aa11868feda7a35b19d9f47a1936ef0f5657e0485   2021-04-15 16:56:00                         0.03392892
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            228a6e9b1a5b782916a55498bc2e6e576638aed0bb12ab5ea4e598868103dbc1   2021-04-15 17:26:49                         0.09172563
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            f106aaff413397f4d09716cdc6f93a5d9decd3477a2933220ad88914de9e8191   2021-04-15 22:30:54                         0.01586892
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            3fac7d637daad01cfc425199922a6494d897c14bc79728f532ece779cbb8ad74   2021-04-16 12:14:09                         0.02380452
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            bd12869df4d9a615a03aa06b4bd0b6828cdc49f37534b870b1dd32869979ab57   2021-04-16 12:51:34                         0.02380709
                              Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 52 of
                                                                    76



                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                            Address To              Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            ce5e905e2000783892abf180b38c7cc7c17d36717e118e322b7bfa0ec1c13787   2021-04-16 17:02:29                         0.02381033
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            89c9c6812faf2b3e6533add47b28784f06cc8b4ee76cdd590683ef831cb2f57c   2021-04-17 10:52:44                         0.02381414
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            6da0a7ea22231e2c2547334688991496c989ec8aa4096570f7bf263d1ec41e2e   2021-04-17 12:09:12                         0.02681031
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            e30f3580dccaf9c161dab91d07e72a54cf9940e155e02c7007f737840a0d2745   2021-04-18 01:57:12                         0.02979701
Binance        1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg          BTC            8b104dae461a930916fc0d6d6b76f3c177f9911e56f2451b0cd132abc9366cf8   2021-04-18 10:53:00                         0.17260566
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            8ceb0514b1f605bd07279b2e44b585277cbac30a19cb2cbdb7e6baff81ad77c3   2021-02-24 08:17:53                         0.03962643
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            24ea1856753cd3891765347a7e3ef27ae4b0831d1166bcb57ce4fe22cbad53f5   2021-02-24 08:49:10                         0.03842703
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            94f58f7b3b743bf1ad7df1aec0d1ff75984047418833b5b5df365acc1fcf8cc0   2021-02-24 09:18:42                         0.03722796
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            d1727627c8a6c4806b9fec25b5175236cd49079bb7f208eaf2e831f9c41e4fab   2021-02-24 09:54:58                         0.03602936
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            d64e0649acfd5ac6f0a7138ba0f7844ae0c8b1e0364b60a79bc4b4c8655ac9f6   2021-02-24 10:49:18                         0.03483142
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            07fb7e3b611bc3a7a050c0505056a0edda18eb391e588c1d4badb7095f0a53fc   2021-02-24 11:34:51                         0.02816570
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            6fbd916956af91bb01939923da59b80a28c17cfa91d1e4e3f82637d6568f39c0   2021-02-24 12:19:25                         0.02817524
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b3861f6915a58d29320e08f370762787bf754785cd27154b6ddb0903d16c407f   2021-02-24 13:55:43                         0.02818795
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            5d439315d1441f1311b48691d605fad7e922f2e92de843dd4386e1cf953c62b8   2021-02-24 15:15:49                         0.03117345
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            d089c050623cd694696fa2aae6f81d42caa5f79c6ab45fe63c4e876d3fe3cc01   2021-02-24 22:15:23                         0.02678083
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            26906c4b542cf2a3c3e785c9c21f14388cf4415696477e4d30fce29e48a0e63d   2021-02-25 20:38:00                         0.01020749
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            af3fef5490b7f634f25a48aef9ecccf9441091f6fcffcdff2b9a64347a3ae867   2021-02-25 21:13:25                         0.01799300
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            fd05cc13afef5f00ee989b1af50c35769c22de4d6e5d389d120eaa8777cbd951   2021-02-25 21:52:36                         0.07773852
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c75ea4180d9db1e19e29a234993a6cac2a90f013eb659758207320cf501c4b62   2021-02-25 22:41:49                         0.01633831
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            32d1ebf2f0101f7f268733bf2e8a7e5c6ef577df2dd12da323bcdbdb48a1c63e   2021-02-25 23:55:34                         0.01768444
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            957ebd1f7f47c20a8a545c53253b66eac370082d75322296a5df068d0ab8a681   2021-02-26 01:33:47                         0.02284785
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            8fed608c944f10ef50dc0ccd2dc3b74943df013571bbff6d0344a4b0b476abf1   2021-02-26 03:16:24                         0.07972419
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            7558d89b484fea95f015dde3c0ad7ea5ea55b322f059a8d1b01ccf9c18fb2e19   2021-02-26 14:39:57                         0.06862299
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            a801d7398b08de36bb6e3e57c668a273f4c3d65364cdb2975ff5920905fd9f86   2021-02-27 01:53:17                         0.00692714
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            3d72bc4bb94a7d5cec8f9545ca7f3bd3a8ed9dbedabe5b73e30942c0dd2ae4a1   2021-02-27 11:01:53                         0.09373124
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            d6add1b4b07fa2784210eb039edfbd0e73e9252e46e7e29b3964cac2a503b9bd   2021-02-27 11:52:29                         0.03361283
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            9cd9a838d5722642c48d469bdb2224d8ed3ce10e243248dbfb98f64ef8186b58   2021-02-27 15:12:39                         0.03361719
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            60bca9058053883876e2c761262e16d74ae9c5923aae4d741cdb681052fc8f39   2021-02-27 15:50:00                         0.09374439
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            fca5d56fe9d9ba9236a2c8a025d11864298c3a5bbafaeb9a5f0a8b913ff651f9   2021-02-27 16:34:52                         0.03568280
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            ab4fc6f3b692d657b68bdf26b27747719452e628c32063633dcf79505aa81626   2021-02-27 17:14:32                         0.09375604
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c71d5b6b814da919017b054815599ef749ea5a83fa8ea3c4e8535ed075d52ddc   2021-02-27 20:25:33                         0.09376230
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            f36d176888ee3145a64a4f6670587090600c5243d5ce68bd4bd32b4f2b4d31e3   2021-02-27 21:41:40                         0.08887541
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            3d7998c6b563fcbb23164a8319a052067f5f92062944639981d299c993e98043   2021-02-27 22:57:12                         0.08331458
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c6239828e3a9316e94b3f4448c84c75a0184e5c2de6099c4650ccf583b19fcbd   2021-02-27 23:24:59                         0.04880068
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            8eb2c8d72c49f58d2e3f43267365a46a1773f0243dcde9faeb3bef4e04c4e06f   2021-02-28 00:14:37                         0.08058820
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            dd7d1c46a14fd66417993606d8c88aeb1ba18caf025affacf88c323dfaf84140   2021-02-28 01:08:23                         0.06580007
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            01831aac67f5639a427080874713955cb4a2b983b1835d12f264ed193b3a735e   2021-03-02 23:57:22                         0.02508246
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            341cf1a56ebae66cfd5e98a3d62cbcd12438c2d1a0213363ffe03210fe0157bb   2021-03-03 00:53:22                         0.03385249
                              Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 53 of
                                                                    76



                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                            Address To              Cryptocurrency Unit                               Transaction Hash                       Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b36abb42bcab85e0bf458128743a77725e6661ca8de652b85ffde01b9ae4e483   2021-03-03 01:57:38                         0.02508751
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            64b1d5760b7d0d445285ad59d45e909afb0b3478ec7b7f728d24f42a51f406b3   2021-03-03 03:06:13                         0.02509046
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            20561cc7eb2ceaf75e85fbaddd5ad4ae306d49bd204624ef16147f7d9878a21d   2021-03-03 03:51:38                         0.02509377
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            2e2a10057067888ef705cd1618602a2fcbc667c4dd7eb07c07dba080e04fcc5d   2021-03-03 04:42:00                         0.03575741
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            a0ca2b29bb23f5c34a5364a62186680209401e6050ec24a1c2127fc48f79bf2c   2021-03-03 06:32:47                         0.03412823
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            574eaad72eb344d728ae9b612081d8b15648f05f3ff4fb671bac155dd5dc5caa   2021-03-03 09:59:50                         0.02510732
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            14d8094e051af011a2befb54f5bc03c9680848aa118d7e7c4c031db35a49cc4a   2021-03-03 14:59:15                         0.02511367
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            080e9c67b3e7f63abc39c04f9147c6b96bc21dbc4ff09beb8d6b3304f118d4be   2021-03-03 16:34:24                         0.03538422
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            4a12891410c15392382d25f5d2c31bbd30e8e2cf42f2c2ce6ec5600982148e21   2021-03-03 17:38:22                         0.02716955
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            6ccc054c90b2e26ba8019e1a70b0db1a3744f958a4772bb7869a3350c8ad2aea   2021-03-03 19:11:53                         0.02914641
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            bb5271a7a6c7c71cf8bb4a0f98a0f96f8d5c83d9883253178af80d1dc4ad9db3   2021-03-06 00:59:14                         0.01177447
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            72f6a6ad2d08b3ba918303ef08456eaadf6aaeb50437ff03dccc5fedf76868b4   2021-03-06 02:08:20                         0.01492768
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            6cf6da239b11050a45a65c93feb57ce1366c8f423ea541bc7c78db5475fd5df1   2021-03-06 08:15:00                         0.01177664
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            6f814cc0ffca207ebb8674de926b40ec79a4252419517a14d96cedeb053fe545   2021-03-06 08:39:45                         0.01489731
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            69b190192a6d04e4fba2dae2a08efee98517e6b6872a043c643ef5e66e6d0a1c   2021-03-06 09:06:03                         0.01177933
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            67eb8752f50f988876ef5218bdb811565dda3c939bfddcd6fcbf29f7d8ffdc68   2021-03-06 14:01:01                         0.01484884
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            5129ed87111e612ea053fcb93db176e58c4abadc3efd782025456443d8530328   2021-03-06 16:01:13                         0.01178285
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            919f78e3a10e44afdbcba94b5815eece58d831cf6466bec29831b682856f0101   2021-03-06 17:00:16                         0.01476032
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            9adf9d320f43f13b5e751b57718bf2672f4f6b573af3e0317908e5d9236c49db   2021-03-06 17:58:29                         0.01410710
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            8a6fcb8bd2d0b7b007fdc5c7705baf888395772036241a129ead6495212b3576   2021-03-06 20:20:51                         0.01179173
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b5eeed83ddd5d3a6598245052da45dc91537ddc267180b6a98997394a706b631   2021-03-06 23:29:20                         0.01179736
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            7734ae059de62e2ed533422407606a7cb810143aea62e5862a5d9001d8eedd29   2021-03-07 00:46:45                         0.01038378
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            53a792062e19e3fb7a622c77428ec53426238f512036a97120a6c7642b413e72   2021-03-07 23:20:10                         0.02976018
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            52718d7ba4bbd29071e2c03d37dfec853caf7c022b8b7ce1a1a5989309e55c29   2021-03-08 11:24:31                         0.02925417
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            57542d1bdcaeaf96da450b673c8464dd50a47bffb7f5fc4a8407224fceaffb81   2021-03-08 12:13:21                         0.02390099
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c658a00febead2fc240e7071439d8cbbff06da5894f0f95705474ba90cf877ef   2021-03-08 12:51:10                         0.02920312
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            0c986716e26617e3cf641618f211d167c365a2fcebab53e8c5e2c2e29d517596   2021-03-08 13:28:26                         0.02858523
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            5a792de97d561b2c26baf13bccebdd44b2dc40e2ed9f3383bbc0842c3b041d19   2021-03-08 14:07:39                         0.02390932
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            ef980623957920044d5759c9160a20130b553905150979f413efe816657d545f   2021-03-08 14:49:42                         0.02391298
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            24d6cb8110851f5abe2104176113b270599241ca2cdfc7b11fd0e4c5a565538c   2021-03-08 16:07:02                         0.02391736
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            ecb76d7d53ad80c031124a6755ced09de4702a690103414c9ceb86bf7cb199c2   2021-03-08 17:18:58                         0.02392284
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            3823985f750958e204375a3446bc47982da80d5c55d841065a525b12039c0a18   2021-03-08 18:52:36                         0.03120095
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            f271400230bfece69498b0697ba14640eee90ae30c866555f820f9f3556ac40d   2021-03-08 19:25:24                         0.02834189
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b8efeb361df010be14f9fac0a9a0a28f693840913b7e0f25106d9cb0c703fa0f   2021-03-08 20:40:41                         0.02051103
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            1b06993ac120e8ae9e2637ed118df5a90ca26bb4dfd90916912bbec3c7224950   2021-03-11 00:09:22                         0.02960225
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            966e0301119802e615dac028cfaffd1d81a27e69587039b2ea0b7750a985430f   2021-03-11 01:07:00                         0.02377976
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            705d42be63dc8685d2ae1c15defa60a8a1f44e33edcd089947de54916196fe11   2021-03-11 03:11:02                         0.02378154
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            509c1e4321c8bf3079598e0706dd6d89f77e350d5c3d2c0df22971a1f18be5b5   2021-03-11 03:53:20                         0.02378353
                              Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 54 of
                                                                    76



                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                            Address To              Cryptocurrency Unit                               Transaction Hash                       Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            5efcdfb4ed3425966e7bdc2e88aa35b002830d38667dc3e00446227f6dcc2823   2021-03-11 12:14:08                         0.03074697
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            7e1388293f97b1da87f120f63bd0f932e4072320b3ab3ca3be3feb878f561da5   2021-03-11 14:40:33                         0.02982585
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            554d0f896f29fada25374a31c4e9bcd0e8045ba2cf6aa73e344547cfc2661be8   2021-03-11 15:56:32                         0.02379165
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            748d070f6318192aa2f28b2437f293a9bc93aca6c1d6d69d9f4fb37f897da36c   2021-03-11 17:11:19                         0.02965072
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            e2e5806df4211949acd063191c1f9810d1121542c617ed134c93c1dc987ddacf   2021-03-11 18:33:35                         0.02380056
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            1c1923837168108bd0fb9725b5e3c391e0339a82774492e3beb20f8346dd8b0b   2021-03-11 22:24:32                         0.02380714
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            782625d9403ceac05a55522c9154d402d22f044369c790dcabacc5be2ec0afd5   2021-03-11 23:15:15                         0.03033879
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            95c52d11718656d12f527eda281071a6ba1eb807cd3ddd163b2c2b15ee8ca118   2021-03-12 00:40:34                         0.02395548
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            85dcbdf242e64bdb745a5a0617654877e543234f5b95b4cd29b951bfc922a529   2021-03-13 21:49:55                         0.01358529
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            2d06f733c007d2e90bf2d9141a47a32a7055b14bbb2c67357cea4db8110dd185   2021-03-13 23:18:17                         0.01093306
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            d9570481740d41c6ac83162f8d4f384d0ecaa1c7910840cb33e5fdf073a0e83f   2021-03-14 00:01:16                         0.01356512
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            5414e691eafb8ef7bacbb78ce49ad0e2cfca2ecca4b8a1cb95e306747174d3dc   2021-03-14 00:31:48                         0.01093541
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            dc9d7783cc22cd0c88e0ff072a40d0c1325546a21794139632c99e5c2f5f8521   2021-03-14 01:27:31                         0.01353373
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            6fad7dfbfa27f7f8b4d5f3c0adf7ebbb686b949d050ed78483d3dbc54c2aa4a9   2021-03-14 02:30:18                         0.01093838
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            0ec82845719b36d367cf024e62d4ffffc239287ae9341599de4c30de049a7ce8   2021-03-14 03:23:18                         0.01094014
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            82a0790bb0a41b70fc3faa8cc26e9f57c92f976973e90317332ebad9c190eb2d   2021-03-14 03:52:58                         0.01385067
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c950bc40b3ed21a688ba953c5431ac2aaf06a8834ce4d85121697ae0313f858c   2021-03-14 05:12:35                         0.01094487
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            507a4bc7d5561949d720c82e01391b48041d822d69ed68b3418a6210c65da1b1   2021-03-14 06:04:08                         0.01364580
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            6a798a90212c6f6f84cfa5f270a3e982d58eddf0138e09afe830da6c8daf9144   2021-03-14 06:48:20                         0.01095362
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            e249986526e0a372dfab76a0444ff9cf12e2012f09f96c41d49173efa30bed0d   2021-03-14 07:22:28                         0.00948502
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            a591e56aa8a064ee22389c1273cd1411f9a711b2470ca29e7ae9ec0b841cc486   2021-03-14 19:08:34                         0.01771901
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            5b948457691c3b8d8a9017797a54c666ca45c40a37ae1d7d2a90a769a73da27e   2021-03-15 22:39:26                         0.07016077
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            9223802f39950e36c34faf72661f663b6cba010a35bac9b922539fc06242afa1   2021-03-16 01:07:52                         0.06551285
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            e67a1469c489ca519ba2ecb005856404bb9d5247ff4d641fc97581b5a84af940   2021-03-16 11:51:11                         0.03364803
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            aaab5f76fbde63288b2c6171f8db214fee1aae2a80cc33ac421e0fce144ccb13   2021-03-16 22:57:42                         0.03728807
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            f1c73436d5acbf601726d1c765f013420b505dd0ac91dadba97ea132c80756f6   2021-03-18 18:48:29                         0.04002790
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            14cc9950d354e09f12a238f8ac507bce985458b4e0ad23e10679b4fc92037c53   2021-03-18 20:16:41                         0.05423943
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            f3c62ec09878ef49abdcff5c659e96c9a630fac54df2eea1e105fd16328f370b   2021-03-19 10:11:13                         0.04824674
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            37c35de2105828af0b5d9da4f1727c1e1e8f03035a0ecc4b31b8eb72ae30288e   2021-03-19 11:22:54                         0.05810182
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c1e0e61c732392a4726fb5af6649675d5357e7b0c513d512fa98f06b0780c1af   2021-03-19 12:06:06                         0.08134963
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            11869a4a3bdf6db6e67856ae4c9c7071da21803a92aae6020fc229b2e775cf79   2021-03-20 11:51:14                         0.00929884
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            3fd71abb5a6ec85e6d4c1312857d55eea70855d0b7377c73292f09c06447e78f   2021-03-20 19:50:37                         0.08067987
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c0a4905618cc577fffc71552ff3fc37c6f58958cf6a9ed3b46379e6ec81ff2cf   2021-03-21 12:10:53                         0.02136557
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            2762207f63b334c684b6cc1cfdb90cbe5acd238467b38493f2dac34f9af1488c   2021-03-21 13:06:50                         0.01278498
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b18b21891016f335f4b812525169ae88f1391e8f0a4425e00fe2bde4048ea55a   2021-03-21 15:26:55                         0.01604078
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            e3eec3964b586e9875286228b5869f1fc20d37f7f12aec1d8a3bfcd23b5772e9   2021-03-21 21:13:25                         0.02406141
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            09c32bfbddef1c7805a9d0622113ade47ad2b40878ca58c329063cc47590d219   2021-03-21 22:55:20                         0.02406151
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            786965f711ba179511a96b30a209cd88354898f4c063b8380da2317012d70de8   2021-03-22 11:18:53                         0.03957923
                              Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 55 of
                                                                    76



                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                            Address To              Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            d91a835bc477890c58ff21d335dcbe00556db229d11b59d8970c25fa8679d9fe   2021-03-22 12:14:18                         0.02406274
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c207e01ac61716cdbe6765dec4d6dbba0963f9d79476ea1b57bfb820c7808eea   2021-03-22 12:42:05                         0.03957975
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            7aec09f4009835cc20b3083f6207dc00f71a88dcf5dde4af6727879026ca81aa   2021-03-22 14:48:52                         0.02615846
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            bc57e5c217a0bb3af3a6e35f63302d134b622a5dd152e00388416e345fe12198   2021-03-22 16:09:32                         0.02638713
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            cbd974ad6c7e261d39e09a0a3070c206feeb47cce63a861ae203c29f57578008   2021-03-22 21:21:32                         0.02869925
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            60ca833de62087ad63326a69392a5eeda05bbce926d29bf9854c8d19cf381091   2021-03-22 23:29:18                         0.03098069
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            3e35735a7f219049dc1225df9d4d067f8a6b3f914723a1bb0f1ece520e230fad   2021-03-23 11:52:35                         0.04502796
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            80fdf6554c892e8dd0525d42ba7ac3e87801ede557c653e1775b40e26d716add   2021-03-23 12:18:11                         0.03958319
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            eeab036ecdeac19ea6ee673aa7423535facf9b104afaf80c06044fb7b49379be   2021-03-23 12:58:47                         0.03958339
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            062f93d23444c7ce967a1a210679752a75e8bf26bc306cb5b905012f0c40a0af   2021-03-23 23:22:19                         0.04213501
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            dbbbf775b0c4ae7782f355bea8e03ef38f0edcd98ae0961ca080159a7542cb09   2021-03-24 09:36:04                         0.04344572
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            11cbe1a3340d984d5334363d7a4517f98c11bba058f69b8487e7446efe6fe8a2   2021-03-24 09:56:23                         0.02902769
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            749ce4e80e0b52b1359c551723f5779e8c53d37e24949f695b5b4a7496164655   2021-03-24 10:19:34                         0.04685814
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            9fda92029c026ccd99eabb8772e1f677d4ded15b0bd6696a65c57fed41894859   2021-03-24 16:16:19                         0.15960252
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            719156434abae09a6ef5dfdeec5185586d9c8afba4c543d921bc71a959afeb81   2021-03-24 16:50:11                         0.19152772
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            d7f364436dcca73f44ac2c5fdca19f9ecd31be700fd9f1ead56d5cb0d357f680   2021-03-24 17:59:51                         0.03258596
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            dbd28ff2b2a1395ee31783c982f869271ba13d9543a6f1fc54a26e81df834146   2021-03-24 23:19:01                         0.02591613
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            6a5f26757ef3e1e7faea0fd9fdfff5d09ecda79050652d820d1f8cd8a22d4849   2021-03-25 09:43:01                         0.02306460
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            50edf733301ba26591255041b3671bdb4e31d056fec237f5b8204028fa66e0fb   2021-03-25 10:36:38                         0.01537741
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            e95a988029e1eafd3240c4070c5320f1593a8aa21cf606a688c7ada85b3b2376   2021-03-25 10:58:57                         0.02591683
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            130f2379012673c9544ed0db0d607b27926a27b04bbfe3ecc7b3d5f801e70ec4   2021-03-25 16:36:46                         0.02591721
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            72427096264036a67c948e1082ce8a8b910fb44e258d8d92108d0fd8e55c0bc1   2021-03-25 17:14:28                         0.02591849
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            a5341744cb4f382e651bcffc566dafd9302220b406780cd74815cfe32fd9926c   2021-03-26 01:34:38                         0.02591918
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            eeff41d710f4fbd4c180b26feabd3faaa9a0e364ea23566b2664b7b92a652be4   2021-03-26 09:25:23                         0.02674877
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            1be0a56ab404883f274017065ae6a9045074e8b079a274154d7cfd8643a7ab9d   2021-03-26 10:14:08                         0.02906385
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            1d4a81c0ee022d9d62489454335b0a90ebb149ca3f0b9006e639a126a988d9ea   2021-03-26 11:11:52                         0.03280456
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            4244c739123a988d012508e9f706db435f0ee42e1c7d7a5eaf8458a97b0a2b08   2021-03-26 12:07:42                         0.02024549
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            12781f57fd5cd8b6b624ceadfdfbfa4fe99322d80695924c3796cefec992bf05   2021-03-26 17:35:45                         0.03531480
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            bc55eab70b407634bde4864cf70101ee7a819bdfa5567b775fcdeedefef86b7e   2021-03-31 21:01:22                         0.14594303
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            664c1a4fa6ae2f36a7fce8bdaf22e416fb3ebd55d2b348665c7dd431fe7dc81c   2021-04-03 15:23:57                         0.03170579
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            fbc75f183bfbec287c350c1e20213ee037a97056da4e09e7329bd0c1d05beb88   2021-04-04 12:13:16                         0.06397237
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            ae4bd8850f1acc705287d7901e418651ff34ec2702226eca126dbf785f91a337   2021-04-04 12:45:12                         0.09399193
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c9eaf965cb76d0d5781975e26f5bef7b9f155df37c1a3606d576afddc4be4159   2021-04-04 13:22:17                         0.09428674
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            63c31a16a90788888c6b282a38df38006b044a92cdbd7223daf4a448a17501f1   2021-04-04 23:50:42                         0.02502423
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            9ac270bc776518d81df96a5ed54be850029f0ee3154e8f8c395fcc2de5234650   2021-04-05 22:36:16                         0.09509955
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c3c03885d055123047a5fe45955b07e4dd6bd1bfd0f02d0e89e7d026a27106ad   2021-04-05 22:55:03                         0.02502649
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            acb10836fdbaf5b41039b4294a75d4e7b234bf6ec6ab37034297d19309917fdc   2021-04-05 23:41:15                         0.09640640
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c62671ae97b7ba87bb0c90f64eac9759d26cb07e9f999ad30f5010641c326d3d   2021-04-06 22:44:48                         0.09738086
                              Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 56 of
                                                                    76



                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                            Address To              Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            73e6161f9bef05f46d0df01b12e781fd2b47bc981b6b45da6e7ddb7121048c2f   2021-04-06 23:56:53                         0.17234203
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            99d3563324a263b0341d6b12ffc5a05f9abe4bf63ad68f2b8301eb665cb9bfe2   2021-04-08 09:13:21                         0.02503042
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            24851fd7e89f48081563ab28f61f464c073bf5b043e2fca305471e5af08186b8   2021-04-08 09:41:17                         0.02503195
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b9955d2e4c44365f61e8132c74aded51a5a275db881360fde49372bef3f7eb23   2021-04-08 10:44:48                         0.02739208
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            bc506b9b72ff634ed74765b01d3a1e776574e0cbad5b090bda10b8b38caefbf6   2021-04-08 10:59:48                         0.21195570
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            7e8c9916eea161af76eb0249106b00700407675019c72bbf6264adab66c497a2   2021-04-08 11:38:18                         0.21195889
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            52d444adad5ab47f203179ebcc0bd313e7e9a81c92c0e7751f7a7079aa86e2e9   2021-04-08 12:47:13                         0.21197679
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            bbd4c149925217b6b0a02fdef36e05f1c38b7411b9f2450ff1f0431aebbda72e   2021-04-08 13:25:28                         0.02122127
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            f633a09d7b87b71caf9f66ca553ae7bcb08b559e74f86f7335388445eb701e09   2021-04-09 08:45:37                         0.06491935
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            5a51bcc2157afe2fdb0f01964f0d489d94c586b6f2d4e2c5029b5ccb8a2b2fe0   2021-04-09 09:31:56                         0.14504574
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b99c57073fe2c64b0d46cfdb2ae35efbb303f7d62ac08634d7279c01d14cab41   2021-04-09 11:41:35                         0.09422281
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            a1b3615d4e1ac789a825c3baf4bd4de4c4532a4ebd07a0469f7839f808120ee7   2021-04-10 20:59:22                         0.09458247
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            0b6fb8221bcfc48f101e9e6095d011ebbfb03f02547ebbd0564f5965b951a691   2021-04-10 21:50:57                         0.09503005
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            1739276a455a6c84230e0b709e7bc0c5971f40ef32d1cd514f3365dc25a444c5   2021-04-11 00:13:27                         0.05132166
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            8d4881e9195fbbd49a10c21ec2cbb7496cefc6bdec17885faa61c9cc4e37e0b6   2021-04-11 01:13:53                         0.05132224
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            bc82e0df06e8e05535e196b7ba9dd6764b645905c00a43991530b1f5fe4173db   2021-04-11 09:39:51                         0.05132246
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            bd021f4cbe159dcb75274912609c024f85843607b7acea63154f0e6caaf5f7bf   2021-04-11 10:13:24                         0.05334038
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b8b7a6a6308853ef27b2b0c3b74a1e3205c9ce5fd1db96754aac766462880e8d   2021-04-11 10:55:01                         0.14123235
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            3455a6106df760ad371fca6dae43e74d76c877e66b5ac8f66db238e4120bfb7f   2021-04-11 21:45:01                         0.05404141
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            e703eb9ff6bf47ee76cca153fe3d9a59c70525dd6024878652b7e905e7747391   2021-04-11 22:51:51                         0.21185361
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            8ec6dce831bd0107832162abfc8f7171c421fb05d987ebc0bac5c98ed1e5876a   2021-04-12 09:11:21                         0.21185554
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            9da20e399f98a62261357d426570d1f801d8818965fceaf2400f97b9eb35aa96   2021-04-12 09:30:50                         0.21186201
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            afe8cbf80e05701feefee0e701e53917d98a268c0357c36f040e97a526a30e1a   2021-04-12 10:28:43                         0.05847410
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c470ac4ee7324311b46506c39162bfe4ee79e40d4327570198333af23a85cfb6   2021-04-12 11:09:55                         0.21189534
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            31905b45304aa7622f12c3ac5575f5e5d379e7aee3dcfafa92615c05f8c4d5b7   2021-04-12 11:26:53                         0.11354342
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            f79b1404e2d7d99687b6fa720b60314105a44dd0fb35cc5db4e0784d7ec3a485   2021-04-13 10:15:52                         0.00290993
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            36e4743789a256e3cde496793afa99e51cf070bca796b69901b980d1c0376be8   2021-04-13 10:35:56                         0.00291000
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            a2f36f8c9492745d117cbafc16d11757bebb07861bac17fb87d2e99e5bd82cb1   2021-04-13 10:51:20                         0.00781243
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            1ea4fcb4a9614362fae1736600c254d601a241e30a45f3740d4a60f6ce7801ac   2021-04-13 11:57:48                         0.02441045
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            93290e07e4416288f507bad090fd76e3fc5e33eaf2889328f877b7469d373a38   2021-04-13 13:26:59                         0.02441112
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b3040b584ab402b4b8b677910faece2038644de10f006b3991ab2ab91e6e3b3c   2021-04-14 10:15:02                         0.07246795
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            a3b628f971ba4934cee076a75940db21630072c312e08fc952f969dfb0fad595   2021-04-14 10:36:12                         0.02441202
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            016f0fad4a852845b4f44f917659a96c60869d5c442949440c3a4022f5d26945   2021-04-14 11:09:04                         0.02441300
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            64d1ae39a4250a66914d4ae928fe5686bbadb31d178d1f619d8b3503bc10d0b6   2021-04-14 11:30:46                         0.00291090
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            067d92c0c273204be402081e62f8eae42b881a66279e3bb6009efa725c6ea18a   2021-04-14 11:57:00                         0.02441516
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            7f7998ec50b0b74a3c816ab4e6fa8d8fc0220a78141f9c049b151e4fd34cc36b   2021-04-14 12:20:12                         0.00291139
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            579af06ae03ef61bf4647456529f88517590cfd51ae0576ee10fc1ee88793ceb   2021-04-14 14:12:39                         0.01627877
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            10057bdc75a88a7075d227d9fd1875b6366f2a0dae5f1fb9a2ca025ef843d4e3   2021-04-15 11:36:08                         0.00541691
                              Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 57 of
                                                                    76



                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                            Address To              Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            cb6dd84672df8b5021cc67bec6dea0212e8cb2b832db1e2d9073224f77404804   2021-04-15 12:13:59                         0.02670152
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            500780b9fab3ce9a5bb6d4939a09d90ce28e9c84247d9f0a716a30fe65f2050e   2021-04-15 12:34:40                         0.01044088
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            1766284cd315c3bf6715de5caafcf27085a81590606d3236801d4f35f6729282   2021-04-15 13:54:44                         0.02852848
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            755532ec4c5376e09d41e04adcf060b0d2753ac10d0705a1e6fe3fc64c835f36   2021-04-15 14:38:01                         0.01757768
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            75d7768aeb5b53507d9c6c5fb559d38a240a663a240fa101e056d217a1af0b09   2021-04-15 16:56:00                         0.02380294
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            1f10b2d485052023980cd74f55fddfc4cc44ad4b8e88e82d456d66a1014a6da0   2021-04-15 22:30:54                         0.14444266
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            c8d77f0ca865ec3c9659e4721c68684e6bacd2f346b270d44d75256b402b9d1e   2021-04-16 12:01:14                         0.05426355
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            905bd45e16488f62e68479ca3f9249ae591fd03845e8c44477b5d811427c911e   2021-04-16 12:37:00                         0.02380569
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            02678c4002c2ad604c3da8688ddfbd734058e799b139949e7b1a4a00c54955ea   2021-04-16 12:51:34                         0.02380849
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            22517182d80c2c8bd3ec7a7283cdca68cb872001810304e69abed81ef6a3a0dd   2021-04-16 17:02:29                         0.02381236
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            0743ed70525167be2122aeb869414244703c1a3fe1787063b2db88bfd905f59f   2021-04-17 10:52:44                         0.02609443
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            80d1eb93f41c3d87c3118dc01eb37c74e8d286b1c4cd98b8cd12fad0f9e36a7e   2021-04-17 12:09:12                         0.02792383
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            7cd5f63825f548e76a8079f15c4e17f2bb46f8c4454bcd1de54389d3686a5a93   2021-04-18 01:57:12                         0.03332717
Binance        1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG          BTC            b5e51fcefb49f0dc7cf23eab0fc847eeeee07770dadd95dfa9b1315d6f6dac13   2021-04-18 10:53:00                         0.11727459
Binance        1AwhgUBg7ew6jcCpiun5zJXDmJMqo38HBh          BTC            78f13861c9e28b064294bd9018bfdb9e0539d865ab6bf8fa5fef3655788a36d2   2021-03-29 22:39:04                         0.00619830
Binance        1AwhgUBg7ew6jcCpiun5zJXDmJMqo38HBh          BTC            764d1a2a1053646a4cb5d48387d2aee55f60d029d8cd736c93f405664d01a20b   2021-04-06 21:14:14                         0.00219284
Binance        1AwhgUBg7ew6jcCpiun5zJXDmJMqo38HBh          BTC            d761b092a8177cb80d6aa743b977442a821aaf8aaeaaca9e3c8e1a674c2c2004   2021-04-11 22:34:08                         0.05070322
Binance        1AwhgUBg7ew6jcCpiun5zJXDmJMqo38HBh          BTC            736c4056d74b8a3b8791f09481b101416b6e3f13d7bd78db471e3e12384e6a8e   2021-05-15 15:27:17                         0.01947627
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            c638aa58173a85fc12068b9c0343951bfdc10e4996eec2457a3e01940ab66300   2021-03-28 22:24:57                         0.01079729
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            e31c32bb9c183c58538cf94477f73179507aa56ef629e8cb377b7b84f6e23fbb   2021-03-28 23:01:50                         0.00463975
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            8f01ca55570b06e3ddf06fa018ffdeb0a3f3e5b949879e253ffccf2b7772b8c7   2021-04-06 14:23:54                         0.00858682
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            6a40cbcf6813d9f1186d92cda7ec8d74295cdba9291fb58803db4b3192ba6ce1   2021-04-06 15:32:18                         0.00223473
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            2cfe3ea4e1883adcd36a773c30f15cde5215a9b54ed50b79119a9a795521e920   2021-04-06 16:48:43                         0.00217806
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            4e413a88823ece072c914cf404fe3263286e578f4a0afcee34ff452c007c9446   2021-06-01 13:06:38                         0.00302491
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            357caf3983c079094fbf977642c94bbd8c81c18db5966dcad43bdc64521066d8   2021-06-25 12:31:23                         0.00659166
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            c71e43f23cc5b2eae357056c99a8cd74ba82d00151bbf4a7edd482532541f08b   2021-08-22 01:47:35                         0.00448537
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            da6cd97eda3abdf4ba24ea85165aae69d4dd877ba2a29f5f3d5f7840f88c08d9   2021-12-12 18:23:51                         0.00542040
Binance        1BdAZqoEcDsDWgDoro3ehAuudZqEMU7bWU          BTC            626456a515a67fa0dfef9534cb55e7ca8542c2c676df73cd86003246218465e7   2021-12-17 15:03:48                         0.05266181
Binance        1BqNAxgppfFTFRTXtiU6FebqR1XDzyNjYN          BTC            b2478ed9f10460dfe74482b36d2836b6d9acf1c9e8abffacd4a92fde60de1e65   2021-05-31 14:02:06                         0.00092674
Binance        1BqNAxgppfFTFRTXtiU6FebqR1XDzyNjYN          BTC            ebac43cac2bb4c7f7d884e998579afbf2320c68ed2b91a768031b294f1715410   2021-06-02 15:46:10                         0.00037965
Binance        1CEvgeHddizVumNdT2V2P9yRgHtQjuMfhM          BTC            bdbf4441fc6206a0c7864c013e6195db7150c0985a901fcdfe7222f738bea8dd   2021-04-27 08:47:01                         0.04244118
Binance        1D3XqcAkcUYz6N3mCLaK2brwPT28wrXCae          BTC            8f76638b7f1f368c6ad3a9da4b4187ff02d15d6b5b482c8d72b502ebca0c317f   2021-11-18 13:32:38                         0.01884894
Binance        1D3XqcAkcUYz6N3mCLaK2brwPT28wrXCae          BTC            7d54a50fd557cd53c707465109c277085376e19e3346f48f992f24701fbcefb5   2021-12-18 12:23:18                         0.02473646
Binance        1DqfMX5dGC1pbPtHE9hb7b9NSe4krJXByH          BTC            2b22f39eccc987a1861368c655b3a0a1f0644a230bc289cbfedab5a7437a7e4f   2021-05-13 14:24:04                         0.58142987
Binance        1Edue8XZCWNoDBNZgnQkCCivDyr9GEo4x6          BTC            a31a24b0e4733cb98f1087e3d4a79ea6ed024171e8a701ae1dc3f6508ffb51c0   2021-02-24 09:50:43                        31.01535275
Binance        1Edue8XZCWNoDBNZgnQkCCivDyr9GEo4x6          BTC            3e37a8ece93f043460a9722dce8753f8c1ba7c2b8fef7e7aa07a4c61b07b60b4   2021-04-05 09:35:22                         0.08468491
Binance        1Edue8XZCWNoDBNZgnQkCCivDyr9GEo4x6          BTC            ccb8b13df44d6f3dd3c578f21b131da2660bb7362da365213635fa86185f9c62   2021-05-11 09:17:00                         0.04574408
Binance        1Fs4QNPYf7Zf7CeJiFmSkTK3kzvENVD5w4          BTC            8a5ec1664cd83eba24862e0c78f0f1dedec78c84bc2e65dd4461ea019b26c005   2021-02-16 02:39:49                         1.39992011
                               Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 58 of
                                                                     76



                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1Fs4QNPYf7Zf7CeJiFmSkTK3kzvENVD5w4          BTC            59a08a43d6ac424dade060926cefd71cd8930dc275c866eabababc18df8970b4   2021-03-27 23:24:57                         0.49996934
Binance        1Fs4QNPYf7Zf7CeJiFmSkTK3kzvENVD5w4          BTC            ce1d42834bcf6f5f83119dc103680548b6768f3892030a8f5300958d51b045f1   2021-03-29 22:39:04                         0.39999020
Binance        1Fs4QNPYf7Zf7CeJiFmSkTK3kzvENVD5w4          BTC            c724883392a1f351834ffc53c65147ac75e382beaadb44d2f25335d79717bc31   2021-05-24 18:55:51                         0.02743932
Binance        1FwAX1yW2szV6gG7YNJvRWY242dokFCrtf          BTC            9cc347b32e2f49a5b732d086bf89173785cf8512ae21187d4ab1a9fe038ed607   2021-04-08 19:21:26                         0.00294509
Binance        1FwAX1yW2szV6gG7YNJvRWY242dokFCrtf          BTC            14effb1de61bf70760c7139fd92ef667799c2a9e29b3ffd6d25344875fec5660   2021-04-14 21:41:19                         0.15113284
Binance        1FwAX1yW2szV6gG7YNJvRWY242dokFCrtf          BTC            b56dcd4af56cc56e12c4885716baa37b576dce956f8ba9cfb7c273c53b6be952   2021-04-14 22:13:51                         0.12341867
Binance        1FwAX1yW2szV6gG7YNJvRWY242dokFCrtf          BTC            1101f765236f212a91d806781c21c46b0745ac0b541b497b80c673b404131956   2021-04-15 20:28:02                         0.09182970
Binance        1FwAX1yW2szV6gG7YNJvRWY242dokFCrtf          BTC            a2db6b794b3df3fda222d7f9eb5731339fa46894e2b30388dcc2d7e26dd5a0f4   2021-05-25 16:42:56                         0.25724852
Binance        1H23VQRYDYvTeov3CVEJopy4JdtzXzdeEa          BTC            0f247b5af611d7c5be4ab575888bef2a412043b3fb39555ad0cfdeef031193ec   2021-05-17 04:23:19                         0.05699151
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            1ba3c1fe18b21c45022670a028d2b827e23defdc35dd811b9af98f4ffa02ee7d   2021-03-26 21:30:05                         0.00453100
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            5f8f18b074b8a7eb13bd5135a748c78683f94a5eeeeb6058110c67ebaf65873d   2021-03-28 05:53:47                         0.09329742
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            3a43b387f4021b51a72f0c10ae570d764a85cc0d7bf6a79ab3dc0127a9afff6c   2021-03-28 07:14:45                         0.07365476
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            3b6125eb9e7cfefd37f2bddca146039567f1289cff91b7fd79ceab47cff8ae32   2021-03-29 18:33:18                         0.23665197
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            42572e7a8e50ee02252b1e8d7e5f0e5cf9f0feca7ad43cf1df7879d092e182e0   2021-05-07 14:58:53                         0.00369815
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            8ddb9fe0b65e1025e779e00435455c0219a22712851e833a0b9d02593a9fc86c   2021-05-09 05:28:18                         0.00926328
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            dee85775f8e1ef6c53fb7e3b2929c56881ca80c882b10a75b42d2009f0a9f82c   2021-05-13 20:44:55                         0.00205650
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            9dc0f7122d41ff1f470a86d43f2793865d0ae97913c2003b5f2deec135a6ef5e   2021-05-21 23:13:00                         0.00219035
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            52b97c2dbb1229fb924681b8826ffc6deb811dec45d28b3a787edc291e5db748   2021-06-08 16:12:12                         0.00447868
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            d360c1a4af52f6ffbf235fd66b5ee0b3b73d5a8f70cbaddfd08ab9fdde9a54c9   2021-07-19 03:03:36                         0.01414069
Binance        1HDWAto9mD4vwZkxE7RZ4nxvgYcA5vJQpG          BTC            61bb3f53ff92e5532402424367c3c8a15a32503e6435730a46a87b7ce6e20d4b   2021-08-29 08:30:48                         0.00360940
Binance        1HVj6JWaAqu6JSjhQeq9YpG8kRCAywY8nk          BTC            52756db7712a569ac82cd5ed62637eeeb234de79066a58831b36c521f72a12ed   2021-05-12 14:10:25                         0.62037124
Binance        1HVj6JWaAqu6JSjhQeq9YpG8kRCAywY8nk          BTC            a4406892221c1d005c6fde1c833f79977ba234b9b6c3fb99c1e380f7732df59f   2021-05-21 23:13:00                         0.16443056
Binance        1HjCsxkyJBbRSZU7fqpUczz96wK1JP7eES          BTC            42065119403594a4b4c15a2853c5d238ffdf751efda5231b74f3bf8e7ac57be3   2021-07-14 21:01:58                         0.04953150
Binance        1J9UZvdFP5betiX2oFkeHBcDjVXD8ceFPV          BTC            f3f78aaf4ba2b3c9ffdb40e5423535dd647b38adb3800f8178f2d686d87d44a5   2021-03-27 14:28:50                         0.59999651
Binance        1J9UZvdFP5betiX2oFkeHBcDjVXD8ceFPV          BTC            5522e9d587ada60ca9d187abb975090aaa66eca1787ede5c0d87fedbb49c3ec1   2021-03-28 14:03:22                         0.70461396
Binance        1J9UZvdFP5betiX2oFkeHBcDjVXD8ceFPV          BTC            76dbfe70571127d0d9a8edc5e0986abcf774a252cf2da025a0fb7dd340ecbfd2   2021-04-04 16:52:51                         0.01168993
Binance        1J9UZvdFP5betiX2oFkeHBcDjVXD8ceFPV          BTC            0e9976591f938d216f83c3739774ac6ab7c645fd3809bd9259b6d926829d34fc   2021-04-06 16:00:31                         0.01378627
Binance        1J9UZvdFP5betiX2oFkeHBcDjVXD8ceFPV          BTC            9141a8dee160af1a3395e88f10e80d68fbe5bbb4e148df618f5db82f7ac4e2f9   2021-05-03 22:36:38                         0.00281715
Binance        1JTDfmnMJPUSE5iHM5tfvbWC8wGkiqJhsF          BTC            9193c2bbac90cd34d12f0afa6d6c049f770ee927d47a3edc6c14af9fede2c108   2021-11-07 04:00:12                         0.26883754
Binance        1JTDfmnMJPUSE5iHM5tfvbWC8wGkiqJhsF          BTC            acb7529b9e84be29a97781604fe24e40727f1f9484da2f348d12a2a91371a6e1   2021-11-08 04:58:31                         0.38703791
Binance        1JTDfmnMJPUSE5iHM5tfvbWC8wGkiqJhsF          BTC            11cf89266a451669fac79aad90a420564b783844382d42bc2883b0d793ad0283   2021-11-08 05:09:29                         0.31158556
Binance        1JTDfmnMJPUSE5iHM5tfvbWC8wGkiqJhsF          BTC            d05d6e9a8a077d7ca594ea15c5dfdfa65afc696528b53da7b52a9ff2fb657529   2021-11-09 06:15:02                         0.03116660
Binance        1JTDfmnMJPUSE5iHM5tfvbWC8wGkiqJhsF          BTC            2870a700a97a1cb6ffb091076302e30a18f95389dc393c573e21f18b2277bb40   2021-11-11 18:21:08                         0.01049364
Binance        1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY          BTC            90e855a470e25d0fbafb7f3438985c697b59d6a6ee304efd78032aac8d9d11c1   2021-05-20 10:28:47                         0.02172266
Binance        1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY          BTC            60547fb136001b99f17ba17c41acd9b9165c4ecf43c921ce446163041ef7d8cd   2021-06-16 07:36:10                         0.00274551
Binance        1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY          BTC            a902ec52cc4dce61214d2ca6c10ea801cb1fe73eecddbc905881f769bd4f24fe   2021-06-25 06:53:28                         0.01351074
Binance        1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY          BTC            ec43597cf816d0c31de55689bae957a18b9c8a3a6480338f0122c8d496f67f30   2021-06-29 07:08:31                         0.01320786
Binance        1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY          BTC            d0c231a9f45f0b051f422ea57fea2c8dbd925795d95fe63f5cf6dedef37fc515   2021-07-03 01:53:24                         0.03278538
                               Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 59 of
                                                                     76



                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
Binance        1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY          BTC            1aade96fa98e4512539755d6214ce228008db732a1494f119a1c1d13b9e836ec   2021-07-14 16:55:49                         0.14796826
Binance        1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY          BTC            00b192737684e53cb7f129d423b0ea0928b64c9367169a82a3221d68cf2b7736   2021-07-26 05:21:29                         0.00251823
Binance        1JgGfc3TP12kWjA3N2Jpgp2faTVNw6r9FY          BTC            58cfe7919d094958c8c069c8c17bc3b2dce193b535139eb246154d6c00ce8e2c   2021-07-31 02:01:07                         0.00617523
Binance        1KKFohFF6yBZhqqfKfMrwPUDE2BwTGU2N9          BTC            1c6b17a2227527c812bae86f3c525f2fa03aa9999b079d7b5c12922935265606   2021-05-15 07:20:35                         0.05755191
Binance        1L4ncif9hh9TnUveqWq77HfWWt6CJWtrnb          BTC            d4f59563dedded7d440277b856bcfabd33dc90bb220838e21cb657619b81fb70   2021-06-22 09:11:17                         1.02996683
Binance        1LArmCe82visDjDeKXq3xxCWGmFMW8f3Sz          BTC            69d3516763b34723d724a5ae8708dd9ea2b680315381d70eb883cb2fe21aacfe   2021-07-06 09:22:06                         0.79904496
Binance        1LL4DoZP9vfEsw4VRqvx4M9CcE2qWFKYph          BTC            718a1e8df7e2c67a6a97768fd84249fe29bb5be45624a0e9d2bcfbff7aac7fde   2022-03-27 04:08:58                         0.01657129
Binance        1LmFmScFggjDak4JBZqJsxhAykRwYtkTFv          BTC            b8873883a5812a944ff49fefc16de853b33ec3980ac7c31e24195f61783e54ca   2021-03-27 10:21:37                         0.00203493
Binance        1LmFmScFggjDak4JBZqJsxhAykRwYtkTFv          BTC            06022cf820b56251f02c7adc524e68626be706c4cdb3bbddf3d5794c65b155bf   2021-04-04 11:22:12                         0.01834741
Binance        1LmFmScFggjDak4JBZqJsxhAykRwYtkTFv          BTC            718e1d4aa237a748003820ce72d1ed811d770580dc37e6ea62a8ab8e47f9d8e0   2021-04-05 05:46:37                         0.33661981
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            4e22c03571bdd9d6513833299df521bed106aa0e091d85eadfc3f271eb244797   2021-04-27 18:07:07                         0.07738889
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            d34650a1a45e3ad60ec4882fb6d2514bcc54ad468ea5d8ebcdd1eafc963199e9   2021-04-28 16:08:02                         0.09785386
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            fedd2f7690c719f94ebcec3a2193cb3db5602157eac7b708898252bf382799a6   2021-04-29 06:26:08                         0.06599198
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            def6fe699273fcb11d0d155df580f57bd3e17acff86e228a1d84c4d871ad4507   2021-05-01 16:18:20                         0.01576395
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            e82ac5bbdad15a15f1c1b55010b9d395f4263221100d283900fd9bc4a6551363   2021-05-04 05:12:55                         0.00450549
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            3cd560d118a36dd34685e119c0e4b64b110a3a6807d31fa4ee07b74c6cd584e2   2021-05-04 12:07:55                         0.15780868
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            b05b1a551e77c9d5763fb1de0fc28fc5ebad8c6d5329824a0d89e76aab4085d8   2021-05-04 14:01:22                         0.00231821
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            7e09c6b2f3a449ae13bc0969c99040899bcdbccf1eece856db00dab2e087548b   2021-05-04 22:14:43                         0.02450416
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            361e80e6b6669beebe8e2c753b739ead76d6a258a3b8cfee0747c1153617741c   2021-05-21 08:21:57                         0.00355832
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            91c074819cff4fcdf3b6ded25655f4f1bb714d2b39d52bcf947e59d3c4c6a78d   2021-05-24 12:11:27                         0.05447642
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            e0e70c361e7a0d89f45ad2a737346e38ad7744b73dd052c955b49680dd80f4c8   2021-05-27 20:10:53                         0.03096695
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            1cea1b169e40eaf7f8d65d35c802661ed70d7b94c1bde9da56a3ff13ac78feb4   2021-06-08 11:32:34                         0.00363226
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            bdb765239ec7171d34b258fbe9dabf1f08302aba023764333f12e066df30806f   2021-06-09 22:51:23                         0.00029478
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            5e472df2fc9931813da82bc600099809bb46b27237e10b801c5dfc9810418287   2021-06-10 03:23:43                         0.02803693
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            fe2c6712a2d77c03210ee4d8c62fcc8e49872f310a1e04ca22e61cafcec17431   2021-06-13 00:14:01                         0.00285859
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            9e270ddfb3353f47b28a30a99bbf3562067cdeac601ee3ead0c2dbd77340d4ab   2021-06-14 04:05:16                         0.00236817
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            1da7a7a9a79cddd806d8910afc890c90e9741491c3bb791331bd4213b64d4340   2021-06-17 12:18:20                         0.00402315
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            4cc9c771428d0f6af280d81bd9fb03d7dbc6a1b434d5b200498b31ddf2d0784a   2021-06-23 22:04:29                         0.21136114
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            d9694e9cd64a24c4a8c859d5baeae39d92e48d6ce0f80d77784c4f8c7f6755ba   2021-06-24 00:12:19                         0.09302711
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            a9ec1720bed7bc560cedfbfc26593583f33134b967092a4f5c7e24ccf0bd8440   2021-07-16 03:44:38                         0.00787251
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            f8968626606d6d1b724bbaade393422a796d8fcb364bf8788053f2aee2039763   2021-07-16 03:47:07                         0.00353970
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            677b65cbebfa3c19a9560d319bb882d32b1df5f4afad6682195bf5dcef225c46   2021-07-26 14:40:36                         0.02845147
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            9903f6a69c48478723371346b02b2981715d3c11f71d5d22fd227508963d12b4   2021-07-27 19:04:59                         0.02960781
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            1101c5cec218d9bcab7687c17b5acc28599c268b2deb2f1cfa4965562cfc2b1c   2021-07-29 18:18:39                         0.00619967
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            25c21f0dd3319c0f7eba59007f7d5a86fe39d65cb2e37b34419c2e533d88c0aa   2021-07-29 18:22:58                         0.00573105
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            576ded5c52d895c1ff550f5867ea5005db2385c4f60f8fba814cd70c91a4a558   2021-07-30 18:11:13                         0.05763398
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            a59fadf8bf2da9af186f3bd4276a6380a911bb75af17a5987c0074ae6390de0b   2021-08-02 03:40:37                         0.12302367
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s          BTC            bed946ae0e7975a59a9c42f4c9e6d61a6cb3274e626623de92a441974b34e710   2021-08-15 14:10:24                         0.01071602
                                   Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 60 of
                                                                         76



                                                                                                                                                                                         Funds under claim
   Owner                                                                                                                                                                          (average confirmed with the five
                                 Address To                        Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                                          tracing methodologies;
                                                                                                                                                                                       in cryptocurrency unit)
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            f1c7b73cdf4f34d8679f847f022ea843ba12995cfc4684babc655d902f2ab2ba   2021-08-16 15:03:07                         0.01397890
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            7e7685441f925cd7c5891b19398042f64b82b16a514028b6e3b2fc9cdcaf9115   2021-08-16 20:11:06                         0.01776140
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            6d7ffdded8829c30af2928023c689b7f74c4329c0041f621e36835edec14e206   2021-08-18 02:05:39                         0.00643678
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            a683186d39f041288dac4ab109d0edb19d5cd4baccf5158fb56e129399ba2f53   2021-09-02 20:42:33                         0.15524540
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            1343877c93ca18a2313a5f90996021b103008ab9b366efc9b4210f1fc95f78db   2021-09-07 20:01:42                         0.00218490
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            910fb9b3bda205bd3667ec7817f2c59b0352faea308ddd4e843e73827d3493ad   2021-09-20 04:08:31                         0.00229452
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            e4750405c044456c45b2f99be0dce2647c947b3312abffa468722c9468dc7972   2021-10-04 14:06:00                         0.00598533
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            e64992552ed8be506e9610e47c5253a6c6755dc8699fc706b9e02e2cc501ea33   2021-10-16 20:01:33                         0.01292629
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            ed000427b2913dabab9f45bb1998404958e997a859790d64c406d8bc3bc6db21   2021-10-20 10:17:23                         0.00943248
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            efe1c017f4b8bbe5bed96785611dd425c94cb3d9b9fc950ff9202eb49f1b3ddc   2021-11-04 18:07:12                         0.00750975
Binance        1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                         BTC            da5e57d5ef77e59c983706d9c95201cb2cf3f72999a30b4d0e1c441447c8175a   2021-11-09 16:44:29                         0.00679792
Binance        1NNC1t8quVLQz9dn2ZGQqZAsZV5dFEYEPe                         BTC            77e436211ffdb0c69c387e0a10b479dc79d42f0879e70a298f4d76f4f01ad68b   2021-03-29 17:52:04                         0.05582116
Binance        1NkFXyXcaYKqnuc3EC5JB1CnvHjQYH1x5                          BTC            6399fe78db5dd5e6dd0980cd87e03ecb9f0f6c3b6926e4d3e5590acf9a000e71   2021-05-01 21:59:47                         0.43064220
Binance        1NkFXyXcaYKqnuc3EC5JB1CnvHjQYH1x5                          BTC            ab8a123a9525d46a4fc51088bfe137ce85d950e2ff0f41b087957fdec06ec9ab   2021-10-20 16:37:20                         0.06932714
Binance        1NkFXyXcaYKqnuc3EC5JB1CnvHjQYH1x5                          BTC            472bd78668d56a1c267630076967cd84b6a7f465f83b11bf09ef64d38bc399e4   2021-10-20 16:37:20                         0.00796355
Binance        1P1LCMr7U6jxf1Mx2XYTRPQzRSsvjZcTc                          BTC            2e8d9a4339e1a773c29b3eb23038c8022f66715bdcdc8e123da05830b9328efc   2021-05-01 09:50:27                         0.13953806
Binance        1P1LCMr7U6jxf1Mx2XYTRPQzRSsvjZcTc                          BTC            56c1528b62e5cc52b3cbe1128fcc676cc0b40aed08ff7d3c8a58507abc1d6800   2021-05-01 23:27:38                         0.11054845
Binance        1P1LCMr7U6jxf1Mx2XYTRPQzRSsvjZcTc                          BTC            aff3f6c386748e3b4bc1c1edeea0f23d74dbd11cf44f15aa9cf78545e933b5d8   2021-05-04 16:32:35                         0.09519541
Binance        1XYEAuFfgrwzLbQvUKfJNZmwrqguXsnmd                          BTC            a3dd5b4fcf4867cec6cb60a84e28b34f2d84933b1a2ffafd978f96463f162914   2022-03-28 10:19:50                         0.46256888
Binance        bc1q0lfwx3d7hnuttnmn8mzcegjda4avmq8sdxujey                 BTC            718a1e8df7e2c67a6a97768fd84249fe29bb5be45624a0e9d2bcfbff7aac7fde   2022-03-27 04:08:58                         0.05800039
Binance        bc1q5ewee3tn53kqapqhn4c2r652lpv5llvud0r40m                 BTC            bfdcbc8528a2105214429ce1c1a31296f1d6e4c3689ad9128cd83807f343baa1   2021-05-26 11:09:01                         0.79992927
Binance        bc1qhjja98qwyf8lhw480u7aq2je7vhstluvz3cqzn                 BTC            41676ac91ecdf06e73a40d4de928fa55f5370b4f5bdc6f396d03a59114fa170f   2021-05-12 13:09:23                         0.31639317
Binance        bc1qhjja98qwyf8lhw480u7aq2je7vhstluvz3cqzn                 BTC            cbd1edb1a27ca1a95f16899ec3ae405b17460d91c43fa28188911e1413ebd0a9   2021-05-12 13:14:01                         0.28130160
Binance        bc1qhnhh3j2fxn9fu5vcuqly4ntc39wzsq3yp8476f                 BTC            e50daacfadbf1ecdf4cd8de81874f1126cee0e95b5e5b5cf329f36d791e4f665   2021-05-07 23:22:42                         0.00430538
Binance        bc1qhnhh3j2fxn9fu5vcuqly4ntc39wzsq3yp8476f                 BTC            12c7f2a5368b497827ddd7901c8053d4d32211be104b5db6ba4e01e854225374   2021-06-15 16:42:36                         0.00678170
Binance        bc1qhnhh3j2fxn9fu5vcuqly4ntc39wzsq3yp8476f                 BTC            3dae7fa018cac4629e99fedbedbdeaeebbbfe06a02a0c8a0654c2abab05d1daa   2021-06-22 21:39:02                         0.00359432
Binance        bc1qmazmlmkyl3995l3qw49uya2k97wjcrmumwg8ct                 BTC            8911ac58aa3ae83b356461298ec64bcd70b5f78c3703b3121c2a647c13740a6e   2021-04-21 08:31:08                         0.02788380
Binance        bc1qt73y0anphywgrf570twd0htekatr435d9xf5mt                 BTC            e34f5d750eca9f417b909782f274502144da34c64c2c8bef957d14d608e5e73b   2021-04-19 18:22:10                         3.58410164
Binance        bc1qvw0876ldh6mfcmdv25xu9xqmfzth76lawkxhyd                 BTC            981634852f4d7720549eb677523ee91bf2a39528509e930c174a568e44ee9ae7   2021-04-25 14:54:33                         0.05699151
Bit-x.com      bc1qpq00d2yg848ljcsypg0p7jj5gttap9l4attpjw56rzn93          BTC            5ace7138defdb516c7f8bd91300cc9ab55771410d240f213056c4f809e021c60   2021-04-08 02:56:14                         0.09098950
Bit-x.com      bc1qpq00d2yg848ljcsypg0p7jj5gttap9l4attpjw56rzn93          BTC            7772b328c80f80cfa6a13a9c617351c55123a4aa63ea41ae680da48d232e3dcb   2021-04-08 04:44:27                         0.00242830
Bitfinex.com   bc1qfvejaeuq8pef8dph9v2zgg0qndszxjvnupk74r                 BTC            1d3d334eee67bef098aed76dfd3775b012a7788a91f1bb9bda8163514c08ec66   2021-06-22 19:11:02                         0.92952956
Bitfinex.com   bc1qfvejaeuq8pef8dph9v2zgg0qndszxjvnupk74r                 BTC            8ed89de66adea5419d3c6040b51e5a34f4e837b72fcfa8134d1cf3391ca0815c   2021-06-24 18:21:31                         0.07619770
Bitfinex.com   bc1qfvejaeuq8pef8dph9v2zgg0qndszxjvnupk74r                 BTC            fd06f8f43b724e84e9c22e9c971afd1895a36760d0734b1c3f9db7504190252b   2021-08-24 18:07:51                         0.11945304
Bitfinex.com   bc1qnfd26kl2l9kyezchn9xa82k3nnyla2ascdzuwh                 BTC            0038498013696653372df0aee7b0a845c9cd10d5fcc1ef7ada3cb3b4de582ffc   2021-06-19 19:37:37                         0.04394173
Bitstamp.net   37VWXtmckaPrKaeARcRvToJsEWLxeQYutd                         BTC            a57618664f4800c4c5d5dcb92fa3f8dbacdb00a2f4d4d15adb15241a07062d41   2021-03-12 15:04:26                         0.09649985
Bitstamp.net   37VWXtmckaPrKaeARcRvToJsEWLxeQYutd                         BTC            1bcd3f2c1795ca747173b86ae926344f061f65b349bd0a60195c3af65b4d84e4   2021-05-06 16:41:07                         0.04675604
Bitstamp.net   3QgTU5fwPWHMNkbx4fhwU9MgPzPbrYnXqY                         BTC            9c87cce7e99e95522a8e28b5c63cab1fa293353ffd8e9497bdafafeae25650ab   2021-03-08 04:10:29                         0.01556411
                                 Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 61 of
                                                                       76



                                                                                                                                                                                  Funds under claim
   Owner                                                                                                                                                                   (average confirmed with the five
                                Address To                  Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                                   tracing methodologies;
                                                                                                                                                                                in cryptocurrency unit)
Bitstamp.net   3QgTU5fwPWHMNkbx4fhwU9MgPzPbrYnXqY                  BTC            8a488ceb30b974f673ec7883f2855ef71fc5cb238f54c4541d15ede1100887a4   2021-04-27 04:01:46                         0.13900212
Bitstamp.net   3QgTU5fwPWHMNkbx4fhwU9MgPzPbrYnXqY                  BTC            512272e49ce2897b3da12363c6e06b36bd6ebfb7036fffca547ce76bcb781952   2021-04-27 10:10:37                         0.44955517
Bitstamp.net   3QgTU5fwPWHMNkbx4fhwU9MgPzPbrYnXqY                  BTC            4c07b5747f83768b64cc144ce30575ec3994a825465cd9f07cca9c017a9b39cb   2021-04-27 13:53:39                         0.00471650
Bitstamp.net   3QgTU5fwPWHMNkbx4fhwU9MgPzPbrYnXqY                  BTC            893e6fb0295baa10f1fa40d2739634bcd86da8c3a31a1756024e495df1dd4e2b   2021-07-25 06:15:20                         0.00434547
Bybit          18Wn4PdYZXrrxyMdZvMofyLfNKWVtCZviM                  BTC            6bf2cbc9e98590670006a9b4a5587cd15bbb46e52f9c4998bbed747172b6feec   2021-03-24 16:16:19                         0.03745606
Bybit          1DEBVQ1bVgvMXFmrTHi7AWSCaQGBCm55NB                  BTC            fc03f41ba4a3e61ebc9f64c6ebe40a4ad02b84054b098ce98d646af442cf912a   2021-03-10 21:06:18                         0.02049021
Bybit          1DEBVQ1bVgvMXFmrTHi7AWSCaQGBCm55NB                  BTC            4aef3f09192a20d49a596053e3543ca5d4448838805237343dc0fe2ecbebfde4   2021-03-31 18:03:12                         0.02663377
Bybit          1DEBVQ1bVgvMXFmrTHi7AWSCaQGBCm55NB                  BTC            94573ffc37056c543e82659998a5022c85554451da3ce4846d8a5d6b990aacc7   2021-04-06 18:01:50                         0.03027401
Bybit          1DEBVQ1bVgvMXFmrTHi7AWSCaQGBCm55NB                  BTC            879e1b5fc82dcc83218df76f10ff8611dd64f93ec0574260794a88c12b1ab686   2021-04-06 18:27:47                         0.03259911
Bybit          1DEBVQ1bVgvMXFmrTHi7AWSCaQGBCm55NB                  BTC            c85a3c15c482a980a80405b6f8d745fb40ce5dc83606a9339a27f1a9552ec1b0   2021-04-06 19:10:10                         0.41628275
Bybit          1Etc4GPZbe7iXY7y5zqpA3gRhGqSLBGXt1                  BTC            d0a118890f4d51014842491fd88eef92aac8efd0417909cea0b6db28d0b1b765   2021-06-11 08:34:44                         0.79992927
Bybit          1Etc4GPZbe7iXY7y5zqpA3gRhGqSLBGXt1                  BTC            0a9f76979eabbbe656fc65a1aa703cdaa12632aaf325d06ebca9be8f53977111   2021-06-11 08:40:16                         0.79992927
Bybit          1K2NLvcHwup8FbGiUVdRWefKxnTCLd8t5n                  BTC            476754a00a6ffb63b9f070af88a89812eb2c2c1b36653a411c1774d24f238091   2021-03-25 20:04:03                         0.90420114
Coinbase       35MkdfL2CZidgvq3HsZQ1PLWdo1znuMMF8                  BTC            7e5aef08d0a60bc9a095bf76908457b20d51d13c257af414e12216a7e47c74ac   2021-06-01 09:10:51                         0.00206339
Coinbase       35yxnumGu23y5FYnRLssntZ86nUQZqkuCY                  BTC            8911ac58aa3ae83b356461298ec64bcd70b5f78c3703b3121c2a647c13740a6e   2021-04-21 08:31:08                         0.01937410
Coinbase       3H332gtSHCYnUDuzVnzPNZu9V5jxhf6HX9                  BTC            88410d37b5b3bda9597a995caf501f5f16ffc9b736234bb0012b953df53dff56   2021-06-13 10:54:59                         0.00040478
Crypto.com     39cUnKwrRCPF7NqSRiAwF6x5Mk6nWywMDg                  BTC            82eb001dfe6a3e4e5018aac935c7034289cce30140eea369959356d4ffa14d2e   2021-05-14 18:13:53                         0.00200474
Crypto.com     39cUnKwrRCPF7NqSRiAwF6x5Mk6nWywMDg                  BTC            0b9a79b1c0d56d2979d29cfdeab91bfc84e67e6c25390918eb772d16840678da   2021-06-20 10:23:50                         0.01240189
Crypto.com     3CXDfdypUbQdu14NhhAfWerRcsifL8cTGk                  BTC            8b5b8611bc4675377e72fc2076f765feec72e17a12e46bc7102d146c19f81673   2021-03-30 03:16:23                         0.02965372
FTX            3Aqx9j4V3hipZdCEkM5RaEoYbo8CvmKmrP                  BTC            025f3c1e31c93bb9f145047d5b0d0c1fdf1e975d0a79afc9ca707f4b049c346c   2022-03-27 12:26:43                         0.01594793
FTX            3Aqx9j4V3hipZdCEkM5RaEoYbo8CvmKmrP                  BTC            0c43f65e010ea54d414eed0f35dcad91f447a4ebb8ffbdc9dc711655acbbc271   2022-03-27 12:39:23                         0.01014591
FTX            3Aqx9j4V3hipZdCEkM5RaEoYbo8CvmKmrP                  BTC            036f2605f0e51a98df63d10a31966c6b024bc38e0ac31ec0bf2d1037be492095   2022-03-27 17:22:49                         0.05389263
FTX            3LmNPNQRWt74qvVrsFZerUcSpkH4UZg5sA                  BTC            7f2453eb42f121aa29c74e422cb412caa0aceb4bc139f7703a99882867d70f13   2022-01-06 15:48:14                         0.00743974
FTX            3LmNPNQRWt74qvVrsFZerUcSpkH4UZg5sA                  BTC            cb36db77220aaf3e872899c60abc1d319f2b1580ccad70bc1f14543b68ef241e   2022-03-26 18:27:57                         2.14382194
FTX            3LmNPNQRWt74qvVrsFZerUcSpkH4UZg5sA                  BTC            7a31122829895b6240d673385414af3aac83c339b6866b578664bafffc9f588d   2022-03-29 05:47:59                         0.05437416
FTX            3Lvr7473mA8fiJzpc6qf4oS7nAtGPTJ8ZA                  BTC            1988291a78b4da392634c665142ffc51cf0779a6f8651d21536c33daf839e343   2022-03-25 13:51:03                         0.19399382
Gemini         bc1qg3z6gv0gyn2pw3ktnr9h4ehfzcexdxq0yy8plc          BTC            757e9488b44b4042f7285d0161194cd51426a99e248d2eeb188968000bed08ee   2021-04-07 16:14:27                         0.02888805
Gemini         bc1ql8c2rgv2qpa25cc77usap7lvsvms6tgyv6smxk          BTC            07c9a3e24f5bebb9df8e1677d04269c5ab4ca8f8357d6c77aa4fd5b2fcc5e7fb   2021-03-10 01:12:35                         0.49952726
Gemini         bc1ql8c2rgv2qpa25cc77usap7lvsvms6tgyv6smxk          BTC            66ce6e97445d9b991b2563bc0ba6908bd88f771228bf15f75d76b8a95b16c53a   2021-03-15 01:49:36                         1.41829825
Gemini         bc1ql8c2rgv2qpa25cc77usap7lvsvms6tgyv6smxk          BTC            51a299813e5afe3eced3989e378adb75b861ff2767532bfa3de40dc29fecdd52   2021-03-30 05:38:04                         0.10750110
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                  BTC            f705742b6d6001725c2aa7e938ab53bcd772e693e553404eef81306261764625   2021-05-11 09:43:18                         0.00203789
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                  BTC            e0b6bd04e0899d7e28c1d9b64cbb954407c9ed23394e6796f8d8c778c9cff9f0   2021-05-12 23:52:44                         0.00218700
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                  BTC            71a3154a19ce076b8cfac72a4cdaf503e68bf4a9817950aa30152c4a33adfa6c   2021-06-03 19:48:39                         0.00992896
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                  BTC            4c5cf2bcc70edfaca128d9fc8d55a8d52fcbf0d5cfb971b9686a5ec24e17cdd2   2021-06-07 23:49:16                         0.00474785
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                  BTC            c41c81857f2f0a962a4c879ce214c61861f266b5e170b91553a9b2f47dcc55f3   2021-06-08 23:26:25                         0.49170189
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                  BTC            1d8c3eec4138065faae5ddedc96285466b570d5abad675ae503b8154b5671fa3   2021-08-14 07:33:40                         0.04396490
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                  BTC            89ab445cc7eb32c4a96df51c5af67101f9c41e04202ccc66c3a0e4dcfef38619   2021-09-08 08:21:18                         0.00202197
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1                  BTC            1171b6b2f6778b8b77627624b20249a44419ae9a11ddbbbb3f4400bbd2cbecc8   2021-10-12 04:40:18                         0.00750975
                               Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 62 of
                                                                     76



                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                           (average confirmed with the five
                             Address To             Cryptocurrency Unit                               Transaction Hash                       Transfer Date (UTC)
(Address To)                                                                                                                                                           tracing methodologies;
                                                                                                                                                                        in cryptocurrency unit)
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1          BTC            74dd68c0e621497ba640dc9a0ad17d9157f64d3b9304278aea6e312e449e2a64   2021-12-03 20:50:31                         0.01079987
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1          BTC            18be9cad91885dd5646be9298aabf8fdd3e8f6b4779de400e96994d2ddae40be   2021-12-31 11:41:10                         0.00299774
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1          BTC            d873349852d540e14a427421133f436b06183bc1c91f0a2d90cee9d3784f8474   2022-01-25 14:23:39                         0.01148853
HitBtc.com     1EEqRvnS7XqMoXDcaGL7bLS3hzZi1qUZm1          BTC            4e60eeb301fdaa6536995ef00c3c0b09fd34a6ff17a3a044d57c8c8258c402ac   2022-03-03 08:58:50                         0.00833826
HitBtc.com     35MiwdASDkgFqUa3YQfHFucggwNYjrBjeG          BTC            494026f8a2840edbd0a7fdbe6f2a74a4d137421fe67f8e9985f156479f367543   2021-02-28 13:02:44                         0.32627438
HitBtc.com     3HVfPsMegSmX1PwUcmvRyqCrXng4tQpbzX          BTC            fbd045001201d8f0d836a16346d8fa557e384f6a78f85aba009cec0e259702f6   2021-04-08 05:52:57                         0.06061241
HitBtc.com     3HxnoQXVhPXeZyqgmTRnV4pDJaZME4k1ZC          BTC            750ef88f2fd3e523524bd67a0915dbb10e2ac07302cbbb6ccc8336ba835ff046   2021-02-28 13:13:01                         0.15456499
HitBtc.com     3JSc8fYRWsn6qAq7UnZE8Q9vm2aE5Whg1b          BTC            5322d48a2593f5f31bb62fe68f10b920709215e01beb2a995816e063614f2b6c   2021-02-28 13:13:01                         0.30698342
Huobi.com      13z7nQx7nLJNdQPxMa4RmVgsfqhhm9sgDC          BTC            b30e00e9e6dec81b444870b97bb19cdb1e46a7b0cb87820115c52055ea7b96ad   2021-04-05 09:19:22                         0.05261756
Huobi.com      16jjLTYuDkxJMvqWCbp6vsznBGYoTgysNT          BTC            c5a6477fddfbce6b959c43d320a97ec683691cfc4ed1d11b3602ad52c25f9956   2021-11-07 08:47:35                         0.01103029
Huobi.com      16jjLTYuDkxJMvqWCbp6vsznBGYoTgysNT          BTC            d0905b469ed90b42b96b3ca9f3c9bac7fa946fb8414f6dd1a4710bd080438f40   2021-11-08 05:46:14                         0.57792745
Huobi.com      16jjLTYuDkxJMvqWCbp6vsznBGYoTgysNT          BTC            71ba83b3d1fe63e93e403dbe417b487e587fe2e0da7b667224a5286595ef87c8   2021-11-09 08:25:49                         0.00283408
Huobi.com      17oXZFjxV3TRwPGRB5gwxEttEupphM4k3U          BTC            d10a7e93e2d3d674d29e66e606fc882a273b54e98b2224cbd528b9f5161884af   2021-05-05 11:18:12                         0.05699151
Huobi.com      1DgFr4KzUZD9cpgnBZCypK9iYeHb7vgRH1          BTC            4e2b24233a93346093da1aa22b826f7743d5f43bedd05649f533bbc78541f8a8   2021-04-05 03:53:54                         0.49915514
Huobi.com      1J7W1QdckENxyrE4mECLfgZXvgJj3jy6iw          BTC            0d0fb5e2667977fa049a050dd69b38adb20db7d9be4c7ad3dda91909fcb74a0d   2021-04-26 13:38:26                         0.14684365
Huobi.com      1J7W1QdckENxyrE4mECLfgZXvgJj3jy6iw          BTC            075a6ac4f1fa4f02544e259492ac6472374056489c3e2d22811ca2d361c62c7a   2021-05-03 21:53:18                         0.43136660
Huobi.com      1J7W1QdckENxyrE4mECLfgZXvgJj3jy6iw          BTC            54477f0480e608883abf9635ad6a37012c4caec88ab7b35025f39b89a7aa414e   2021-05-14 11:28:02                         0.00312824
Huobi.com      1J7W1QdckENxyrE4mECLfgZXvgJj3jy6iw          BTC            f169f58cfc3f26149ca63cf6acba779469d688f11d607fa94c73e77639ac04cb   2021-07-22 11:00:53                         0.23962043
Huobi.com      1J7W1QdckENxyrE4mECLfgZXvgJj3jy6iw          BTC            5c3491287cba1540a73e2142eec0ed24b22709a61905fe5f814485000f1c02b7   2021-07-30 06:47:57                         0.09037640
Huobi.com      1J7W1QdckENxyrE4mECLfgZXvgJj3jy6iw          BTC            89ec88d94a7af13cfdebcd39497deb2d68e90ea666b68f667af2fe2f360d127d   2021-08-06 00:50:58                         0.21372302
Huobi.com      1J7W1QdckENxyrE4mECLfgZXvgJj3jy6iw          BTC            8adad9b7a1ab2288d682305ae993158fe3a59bd632bb4b8f3a66900e02507aa4   2021-08-21 08:30:12                         0.06210102
Huobi.com      1JLLHirATruFSm9bt6U9kBXu1uLH8ztx66          BTC            43145226bb1090d21e9149b51cf47564ed03322a00a35b3675f2e61f9258a67a   2021-11-07 04:47:25                         0.39213402
Huobi.com      1JLLHirATruFSm9bt6U9kBXu1uLH8ztx66          BTC            76f34c9753c66dc9bd5182aa0b044984db3c876b96da42dba8d9dec41287b5f8   2021-11-07 06:49:04                         0.07385358
Huobi.com      1JLLHirATruFSm9bt6U9kBXu1uLH8ztx66          BTC            008a8c1ac26ff244743b92f3a5fb3fb2a10eb43b53cee645e2ba894fc9a08f4b   2021-11-07 07:52:33                         0.00400873
Huobi.com      1JLLHirATruFSm9bt6U9kBXu1uLH8ztx66          BTC            acb7529b9e84be29a97781604fe24e40727f1f9484da2f348d12a2a91371a6e1   2021-11-08 04:58:31                         0.06506219
Huobi.com      1JLLHirATruFSm9bt6U9kBXu1uLH8ztx66          BTC            3b8af1f16b83064c9f14afbe0a7177a4fca40d2aac8056462ca0dcb8fa6175e0   2021-11-08 05:46:14                         0.11189912
Huobi.com      1JLLHirATruFSm9bt6U9kBXu1uLH8ztx66          BTC            d05d6e9a8a077d7ca594ea15c5dfdfa65afc696528b53da7b52a9ff2fb657529   2021-11-09 06:15:02                         0.01578951
Huobi.com      1JLLHirATruFSm9bt6U9kBXu1uLH8ztx66          BTC            102849feb45360cc96076c1220b98aef5175620fa44cf195031fa66b17271370   2022-02-15 11:55:04                         0.00623658
Huobi.com      1L15W6b9vkxV81xW5HDtmMBycrdiettHEL          BTC            364089080124aaa1e96122036fca3847258210f76cc4076486db308839b10dcf   2022-03-29 13:58:11                         1.16422484
Huobi.com      1L15W6b9vkxV81xW5HDtmMBycrdiettHEL          BTC            09c1c3c4b73ef1ffef3af899cf7d899d19d4ce064ebebc116519ad0302faa64c   2022-03-29 15:16:48                         0.01006183
Huobi.com      1L15W6b9vkxV81xW5HDtmMBycrdiettHEL          BTC            0c05cc7b2e3660c759bcd5b88455b67677a6efb829e9f6fede81277c18082475   2022-03-30 11:36:45                         2.53189439
Huobi.com      1NnwU2wqppE4f7cjHPHRh79kF6UDMcwGzB          BTC            ba5c49f11445d7c0cf26e704177432e08dd706bd1371a46c818c4c50a1f8de23   2021-06-02 22:37:14                         3.81539799
Huobi.com      1xSEjfGqgxXkSzeG6MEVtfdjUuumEZqsB           BTC            2c4b044145ffd3db1d862dcd70dc214ef0c7ed11250464723e73ecd0ae49ee61   2021-04-29 13:58:34                         0.00790712
Huobi.com      1xSEjfGqgxXkSzeG6MEVtfdjUuumEZqsB           BTC            a228bd2f20fd254c1b6e05e06c30b69ec59757d25d85b61a26d4557c3a69515f   2021-05-10 15:16:37                         0.00218700
Huobi.com      1xSEjfGqgxXkSzeG6MEVtfdjUuumEZqsB           BTC            395a12fec4a44ab12e8e965052278b9672051f9fda5f7d2e35d42899ba2f6263   2021-06-13 16:19:46                         0.47923993
Huobi.com      1xSEjfGqgxXkSzeG6MEVtfdjUuumEZqsB           BTC            ae2ddf7392ff040d8847f09a9570c944149e6c28debbcb6509a217a4afe17775   2021-06-15 11:43:04                         0.16053469
Kraken         1BCEtYsVj9vYEBCWMCNVAPEJoPwVuQwit           BTC            85f822aaa672440b0b96822e92516ad62fa2521d284b4eadd3dc8c5f46674f96   2021-05-24 20:46:01                         0.00192306
Kraken         1BCEtYsVj9vYEBCWMCNVAPEJoPwVuQwit           BTC            d3e01346da5679a12427f66f30d9e7ac33ac441cd2fc329d28f223f75cb8af8a   2021-05-26 14:25:17                         0.00793220
                                   Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 63 of
                                                                         76



                                                                                                                                                                                          Funds under claim
   Owner                                                                                                                                                                           (average confirmed with the five
                                 Address To                         Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                                           tracing methodologies;
                                                                                                                                                                                        in cryptocurrency unit)
Kraken           1BCEtYsVj9vYEBCWMCNVAPEJoPwVuQwit                         BTC            6fd3181ffc978d5650fb279cfbb06a53cb2c48d3c537ef43336223e43ffb02db   2021-05-26 14:47:00                         0.00838441
Kraken           1BCEtYsVj9vYEBCWMCNVAPEJoPwVuQwit                         BTC            589a16457266fc3a5a38eeaf6313ca000fed43a6a7620cb8b876534d5848b540   2021-07-12 18:07:53                         0.08935756
Kraken           1BCEtYsVj9vYEBCWMCNVAPEJoPwVuQwit                         BTC            8d698c0949ddf94d95a0b54980928c9d72d836108dbfa9b0c00880160c8398ca   2021-07-17 23:17:13                         0.48519395
Kraken           1BCEtYsVj9vYEBCWMCNVAPEJoPwVuQwit                         BTC            630cdaf07d5287e81ad5fe399a608551cc6d1bc497e2b00dd328288c8adacb6a   2021-09-07 22:56:08                         0.00207386
Kraken           36GNnB2G8mo7nv62MmtH4sUUg647rFxrwP                        BTC            6ef161dde9ece6226ee021df8c15da4d740dc925c26dfabe158f6d0e23dc6213   2021-06-20 12:07:54                         0.01348439
Kraken           38HyrjdARosXGr8SXyzLQLWuSCdi8hqcDR                        BTC            1678b9b693a4a5d30a0e504dd41005c996f9f3a289d6b244b9192d0426037ca9   2021-02-27 15:21:00                         1.39992011
Kraken           39SaPmECYfU1EHc6Gxu1mYiarudJ2ywY42                        BTC            b00cb09bca7146c700c2dc98d67191fe7a21c17010a2d4ba75b6d1d587de1a38   2021-03-14 04:10:10                         0.13149559
Kraken           39SaPmECYfU1EHc6Gxu1mYiarudJ2ywY42                        BTC            30873517330c8d3524fc2df61f6ffb7ece1a20a2fa7d154b7e8d1d0e666caf8c   2021-03-16 03:49:39                         0.10723812
Kraken           39SaPmECYfU1EHc6Gxu1mYiarudJ2ywY42                        BTC            d7fde02a0c2020a94f1062fa8945234a556a7753c11aa40fc5ad54c5ed8c6ea7   2021-04-11 22:06:01                         0.06193736
Kraken           39SaPmECYfU1EHc6Gxu1mYiarudJ2ywY42                        BTC            78a9c89e4f7dee223a360b8dbad083f5fea9026198f5561099aff968177fb441   2021-05-07 08:25:40                         0.00516423
Kraken           39SaPmECYfU1EHc6Gxu1mYiarudJ2ywY42                        BTC            2d0306537ee150408ca7c5803cf0b9eee37deb0e191229caac0b261811f66a86   2021-05-15 18:54:44                         0.02891461
Kraken           3HGdiSbfnM3FH4CapoDctJ1ffXz8cd56er                        BTC            163400fac0a63015b4f8fa27147844d74e775e18489b987a2b9878a438cb78b8   2021-03-16 00:09:13                         0.05276544
Kraken           3M1NSfWJ2jHnBuiXEekivi1qiQtK1hKydv                        BTC            bec8899b602b18a270e61c3daed03f295289d0491f923553ea72f31c0c10a315   2021-04-06 23:56:53                         0.04350350
Kraken           3M1NSfWJ2jHnBuiXEekivi1qiQtK1hKydv                        BTC            85fa7110dc547ade4f6a0b5adfe319c37424b43c7dd5ce0922f814625977c378   2021-04-07 13:14:22                         0.33778742
Kraken           3M1NSfWJ2jHnBuiXEekivi1qiQtK1hKydv                        BTC            25d8615cffecb1822f9f476db7fe15eab917ec893d5a288f25a0a71f7ed0fbcf   2021-04-29 19:10:03                         0.03520630
Kraken           3M1NSfWJ2jHnBuiXEekivi1qiQtK1hKydv                        BTC            41a5d08c8ca64ce7a98abc79e4d6d9b30bc498ebc1873639176c3ccb9abf2e78   2021-05-06 07:01:41                         0.01890440
Kraken           3M1NSfWJ2jHnBuiXEekivi1qiQtK1hKydv                        BTC            7f1419c3acb924f1fd60085efde2598dbfefb04635fa1c72f6139eb2021f168d   2021-05-06 12:53:18                         0.00218700
Kraken           3M1NSfWJ2jHnBuiXEekivi1qiQtK1hKydv                        BTC            6abf5c24cca9c04b9815b6d94a7244a47b99d7d40a888e36e713a8fb329334c8   2021-05-12 08:08:59                         0.01885794
Kraken           bc1qfuddrpsmkymngxkm4nz99ac95vrxad7carhxp945              BTC            77cd7c1f5f497c9d2971a075116b4e2967ec0479e1fff702e6feab48832dde18   2021-05-04 06:33:22                         0.59450753
Kraken           bc1qlfyznlvatcm3wchudqmx79fg5u0xl5ejx6dq8xx6p3s           BTC            4b2e43cb1f58103206c3c1e4384d3d356314831668cf059aff3f01b27a4c1681   2021-05-05 23:39:43                         0.01957083
Kraken           bc1qqwy50uahzvnn8lpc8769sk3q8dsl3fe0ye02ksk43m            BTC            a21d66a33a94d74e7e6963f84ba869c2e721b0fb15e5b1472a81c78639183f61   2021-06-22 18:34:31                         0.30821102
Kraken           bc1qyvqls3p8t6jp4g8yqjg50n6jpkaqfcypyqcgr9smy64l          BTC            591e968eb3f5a2308f8506bd3ac198b67d48d9beca370374771fdcb05f969ca7   2021-06-22 19:40:48                         0.13533877
Kraken           bc1qyxfd2ctza3npghs9qphpfa2p3su7wxhafs2z4txdmm            BTC            28d9c1c5e37f084d9d5a122728b8b83cd2999e521a14424c03d620b32efa9d6b   2021-07-03 22:43:08                         0.20477522
KuCoin           36LKXRs5nvELt9oJDWa6wi66Zu8jiwxj9U                        BTC            41919caca4ba1cd357b3d1538753445ddb97fbeb17fabb332eff94fcb3fdb24d   2022-03-27 22:35:33                         0.62072766
KuCoin           36LKXRs5nvELt9oJDWa6wi66Zu8jiwxj9U                        BTC            d2f12e30e809fb865d391d77e450b5df6a1b977f435896d76081bf1e09b1cf6e   2022-03-29 21:27:37                         0.35493227
KuCoin           38mtv2P85GLKLBQ99b9vk3MQ8vorVJ1TBB                        BTC            bca61545fed990f7fbcb6770fcc7293617cf789dd52b0762f09cdcd09f8dbbb8   2022-03-29 20:17:43                         0.63084930
KuCoin           3Agw5GYmkpsJmg9kajCvxx4mq9UwtZKLvM                        BTC            76a8cf8bb1ca401e8edd5e7881f31cf05e5989abff43188a08fc443d624bd412   2021-08-20 19:33:42                         0.03065334
KuCoin           3Agw5GYmkpsJmg9kajCvxx4mq9UwtZKLvM                        BTC            b9242ff492d52f927fcea70c8fc61a8f3faf4bf1e5a5f92b957ef160d07fa63b   2021-08-31 02:32:28                         0.52053266
KuCoin           3EtnttbT7MwzrMNwPc4SVsBtd5obqkcDzT                        BTC            de94e637991447d9ba3303c100f13a7b4871d8c4317ebfca81d2719d2b8a5728   2022-03-21 20:40:59                         0.08008933
KuCoin           3JtozJ9CCkfw9KUpUD6tZnEF36bv4Mv54A                        BTC            8911ac58aa3ae83b356461298ec64bcd70b5f78c3703b3121c2a647c13740a6e   2021-04-21 08:31:08                         0.03077355
KuCoin           3NgEQb6dTjdLdtTjDnBaZMbau79gHScodt                        BTC            85def204d28e781b085cb206c865cd764c65936560157e56731282ddb95c7be0   2022-03-28 08:30:23                         0.09401955
KuCoin           3NgEQb6dTjdLdtTjDnBaZMbau79gHScodt                        BTC            537a7130204740dcd92f4c0ab9ec9b4d4777b282aac792ed17505201f692bfba   2022-03-28 08:33:09                         0.00406935
KuCoin           bc1qx65xcxz6dfsge2g4eaerercslh83y66wrpm79r                BTC            b2d01e29510b491db1766d9cd66c74b98ff2fbbf16be3da113551c8f96e4d5bd   2021-04-28 15:08:19                         0.01693697
KuCoin           bc1qx65xcxz6dfsge2g4eaerercslh83y66wrpm79r                BTC            27d559c7bbf9195802f6a427decd5831ed3377449e66fa2a42ff347a6b1818ca   2021-05-13 07:26:45                         0.00209749
KuCoin           bc1qx65xcxz6dfsge2g4eaerercslh83y66wrpm79r                BTC            d6e99026bb5d9bc4a1f5e4ef8db1e04bd9d203cb14564cf0a0f2f4ad8febf255   2021-08-01 19:49:50                         0.00230687
KuCoin           bc1qx65xcxz6dfsge2g4eaerercslh83y66wrpm79r                BTC            5d08afb0d6ff194a68ad8233b193d64a34fb88677975ee619bf8da1e772cf5d8   2022-02-25 17:33:35                         0.00346875
KuCoin           bc1qx65xcxz6dfsge2g4eaerercslh83y66wrpm79r                BTC            9c3fb4893c3696fcd945a7e0a6bd2c759ae56dc7d33c2aa01001cd99fca5a4b9   2022-03-20 15:01:48                         0.69684316
LocalBitcoins.co 37PPZuGqkg7rSXy1VNTvUB6CHeU3jz2poz                        BTC            fee026e4a9f2c727a2c6b2fa0f4116af70aff7286d2d876c643f0bc4c56cc27b   2021-04-05 10:23:29                         0.33190362
                                Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 64 of
                                                                      76



                                                                                                                                                                                   Funds under claim
   Owner                                                                                                                                                                    (average confirmed with the five
                              Address To                     Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                                    tracing methodologies;
                                                                                                                                                                                 in cryptocurrency unit)
LocalBitcoins.co 3Fyg8b8416fvgB9SMLjxHZDSuVVvHBf7Te                 BTC            ee666829879b8a52b2cd9263646c809f4b3a3dfc8a375e97a6d324e3383c9008   2021-04-06 19:07:23                         0.26929146
LocalBitcoins.co 3GQQM3zDK9tvvdnQ24vaoqkyCr8vzEQvM9                 BTC            6137c6e708f449a69cff4a1d00d7c0bca968dae4b75b98542ca7aeccd5127c2d   2021-08-26 16:05:39                         0.08439749
LocalBitcoins.co 3Hc17tSzv1L1J7GU7FC7624m7vm7EVnxZS                 BTC            bc5d07166e162d562f6278108f43b6031152cd0932d031aee88545051b9fb694   2021-03-12 20:12:05                         0.46658883
LocalBitcoins.co 3JFrJ6P6t5icD7bSAGtVU9Vbg8bQhfDHpg                 BTC            a84eaa29aee1b78168804414c6daa6bb15c7a984d0f99a02384386d2ea0fd471   2021-07-26 11:04:09                         0.18868763
LocalBitcoins.co 3PHS3rk7Rkwz8f39ZE7CuxjAL7YvH86rUH                 BTC            0d1ac0f98ef1f876f370ba3af4f715f55940688ce599764f0e0e23b584096482   2021-03-26 10:31:35                         0.19555794
MEXC Global (M32YgzEsdvt8Mh4s3skG7UYYAEcorxdoMo1                    BTC            4c94f894f495d5af40c44205374b65c4ad7ee4294a0f2ba623bdda624add1b90   2022-02-14 04:01:36                         0.01853309
MEXC Global (M32YgzEsdvt8Mh4s3skG7UYYAEcorxdoMo1                    BTC            770b462b0e3a3647357c35df2fc736c9ca1691c77f758b5bc029242af6d50c2c   2022-03-25 02:20:37                         0.11033151
Mandala          1BqazAeRaCLJUquxWfQPhWGU1nqVmyFmMU                 BTC            15f17c64484efb46d7ac56c165e251c84661b5241be96bf64f27f6d4b688a24e   2021-02-23 15:36:54                         0.84861044
Nominex          31s4AxJaFthfSG21ScGHT9LEPPrp4mR2Cn                 BTC            38802700198549e1b92862e256d0f1dda16b53ec2821a7cb8a19610db4ce10d6   2021-07-18 01:52:20                         0.08954865
Nominex          31s4AxJaFthfSG21ScGHT9LEPPrp4mR2Cn                 BTC            5b48f4101ac5130748b01a6cbd68a86d79aba9b0a07839dd529e61a57d89c5fa   2021-08-11 08:04:31                         0.00650239
OKX (OKEx) 32rKAri2ED9ngZiKZAKhfiRQ8hTSEEnDQw                       BTC            4f19a72bfc68da87a2e818109231c98c84d3f341fa487369cb9271f4e850c10f   2022-03-29 20:14:38                         0.45738987
OKX (OKEx) 3Ejcov8UL29FW6sozV1vFfyT4npDUwEJsn                       BTC            673fd58465c174ff04ae3a9e2cd6da21f308cfea6feafcf87d2e32f71a625ba8   2021-09-16 15:54:52                         0.00492696
OKX (OKEx) 3Ejcov8UL29FW6sozV1vFfyT4npDUwEJsn                       BTC            67fa6a2aa50f2dc1c279fddf5ea27fcf60d4f9ff51f63bb5d7f264ea49854e30   2021-11-08 05:50:12                         0.08635135
OKX (OKEx) bc1qaqeu4s7drfpxdrt505fe8qcraymplh7eh7339g6jfh3          BTC            ed2a63063094edfaef7c0765e45b1f30ab50fc9990114b45ff5733374c2ea215   2021-12-22 10:35:29                         0.02334489
OKX (OKEx) bc1qaqeu4s7drfpxdrt505fe8qcraymplh7eh7339g6jfh3          BTC            614be3d79a36c2a33710a7f666242b8c5c856b897dfd1b45f67e73f32e5e8af2   2021-12-24 13:21:01                         0.05176749
OKX (OKEx) bc1qaqeu4s7drfpxdrt505fe8qcraymplh7eh7339g6jfh3          BTC            931de202b5c75470956a053a9dfea43c6126a11a5b0d20e24ea24f37ea89137f   2021-12-25 12:05:42                         0.01806631
Paxful.com       37jdH27yixRNcK9Vyg5FvcBfMimTXjHTbG                 BTC            1336cfd9c900fdaf2059e38bbc1d01c58fcd54c3e2143f3e46c3bddbd89ec2f1   2021-03-12 20:45:20                         0.05799017
Poloniex         1917vGDrz4ukiuNx5vzMMkTXaXbsG9BWLF                 BTC            4aca692e9a110effee061e94f9410047549c74c88866a6781b27ffe879db2ec6   2022-03-28 17:52:59                         0.03074507
Poloniex         1AQJFdK8aAiy7jSpu3KeoVP6sXzsPjBVvf                 BTC            f73c064054b0e6c1be2a74ed60929ee9d571c4a2e416bf331f9612cb48225a83   2021-10-03 20:07:10                         0.00513708
Poloniex         1AQJFdK8aAiy7jSpu3KeoVP6sXzsPjBVvf                 BTC            9193c2bbac90cd34d12f0afa6d6c049f770ee927d47a3edc6c14af9fede2c108   2021-11-07 04:00:12                         0.07702755
Poloniex         1AQJFdK8aAiy7jSpu3KeoVP6sXzsPjBVvf                 BTC            acb7529b9e84be29a97781604fe24e40727f1f9484da2f348d12a2a91371a6e1   2021-11-08 04:58:31                         0.03846658
Poloniex         1AQJFdK8aAiy7jSpu3KeoVP6sXzsPjBVvf                 BTC            d05d6e9a8a077d7ca594ea15c5dfdfa65afc696528b53da7b52a9ff2fb657529   2021-11-09 06:15:02                         0.03147307
Poloniex         1AQJFdK8aAiy7jSpu3KeoVP6sXzsPjBVvf                 BTC            0db52738d3f8b4ee9316b23818fddb719a34310d07325c291cbfc59db02ebbb2   2021-11-09 07:10:13                         0.00228422
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            283ec31a10d4697c3bd8424552d422f0b0dca7fd7678236e0a22fd588239dd76   2021-04-27 21:43:52                         0.06185985
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            dd0800a9fc9a95472d96c571925542aad0049b442ff4fba6730145527de76279   2021-04-28 23:24:28                         0.02991093
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            ca0fcacd64ae479045cf085b0bdbad48205d4da5a848908588798d1d25f6edf3   2021-05-02 13:19:59                         0.01149342
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            a337c251bf3910d87fbee4f03e5779b83eb9d3310ff011081074f947d4af04f6   2021-05-04 14:01:22                         0.01653742
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            daa07c8237e6130b056b60e5de97928b8154fe466f874bb75aaf906dccf48afa   2021-05-09 13:26:21                         0.70461396
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            7d5bf4fd38d25b9f6c31633ac74cae4eecaee598345a3c85b21790bce49f2766   2021-05-10 03:34:32                         0.34948369
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            2c8e2b98c7330ae0cf5a357137d77bfff198bd8023e7cb2e5ef173e1c9d49250   2021-05-13 16:25:15                         0.63519876
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            bc2d054b3a93076d161be8d0bdedfe86751d886b5fb2dbfdd3d8e5b617a73121   2021-05-14 02:40:58                         0.04879734
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            ed7335f1011f5c6e0db81f196bf5b78c5799f180342476a97eb4a85a9f1363bc   2021-05-14 03:34:30                         0.14506610
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            9ffb066f45b69d03bdb513325e3b9c24471de42266df324ec96c6c64e3d25f3a   2021-06-01 06:50:20                         0.02850758
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            4f9f6ee4e94d8aafac785a61a8111f102e27f240046e8c681a57d3ff76aea881   2021-06-11 04:52:50                         0.00300903
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            742a94ce780baaf1b9214d9f4885a83b84d4f2a98cc2e8f7760b916696318909   2021-06-22 05:55:29                         0.00215673
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            879f24082775e22257e235c55d942cd25f1bc6f2bfcb8b72908465c4e317aafc   2021-06-24 04:14:42                         0.00244778
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            5909262b3a3fa3cdb915e7f2aa60a88c0a78a8d06f4b8db7d477728ab21350f2   2021-06-24 05:49:38                         0.01940765
Ren              19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6                 BTC            7e5bebff3efb2fdd35c35bd94118a197d9cced5dcb6ff8bbbf3d606c46b49a4e   2021-07-07 22:29:14                         0.00856737
                           Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 65 of
                                                                 76



                                                                                                                                                                        Funds under claim
   Owner                                                                                                                                                         (average confirmed with the five
                          Address To              Cryptocurrency Unit                                Transaction Hash                      Transfer Date (UTC)
(Address To)                                                                                                                                                         tracing methodologies;
                                                                                                                                                                      in cryptocurrency unit)
Ren          19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6          BTC            93d007f09297325bfe4b661743dcf0df714999f3ca0796d6e82a7fdd817bb236   2021-07-24 12:34:19                         0.04109236
Ren          19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6          BTC            c0151c28685118b9176ca02fc300db3beb1038ec44b9c84750131d9ec4d29c85   2021-08-31 07:20:49                         0.02371048
Ren          19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6          BTC            04fd253515c693dd37023bea1b1aa67a5e95a1a4d02a2464226bb2d49f61bedf   2021-09-01 18:11:18                         0.07237954
Ren          19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6          BTC            e174b1476e1ceb580e9161612fa4d9a23f776f2488ecb5c29d1926356024a169   2021-10-18 13:15:07                         0.02401787
Ren          19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6          BTC            0a285eeb90857885ca598849ad68f2a0b192a220c0d1372ded224cd08f9922bc   2022-03-15 06:06:52                         0.00263360
Ren          19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6          BTC            f1216d8d86d4145c66d11133054146e67023b9117f16524b94700b2ee6aee4ba   2022-03-25 10:26:23                         0.00405855
Ren          19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6          BTC            5889d1e8c1c8323be989f5b2228c2bc41d71002df264dbf2bcab866a03953f6f   2022-03-28 15:28:47                         0.02928181
Ren          33DaZYib7zij1LP2x9VHHSb6dYDhUymqXt          BTC            7431c046f22b19711d3d0936e61428ada3c42742c4a627ac7a359582c8d117cf   2021-02-16 14:56:40                         1.39987007
Ren          35TjCuKRbKcofxnKG2EkC8B66ZNXKqE1aN          BTC            84b7c4a2b79d454bbb1636d6d872ed367bbcf4b664193b7b8baded8675085935   2021-04-22 02:00:30                         0.49996934
Ren          36CpqVr1SHJ3aj5NcWbnnDaZNxTN3PrtcT          BTC            653fc81796b80dd43739fed50fd4cc7e7b2a16e9a8e7de4e1de6995e78810ada   2021-02-16 14:30:47                         1.39987192
Ren          38L2i15SxTqJ2vD8X71DtfsBhuUefwibJX          BTC            e9a0d0bbfb37bf9d31db4451ccc1ea7c440c078ae5b155673b0d244a38d2abc3   2021-03-01 13:52:38                         3.36616218
Ren          3953TFvpANofLb45AkrtitCp2k35sp2kJg          BTC            c1ab7d53a4f7953fa0c8f295f5797f856cecef6cfce4644feae5eaf314e9f6ff   2021-03-15 13:36:06                         1.19998029
Ren          39TSkidWoFVb4qnnWDrcgXirwoxCLRjYbC          BTC            4205761eb2aab8f8cd73ffb8dc32090b189919dd8d76a1226150c7e3ce482337   2021-03-21 18:47:47                         0.46658883
Ren          3BhWD6JtX3RXS6JeKyBoo2BEpfeoK3HhxE          BTC            e7a083178540701a4953c7935ce8a49f18bf1b2eedbea3715e6e373e5ff1706b   2021-03-09 22:03:57                         0.36839428
Ren          3CzGP9Je4jHD591qW6e6c1AbtLQrsxQZo4          BTC            1fee58cf31200643fca368aa0188c88e6ce63d0260acea5eea8a0d41a51bc9c5   2021-03-11 03:11:02                         1.99991662
Ren          3ErtV4K3sDHoshbudwAnkreSuXS7u2YREJ          BTC            7d28b624e77373528b77effab16d9741752a1bfb9acc3af422628aa08c11669b   2021-05-05 06:22:24                         0.07513967
Ren          3GwVA3kPCxkfxiTnZUJbBzF9cH7j5omtFh          BTC            686c623566f6d07be4804ae68205f6d73ceba7355b4b2aedc12e422de3f189c5   2021-03-25 08:11:10                         0.60953274
Ren          3HSUqCM5BqF2mZW3RKExw9AGQvE5eAaCnb          BTC            69768859a8f4b0f6fc31ad775308ac3bd0598380f2c76227eddca76f5bdf195c   2021-03-24 14:20:43                         0.57000334
Ren          3HUQjCX6bLXzHMdCzTduAUWc3yMkzRA6La          BTC            c2e273a70a32ba4d80416f13432f75f3c482f4a1e482ce6ec29eb5462423b145   2021-03-26 23:53:49                         1.82352728
Ren          3KN8ZNAmsfybuieLTU2rwJQoWttiSECztQ          BTC            f1f88cc05c85c0681e94b10e1551bf178e4f8b495a6d916fe1920a5d39e2df5f   2021-03-25 22:33:21                         0.15058266
Ren          3LqdjTMqS7q9AeGfWd1xk9rz64D5qgUmzT          BTC            469b896564766388756e13c55f328f8feb1c00574e55de352dcf64b9f7317c07   2021-03-01 13:52:38                         9.28167776
Ren          3M8VZjtAqi51LsMuRGGY9mhPvQk5hvubvt          BTC            3e3b2950c72f863642db0a1bd248be3009ba65e9fa950d5a3094a7b1d7b14e2e   2021-04-22 02:00:30                         0.46658883
Ren          3Nwebgx6r4cu8gsLcBao7SMayDHmjAaDYM          BTC            c64cbb8f6a1b8d14ae0f0adf8aacc79a2d7430df83ad5f005c5821f252be8978   2021-03-21 20:41:31                         0.39999020
WebMoney Tran1N615Az75xbRtQsTDvDRrxEaRuL4SxdARs          BTC            e7510289fb7427432c61eb9455eb3ac61f0f8e324bd2fa20a15985a5835638c6   2021-02-27 01:07:26                         0.70461396
ePay.com     345WECfQe7YUAVXRkueY8QQqr8dDeg2iqz          BTC            6969b0f527a260a1272a25dee6bdbc5dfa83e1b5a33406af41355a9237a5f922   2021-03-21 04:43:57                         0.25867847
ePay.com     345WECfQe7YUAVXRkueY8QQqr8dDeg2iqz          BTC            97c1f1eed0e95f247d0dc8552a1703c83a2d182d0da56050b2506ca80d13acb8   2021-03-22 09:09:00                         0.20235584
ePay.com     345WECfQe7YUAVXRkueY8QQqr8dDeg2iqz          BTC            7cc302ab0b17981bf3cfe417db4740352eef670a19e94ce697146183b554d8d1   2021-06-24 13:46:43                         0.79275800
ePay.com     345WECfQe7YUAVXRkueY8QQqr8dDeg2iqz          BTC            34e4c9637dc74562cb6b34794c7b95d3bcee3d70bc7c5082d1a19a880b871872   2021-07-07 12:43:07                         0.00461458
ePay.com     345WECfQe7YUAVXRkueY8QQqr8dDeg2iqz          BTC            64b928666b306c4b6d8e19bf5c1b9be69eb32960f0e474b86a85068476898fb7   2021-07-20 06:36:21                         0.01759928
ePay.com     345WECfQe7YUAVXRkueY8QQqr8dDeg2iqz          BTC            367991140b014de77ee3b226b2664d23b2425b122633ee11572a0c7f78ce4539   2022-02-09 17:30:18                         0.01511283
eezy.cash    398FNpRVsj72YHcagHyExDeSTH4FG3t1KG          BTC            c6f8d483705a7795453bb360cf5bfa29f43dec67a51cc7fe8c076da33ea619bc   2022-03-21 20:40:59                         0.15838508
eezy.cash    398FNpRVsj72YHcagHyExDeSTH4FG3t1KG          BTC            4dbcceea25a04790875a5bfc459312cddc77b1072789e65687180052adeec90f   2022-03-21 20:57:08                         0.16469817
eezy.cash    398FNpRVsj72YHcagHyExDeSTH4FG3t1KG          BTC            569bd3a0c08513bec699ac8ee445589da47daa57dad506f50132e8dd0877e114   2022-03-21 21:27:53                         0.77691223
eezy.cash    398FNpRVsj72YHcagHyExDeSTH4FG3t1KG          BTC            655bca9dc8f1549726ab6f66bb69c54170eb5e4064da5a805d29a12193aa7c32   2022-03-28 19:23:35                         0.43715432
eezy.cash    398FNpRVsj72YHcagHyExDeSTH4FG3t1KG          BTC            e130a189536e972068b693856e0d4f1a07828b3ff84326463ea4581681e03ec8   2022-03-28 19:53:00                         1.26416995
eezy.cash    398FNpRVsj72YHcagHyExDeSTH4FG3t1KG          BTC            c9928c4e1cf6b8f30e4afe3e0710c67c1e34384aa782d0867efd871640ce8324   2022-03-28 20:14:28                         0.79357044
             Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 66 of
                                                   76



           Tab                      Column                                                                                  Description
                                                      The blockchain address to which the transaction was sent. Note: there may be multiple addresses receiving funds in on blockchain transaction.
   Transactions summary           Address To

                                                       An entity or an individual identified as managing the private keys allowing to distribute funds from blockchain addresses corresponding to these private
   Transactions summary       Owner (Address To)
                                                      keys.
   Transactions summary        Transaction Hash       Unqiue identifier of a particular blockchain transaction.
   Transactions summary       Transfer Date (UTC)     The time of adding indicated block to the blockchain ledger which is identical with the time of indicated transaction, provided in UTC standard.
                                                      The amount of stolen funds traced - the average from the five tracing methods. Coinfirm use Destination of Funds analysis to identify addresses that hold or
                                                      received funds originating from starting transfers indicated by Client as constituting assets misappropriation. An algorithm uses five different tracing
                              Funds under claim       methodologies, “First In First Out”, “Last In First Out”, “Pro Rata Distribution by Blocks”, “Pro Rata Distribution by All Outputs”, and “Taint Last”, to trace the
                              (average confirmed      fraudulent transaction. Only results confirmed with the said 5 tracing methods are provided, namely only addresses for which the amount traced by each
                                  with the five       tracing method varies less than 20% from the amount equal to the mean from the 5 tracing methods.
   Transactions summary              tracing
                                methodologies;
                               in cryptocurrency
                                       unit)



                                                      Asset Type – type of asset that was transferred by the transaction, for example "AMLT" for AMLT token on ETH. The value of this data field is "native", if the
                                                      asset type is the first asset supported by given blockchain network (e.g. ETH for Ethereum blockchain). Note: multiple assets types may be carried in one
                                                      transaction. Note 2: No such field in the BTC blockchain.
   Transactions summary            Asset Type




                                                      An entity or an individual identified as managing the private keys allowing to distribute funds from blockchain addresses corresponding to these private keys.
Receiving Addresses summary       Owner Name
Receiving Addresses summary    Beneficiary Name       The identified beneficiary of the address owned by the address owner.
                                                      "If Owner Name is empty then: addresses that currently hold traced funds. Those funds can be traced further, once a new transaction occurs.

                                                      If the Owner Name is identified then: the address that received traced funds, but the funds can't be traced any further - typically these are addresses with
                                                      the identified owner e.g. cryptocurrency exchanges, payment processors, online wallet services.

                                                  Whether traced funds are received by a VASP-controlled* wallet or not has an impact on our tracing analysis. Tracing of the Client's cryptocurrency will
                                                  continue until either those funds are received by a VASP-controlled wallet, or the funds are received by a wallet that still currently holds those funds (i.e.
                                                  there has been no further onward dissipation of the funds). Most VASPs operate pooling addresses used to store customer deposits and to execute
                                                  transfers. When a user of the VASP wishes to transfer cryptocurrency from their exchange account, often the exchange will use cryptocurrency held in one
                                                  of its pooling addresses to settle the transaction, rather than transfer cryptocurrency held in a wallet that only includes that specific user’s cryptocurrency. In
Receiving Addresses summary   Destination Address
                                                  these cases, the records matching user account transactions to the movements on the blockchain showing which addresses have been used to settle the
                                                  transaction are kept only by the exchange. These internal records are not publicly available. The tracing of the Claimant’s cryptocurrency must, therefore,
                                                  stop once those funds are received by a wallet controlled by an exchange as we do not know which user account transactions relate to transfers from these
                                                  wallets."

                                                      * The term ‘Virtual Asset Service Provider’ or ‘VASP’ was introduced by the FATF to recognize those firms that perform services relating to ‘Virtual Assets’
                                                      or ‘VAs’ which definition covers cryptocurrencies and other blockchain assets. The ‘VASP’ definition covers the providers of custodial digital wallet services,
                                                      transfer services and brokerage or investment-related services. A VASP under these regulations would become an ‘obliged entity’ with all the consequences
                                                      and obligations to comply with the same standards as traditional financial institutions such as banks.

Receiving Addresses summary   Cryptocurrency Unit Blockchain Type – the symbol of blockchain network on which the transaction was executed, for example "BTC" for Bitcoin or "ETH" for Ethereum.
             Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 67 of
                                                   76



                                                     Asset Type – type of asset that was transferred by the transaction, for example "AMLT" for AMLT token on ETH. The value of this data field is "native", if the
Receiving Addresses summary       Asset Type         asset type is the first asset supported by given blockchain network (e.g. ETH for Ethereum blockchain). Note: multiple assets types may be carried in one
                                                     transaction. Note 2: No such field in the BTC blockchain.
                              Funds under claim      The amount of stolen funds traced - the average from the five tracing methods. Coinfirm use Destination of Funds analysis aims to identify addresses that
                              (average confirmed     hold or received funds originating from starting transfers indicated by Client as constituting assets misappropriation. An algorithm uses five different tracing
                                  with the five      methodologies, “First In First Out”, “Last In First Out”, “Pro Rata Distribution by Blocks”, “Pro Rata Distribution by All Outputs”, and “Taint Last”, to trace the
Receiving Addresses summary          tracing         fraudulent transaction. Only results confirmed with the said 5 tracing methods are provided, namely only addresses for which the amount traced by each
                                methodologies;       tracing method varies less than 20% from the amount equal to the mean from the 5 tracing methods.
                               in cryptocurrency
                                       unit)
                              Tainted Inflow Start   The time of the first Tainted Funds inflow of the indicated asset type and to the specific "Address DoF“, provided in UTC format. Note: The earliest date
Receiving Addresses summary
                                      Time           from the 5 tracing methods is taken
                              Tainted Inflow End     The time of the last Tainted Funds inflow of the indicated asset type and to the specific "Address DoF“, provided in UTC format. Note: The latest date from
Receiving Addresses summary
                                      Time           the 5 tracing methods is taken
Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 68 of
                                      76




               APPENDIX B
                        Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 69 of
                                                              76

                                                                                                                                                       Assets under claim
      Owner Name                                                                                                                                    (average across the five   Cryptocurrency
                                   Address To                                       Transaction Hash                         Transfer Date (UTC)
      (Address To)                                                                                                                                 tracing methodologies; in        Unit
                                                                                                                                                      cryptocurrency unit)

Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   6c9ce81d396a530f7a0b5a6c3fd2be0d74ecc372f9f8689d6b955fd1d082b230   2022-11-18 13:14:38                 0.01838791         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   e3a91716d0a2bc4c1e808fdb674a669125a7ecd407fd99eb12ace4f9cd8140f0   2022-11-15 11:35:53                 0.02762226         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   5103c3dc49d7cef9f3a33442e5706e52d1803277a52a846aa3ee55fe5bfffbaf   2022-11-15 10:31:21                 0.25848102         BTC
Ren                  35T9Q35HGceBjTcZ6RocJZsfATg5SXeqQK   21487ec14017c5d24662b8c7931f37c5d5c527f452392dc0dbebe6538bb971c4   2022-11-15 10:31:21                 0.02843867         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   d49e086a8461b201d8d4e9f4c01793f2f1cccecc33ccfb95b3d675f0619671be   2022-11-15 09:47:36                 0.06220148         BTC
Ren                  35T9Q35HGceBjTcZ6RocJZsfATg5SXeqQK   852f52d0e261f26e4ff529180d3c59f29d27c92c1e2c47cbe76b8b388ccc2ba8   2022-11-15 08:42:45                 0.12374491         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   9a1c9f982dbe53592c3ddb144b0434082e22a40ae9463a282cd901c6c6165e48   2022-11-15 02:35:11                 0.04695038         BTC
Ren                  35T9Q35HGceBjTcZ6RocJZsfATg5SXeqQK   46ef2ac20d9f54f39a73f7dbeefce984ded5e3518284912c4fe4e373e4359409   2022-11-15 02:35:11                 0.03299633         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   cc2be654bce003999f90bfce3b51e118d3bb28937a3acc65f93b317c9c9d2491   2022-11-15 02:05:59                 0.00885729         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   0ea456b1f87484cacc516c673fd7a2ef6af206ace9cfc56ea1e2f959183366eb   2022-11-15 01:58:54                 0.04910563         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   a8bf5d00170c6d8c861142d5ee84e5a5b691ef3b22e7ae437cafeb8ab7ec40c4   2022-11-15 00:47:58                 0.02702057         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   0fb22d42b8e272245154e74234821533476211909510bb85e59ecbca935aacc2   2022-11-14 22:39:04                 0.06446200         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   9da55bac8b333cb28425a40c6f0196633cc67b16552e525234789c8b095f4817   2022-11-14 21:43:01                 0.07334727         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   94436e6dc4734f461efba822bd39ef6a94868ec309198cec6e01af420e7ae41f   2022-11-14 21:43:01                 0.40505357         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   16f489733845af4a913d1113198434f22c5eec90e6b60c7a5f145ab4476ba1ff   2022-11-14 19:50:23                 0.00398527         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   eeeb8389c129ef15676bc6177db3033089acacad3866357c4a64fe618344bfdc   2022-11-11 23:24:44                 0.00593878         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   834e027ac4d424b4645776ba80afdaec574cd2565723b68c392da45a6685b454   2022-11-11 09:50:27                 0.00694196         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   db478b89e2beed0d221205f62dd53f37a00df57fd4f85040720b9f34ada78278   2022-11-10 09:34:34                 0.10203060         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   41debadaf5865138bbad39615effc444d855fda894a7b7c2786a9838effc8e5c   2022-11-09 20:37:00                 0.19758818         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   e3820e444be61cf2d4b93390be0256b5d37c3ed73e86be7abe2ba30fa2f91f6b   2022-11-09 02:48:09                 0.41664524         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   9b9fd7e6cebb9131ee26c4d26020c4e83173787e287a874daa1535b7de535e0c   2022-11-08 14:02:21                 0.22238623         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   d7a160c97bf4c9d3bbab8753418797b8dd058b92097599a5eaa47b3b826b8d6a   2022-11-08 11:14:32                 0.00570727         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   12773589b893131178d008765139df08d84fac99bb54e471863bad634d3e3513   2022-11-08 06:52:22                 0.02205179         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   786cc5134db6a20b5cbb90d191dd5a73ee3b62ffdcddaebc0773a1cfb3393624   2022-11-08 06:37:19                 0.25507568         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   652d307e70144daaf4d33fc4a6cdc71adfe7dd0cfba138d768b97d8e33c7e1f3   2022-11-08 00:01:39                 0.01378390         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   6a3175158fdbe9992dc0cd6b6d53b726790f851d9a366f4849dbe5f8392e0606   2022-11-07 18:55:26                 0.13278390         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   15693aa096299470d9e532db5a8a3d004ed71b212c7ca930ae26a8b6f62ce6cd   2022-11-07 06:42:21                 0.03743215         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   125689a5c4026ac504ba3dc7a869ea97c23ff9b0f4c2c7c7ed363897c8c09a11   2022-11-07 02:20:30                 0.00944087         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   95fae147abcdc0f1567ab7e6f535d4f421d8de991b166f1f31a67c432e4f2d65   2022-11-06 04:30:44                 0.78508778         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   878279ad505f2f2a6c0d18040be723c44a87bcd118f4263a4b14d63e420cacc3   2022-11-05 16:17:11                 0.00275069         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   a2303ab31823341c8e8737e81f04c38b57029502cac3d82facb788ad24cb91f1   2022-11-05 03:45:28                 0.23854382         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   3802c63ec3b486f5e430157dd76956f0aeec99776a2f2c3353f953710087f208   2022-11-04 03:37:43                 0.00237763         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   af3931f185deefdae8b0a8ba04a63a6b78125d8fa0b032556ffa36761005b7b4   2022-11-03 17:57:47                 0.01423552         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   52943031054638070410f1ed7b5a8ef4e0011f3a44ded7ceda80a6d6e18141e1   2022-11-03 06:27:51                 0.02346741         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   471ae30dd506454ab405e90748a29eeea626e2cbff975bca2e9e6f6d6ce4b26c   2022-11-02 12:07:03                 0.01608722         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   f09a5a989be2f26815693f95177e76317d0896014eea83261f182cdc5c46b90f   2022-11-02 03:19:05                 0.01664520         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   e28f65fc70022981c876657a0ea2d0803325f3004a1066a9851ec345889caabb   2022-11-01 20:54:47                 0.76789370         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   9c2af042f6427763cdad82dadfd9195f9e5397764b39f9247fd25703bf6d9da2   2022-11-01 12:43:05                 0.00547866         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   53313351c1c7c7aeae6f9d88b6d5901ed296833f012c04961532ca2755a61dde   2022-10-31 15:40:57                 0.00466253         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   f5a63a92a7b9991b78cb12d34ef772d0459b0c883eaf20fda0730a30c392f932   2022-10-31 11:50:08                 0.12857580         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   865d7ec5ac56395f2eeb9ea5ae809f3fe49e7c1a400a8aa8ce1fa6daea6cdb3a   2022-10-30 18:51:56                 0.01412241         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   e643c654b8d4acb09aed06cc746d6d0cc5982c154f419809d28e6c94623a9044   2022-10-28 13:51:01                 0.27808607         BTC
                        Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 70 of
                                                              76

                                                                                                                                                       Assets under claim
      Owner Name                                                                                                                                    (average across the five   Cryptocurrency
                                   Address To                                       Transaction Hash                         Transfer Date (UTC)
      (Address To)                                                                                                                                 tracing methodologies; in        Unit
                                                                                                                                                      cryptocurrency unit)

Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   1e95df85e6fd23ca4d664e2d53644980f31014cf5c022ba253ce263feb510543   2022-10-28 08:49:29                 0.00587149         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   920344b2453a3ee6cb9d5bc5ea990800871caa3a6e6d93b667b6e44aa153bd6e   2022-10-27 13:14:11                 0.00201701         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   9711887c43346d6a559d9689e751c3f590a83eb0dc27dc68cc5cb7bb120cf223   2022-10-27 12:47:15                 0.25589957         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   72ecb9ec4a74a40d225a3e321acf4a0f7192faaa4c54c27b381f1abdfb3d4fef   2022-10-27 12:26:54                 0.01956252         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   0e6562eadad24f91a68b7c5c69e7a1a95d5b67dd6d80c1d63c73fd3588bedda1   2022-10-27 02:21:47                 0.26229020         BTC
Ren                  34CtwgCTjvr7gJch9k6JAUmNDEX8red1Dc   499cb1022d533c67ee635a310d16cc96e906299c2162a88a2b6d9a5b1ebfc38a   2022-10-26 19:46:15                 0.02221923         BTC
Ren                  3D5ZieAw2h6LwyC3sRt7uMGeYS5csyNXV2   e5d86ded3a160c4ddc245cc5df8f3e100476ddd5d4a3fcd2bcbd18cba669840d   2022-10-26 19:07:23                 0.04676763         BTC
Ren                  34CtwgCTjvr7gJch9k6JAUmNDEX8red1Dc   5efeff66b9c231888e99f00e8198a3d1d7067c766ae54a9427d50d9a9594ffaa   2022-10-26 18:40:30                 0.03879604         BTC
Ren                  3D5ZieAw2h6LwyC3sRt7uMGeYS5csyNXV2   5659b749355c9e39258d8ec02c6156c910d5176a8c3baabf67035286ad4cb1f5   2022-10-26 18:06:18                 0.10237748         BTC
Ren                  3D5ZieAw2h6LwyC3sRt7uMGeYS5csyNXV2   9239db0169787dc07b275e1ec954dd8d328a8c7daf4a358bb0af74254f2f2ad4   2022-10-26 17:04:59                 0.02224979         BTC
Ren                  34CtwgCTjvr7gJch9k6JAUmNDEX8red1Dc   92d45a355ef03c6815ac1bc7b99691bc7db3ed49ce80a817076a14140b102049   2022-10-26 17:00:49                 0.03390812         BTC
Ren                  3D5ZieAw2h6LwyC3sRt7uMGeYS5csyNXV2   257fc921d0767ade0a52213ef075d8ba665318f04c9d8f5077732537e98ee0e2   2022-10-26 16:11:50                 0.03603441         BTC
Ren                  34CtwgCTjvr7gJch9k6JAUmNDEX8red1Dc   997e6a2fa72d9508a53877f610890c740e4f07241acba90e0ff53df5478dd678   2022-10-26 14:49:11                 0.10550196         BTC
Ren                  3D5ZieAw2h6LwyC3sRt7uMGeYS5csyNXV2   4b5170c7f27b50b61a72df664816cf22daf09ec3f7b78c7a81d599778591bf34   2022-10-26 12:54:49                 0.07789006         BTC
Ren                  34CtwgCTjvr7gJch9k6JAUmNDEX8red1Dc   6761f2a8142bf853ae0eb5b8015e4cfd59b8bd3b2b4429a12781993d470bc1b4   2022-10-26 12:09:07                 0.24325067         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   483d94255f1b14846e17cbe036d80d86002a6083f11dc10ee3df56f7d8cd3dba   2022-10-26 11:59:14                 0.00239272         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   f00f8ee16dd487cc04e16f85357e61ff095116b48835cd748c76730ff356278b   2022-10-26 02:15:04                 0.06806900         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   4bffbc41aaef5ee5c535b25b4695b51b8bba1bdf447157b1a43e9404279793f0   2022-10-26 01:18:33                 0.09747730         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   000e1b9360462ae1f4ba6642c33a3baaf4682a81446679f00e9b411d425a8c67   2022-10-25 17:48:05                 1.68238947         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   f819234308cef190f607449cc05e7b5daad18ed9028891e106701b939466de17   2022-10-21 20:01:39                 0.12798932         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   4d5b355f459c1b28411caea5f1c2b367f9b5787025f4dc8495e9bf49d02a27cc   2022-10-18 11:10:00                17.75758598         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   562f566bff26773573c0c88c019c8fd3882c24b67f926ed1ab6bc12334d415d7   2022-10-18 11:01:45                 0.19941130         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   83bd3fb8ae925c550d57a630e2aab7979df2f08a4af7bb4f7e98baaa3fc4dcd9   2022-10-07 22:29:18                 0.16000638         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   7c9323dece64ec701db614d320de53e218b6864a0b75ed27d96a1d96be3f3acc   2022-09-29 07:45:42                 0.25593271         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   13968f1b307c104aabdd56dc2aa6580609159a75f0a59fcd3308249e97ff7d97   2022-09-26 15:24:51                 0.18568675         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   8b48651805ab170c19e5be4d9f47a946caf01dd0b275b4f49eeb428226bd416f   2022-09-26 08:16:16                 0.05023006         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   27f0141bd7bb73490c37efd5644eefbc33f81e2c7d6f076df171d47733b27d4f   2022-09-26 06:41:33                 0.50532754         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   c618e13ffbf642cca253bbbfcce604be5b3656bb03aeaa0e3353a5abcf98239c   2022-09-15 03:48:22                 0.14360276         BTC
Ren                  36z9EkuDD6X15hg3UQjVD71aCXtNEQY152   8800d3cdface68e3bda27ea992f615f36a175e912602b6cfa77af8fec84ff9b9   2022-09-15 03:48:22                 0.24894928         BTC
Ren                  36z9EkuDD6X15hg3UQjVD71aCXtNEQY152   da29ff0c06123c1f0a6fa52f17ac69057441c3314da2402e09fd1453e36b2dce   2022-09-15 03:48:22                 0.44176121         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   ea66e8f72c285a317d3f00824964cc16d11399a085f4deb66f7b29daeb5b8dca   2022-09-12 05:08:03                24.23299114         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   0953ac82bf414432cbc6c07c9e85309680968ecc93e030fc5d92306911e494c4   2022-09-11 11:48:46                 0.25311252         BTC
Ren                  3HgSXD5kpj93AZkXJjtUVctuZxP7pNHhYJ   e2981cbd1490796719f718349e073c6d68e0bde4073d85fa54a8f67636513e81   2022-09-10 13:50:38                 0.25597153         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   edda9f0d356327401a660ed2ed3e30f0c7e89543f40c617b3e316b684dec13a6   2022-09-10 12:56:34                 0.03195674         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   256d2328586f10b691b057e2f175edd9b355079d2c773b28a6c978c166e56739   2022-09-08 23:44:38                 0.21667898         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   5d30faeac04c9f267304e30c131e1919a206e1b993edf9653d773dc90c673c94   2022-09-08 22:58:58                 0.10776735         BTC
Ren                  33YSHabLMhUD2CFZTagxJkh5J8K98oTmie   c6470da29c9962d170c85f9145ed7ddee83e7a27833393591699cb3eb2ab998f   2022-09-04 10:55:41                 5.49683500         BTC
Ren                  3EtkBdzqucZ6G1bSd2axQa8wRQtnk85q3K   cca9dd32fd8990f96aecb16bb3e0f033a24b80429c2e80e370ef10db557cea8a   2022-09-04 10:55:41                 3.90850594         BTC
Ren                  3CB7UutiyWmHy4kJnaSzFVj1FfwHnu37sz   26f17d726a3905ee21b7390bd763a8cf2fe990db594a8e000f01cd56e41a7152   2022-09-04 05:33:53                40.40079780         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   5db7c977fdd509069a719b6453a984f9558d75cc12df3eec3ba80d1e0c14eb43   2022-09-03 07:03:10                34.14507722         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   a546e9a283dd02140db05ca95d63cedd7856668c4979b376ae70e3a4f1c06aa0   2022-09-01 02:56:50                 0.27479354         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   c4cb1b3fe3ba4acebab936e850e3266718d9c4d52d8cf620e2f48b6a94fd009b   2022-08-30 09:23:21                 0.25596593         BTC
                        Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 71 of
                                                              76

                                                                                                                                                       Assets under claim
      Owner Name                                                                                                                                    (average across the five   Cryptocurrency
                                   Address To                                       Transaction Hash                         Transfer Date (UTC)
      (Address To)                                                                                                                                 tracing methodologies; in        Unit
                                                                                                                                                      cryptocurrency unit)

Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   8507b75c4cb34982a692fcc635af109dac7814a1091e43b2dc0012fd45f77f50   2022-08-26 04:03:46                25.37892082         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   8e95540971e85b741eb8fce64f7e70184b681159a2e5b8ab6f9796e55b079e5c   2022-08-25 04:38:29                15.90278929         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   9a1dce7be55222e785426f88d6d5d802287d9af622785b66bab85dde9d5b37a6   2022-08-24 05:18:02                 9.26764857         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   8689cdc666b8e234b56194789d1f4a39cef7a941588416de8942311f6065b620   2022-08-05 14:01:48                 0.11151592         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   41d96bb3470f01a096c9005583102e3158ce5e23c17f564f9c50f4a4e418ebda   2022-08-04 05:04:15                 1.04905039         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   1c16f4104ade22307727169093d42449529bbccaa3df80029639ac22e6bc872c   2022-08-01 05:45:47                 3.33488622         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   27557fd89ba20013fbe59d92f6011d6be63b4080cb8ba1d62d91e76a5ffb9984   2022-07-31 04:15:47                17.24593758         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   c31ba2025b106ed34938dcad4f94cf5319a0359a618f50305722735a679226b2   2022-07-30 03:12:32                31.99405809         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   0e965806b265da24813e3cbb9ab962e58c68070abbddb840fc23a2043fc8fa6f   2022-07-28 02:55:30                18.92677818         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   94e1f4ed417339be88285b96a33fa8c5ae5d021cff7ce8ae5c62c972067c8f40   2022-07-27 03:38:11                15.16967075         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   6d0657a70e0e5c3b91d3d710ed8d8864b508dced2f65b1ad9f8c235556cd73dd   2022-07-25 12:18:38                11.58493474         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   a190074bb408e2191c7338b1f21349971c2f67f6b42b2d7d09f004371870ce91   2022-07-24 03:47:57                14.35668156         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   1dbfee28f8d87b687354ae3a1122243876ad60db88d0ffaff2ff54925601a8a9   2022-07-23 03:36:06                11.94192366         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   79068a13fd4b108591a1710e5e38fe84c7efb69a880489c3bf0399f1edc02dce   2022-07-20 03:02:51                 0.13219959         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   e22158bbcfedc4cc666338f66f08b666131fc8747d6c1a47210435e7a3fe35d1   2022-07-19 01:22:56                 0.06394042         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   eaf7f6f4a51f5cb5902df15d6abed493f3ffeb9d5b5284ca36ef2bad70471e83   2022-07-18 11:26:44                 0.10261649         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   afdad5fb5e4be6487a7293fda67d4d1527fe5a4e8ef4efdc7a43f7806d76a997   2022-07-17 02:52:10                 0.09591561         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   1e0ea53c80ec5dfab9ebd57225eec62902bbb11b2b25af094b00be282f2bfec9   2022-07-14 12:28:16                 0.16402217         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   ad203cc251f290bfb88d4ba8bb96b5fa949c2d0e9576e59e1837fc698b356c27   2022-07-14 04:47:55                 3.53360395         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   9fbfcfabcae3884edd20d9a5b8ef19c644d64b23c65ad4fa1cb87f5799b546e8   2022-07-09 18:01:01                 0.25270503         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   c6d2a5ad9723dc5e0bc263b3c900ca684fe7f948b8ec22af894b79e0e3af1ff4   2022-07-09 05:44:47                 0.11208377         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   3677403629fb65baac7951faa48b29a20b94e28e7c2079a9070dffad8366368b   2022-07-09 00:37:34                 0.53079373         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   6190b1654a88e13418f6cba411346465f41ec478e86e379678deacfeca7569e1   2022-07-09 00:14:25                 0.16381857         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   f40dc9b709007e1fbfa7cc1b2d4ce0755e2f3a903db8d98e3c86f64389823618   2022-07-05 22:53:21                 0.12768465         BTC
Ren                  3Qu9D6WLN2MUfV7Mg2dpqhoGUVYgeiZ8Kn   5a68f5ccab61e31e2703460b5f7d85220333071c3fc7ffae29fe1cde03b3aa41   2022-06-29 13:52:22                 0.12797015         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   01fee2472c79d9fa9c1ede981cea3e0dd8041b63c54fabe61d3f56572dc73107   2022-06-18 01:17:15                 0.28197799         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   d1db9a712143a798c6354e802e6914d01cac165b7d0e20721466062b8d04423b   2022-06-18 01:17:15                 0.30423741         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   ed1ef21e2cac286d036e40dd7158f49ed4f9b955ba5983fdbe2dfa202303906c   2022-06-18 01:17:15                 1.12850254         BTC
Ren                  327Q3grbMy43FAY7ovKLUnnmEf5ATqYP1s   46026c415f1fb43c90fa3c34389d11b799d58eec41e979c61780f0cbb311a1eb   2022-06-10 23:07:19                 0.27174912         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   085aa502bbce7f80dae1fedddc0b03d3c834766adeb30b346d6a4308ac269022   2022-06-09 19:45:22                 0.11186628         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   1b64d6bd68a0794d303607b1b5d742bc5a07a151be07aff7693f9f9cbdac3006   2022-06-04 07:10:04                 2.58911758         BTC
Ren                  3Lw8hRQatka8DaoCnBb3fhtuBmmBKshsh6   2a95be2d1664cc4ec7875ca17231ede16c36f62e4eb17edb68519f42836aea3e   2022-06-01 19:29:58                 2.75495118         BTC
Ren                  3Lw8hRQatka8DaoCnBb3fhtuBmmBKshsh6   5c3ac3a7b752aeb867ddbc3e289e9da96754175fc760ec5207baaa5c1af5ddc8   2022-06-01 19:21:32                 0.19520217         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   c3823abdf3278c4368f18f742fe7a1c1f0603ec59143ead3c97b9af36ce11127   2022-05-30 10:32:13                 0.14478338         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   fad13a907491a0e2dd49b17d7b0638ebcc1a0d22f8a79c109c17d2ec45d44c4d   2022-05-27 06:10:09                 1.33809355         BTC
Ren                  3DptKZWpoJScW3cseYz4KjWPd7JbfPTmkz   7d329a777354d49548d763247a9b831a11c88893430d02ea4bd64cf122ea6a9e   2022-05-26 05:26:53                 1.13943110         BTC
Ren                  3DptKZWpoJScW3cseYz4KjWPd7JbfPTmkz   2d17543e761f63a583894c0e8f42f3c0ac1bbfac338d20c2bb3ee118eff01769   2022-05-26 04:02:48                 0.63648782         BTC
Ren                  37VeJ6rnXHfx3G7xWKNAoaDUkbGZrD3jT8   9952297721edf0d2a0c6c4671c6b2ffee0303f2b34721c44f0935df426ebfecd   2022-05-17 19:51:12                 0.13386440         BTC
Ren                  36B23nVvAkvJypRHwvYXSF8MiYTHUjaJa2   17b0b9181d195c2d612826d359cfcbbbb56546768cf7f95cc73f5499d01fb9d0   2022-05-12 13:34:55                 0.25591183         BTC
Ren                  33eLDDgdzvafqvVB2S6opSeRaYrQG6kSd4   e7163040a698eb3d651c832b9515c8a427defa10944fe8f1533549a3c2e4dfd0   2022-05-11 11:58:09                 5.62242573         BTC
Ren                  33eLDDgdzvafqvVB2S6opSeRaYrQG6kSd4   7bfe10461925d304156410cae089f1b2bb81afc2d8daa29963efa99cbc6e1ef6   2022-05-11 11:47:28                 5.09003839         BTC
Ren                  33eLDDgdzvafqvVB2S6opSeRaYrQG6kSd4   e9ec292b1ab1566ce95540ec6d7335bf956ccadd3259e7807301aef848df1eb2   2022-05-11 11:41:45                 5.95168641         BTC
                        Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 72 of
                                                              76

                                                                                                                                                       Assets under claim
      Owner Name                                                                                                                                    (average across the five   Cryptocurrency
                                   Address To                                       Transaction Hash                         Transfer Date (UTC)
      (Address To)                                                                                                                                 tracing methodologies; in        Unit
                                                                                                                                                      cryptocurrency unit)

Ren                  33eLDDgdzvafqvVB2S6opSeRaYrQG6kSd4   a21d67918ac4464a21dde027579e63055b2cceea5544e913ff73e0d06d338e0d   2022-05-11 09:35:40                 4.97567566         BTC
Ren                  3LJRGGh7fD9JgiP3M3mT7ZBCgW1gfGVKzM   fb2ee101fc3ab5c9d4f1a64fc1fd9f2f90f31050d727ccb05c550fea47f5f2ac   2022-05-06 19:09:57                 1.04094155         BTC
Ren                  3LJRGGh7fD9JgiP3M3mT7ZBCgW1gfGVKzM   2ea942f77bdf328be328614db749e58a5e300f37c582418d794a58ba8248f6fc   2022-05-06 17:56:53                 1.14023278         BTC
Ren                  3LJRGGh7fD9JgiP3M3mT7ZBCgW1gfGVKzM   3a8f097253003c15bf7b0cfeb536f08dfd188901a619b55b059ffb82b3271edb   2022-05-06 16:06:52                 0.67175964         BTC
Ren                  3LJRGGh7fD9JgiP3M3mT7ZBCgW1gfGVKzM   e40a20b5fc396f574da0cacec6ad6b9f9885b3390884d4b377dd0e98b2359a6c   2022-05-06 14:55:46                 0.14490744         BTC
Ren                  3QreR4EKmW1iP9HbQgYjbAz7X1GwcvzfqP   4dc7e72610a3da980084f1fec6c846d4f13512510cbe7a5431de4cfec0140291   2022-05-02 19:43:55                 0.46391648         BTC
Ren                  3JDmvAZwH8wncpE7ZF3vUwdcuJxGHwhpd2   9efaafa15ddcd5c75d2348fdae059a72d27e2a60ad0124f54c7b92ce00096c4c   2022-04-17 13:25:23                 2.57306630         BTC
Ren                  3JDmvAZwH8wncpE7ZF3vUwdcuJxGHwhpd2   bfccf8c64e2f859f9bd18512d15d7777bc7ae72afbf2e76b3a25cc3f3a462a69   2022-04-17 13:16:25                17.26373016         BTC
Ren                  3JDmvAZwH8wncpE7ZF3vUwdcuJxGHwhpd2   1ace2c4c1f0a553a3b4d6e1d644d707cf3d6ce6ed311a4cba33babc3a522c0ad   2022-04-17 13:16:25                25.63896440         BTC
Ren                  3JDmvAZwH8wncpE7ZF3vUwdcuJxGHwhpd2   5d88323a047fa06bcb165a9a8373e80203e7ddb4aac43b0dccedd632276f8055   2022-04-17 12:14:35                12.87203396         BTC
Ren                  3JDmvAZwH8wncpE7ZF3vUwdcuJxGHwhpd2   53d922cd392413452fafc8599d2603816661ff2033969a87b998df8dac50dd72   2022-04-17 12:14:35                12.86405915         BTC
Ren                  3GrVa1413BKGL3CsUiwyKfjynZLRB2qK2T   bf9120251636b377941eea9beffe9152061173391eebc9a441cdc2cb902cf8c7   2022-04-17 02:03:30                 0.36350950         BTC
Ren                  3GrVa1413BKGL3CsUiwyKfjynZLRB2qK2T   39459056a81c80dcdacef16bd31d0ba539bd568a28ee973467ce28ed7189308c   2022-04-17 00:21:03                 0.09376986         BTC
Ren                  3B8kcdGBtpT7Wjzy5DWePtnTXfU6rpfSGb   a5821df5abf68504dde1ab5dbbe14390a48aeb07dd25803afd13cff51272fe45   2022-04-16 09:43:19                12.84234451         BTC
Ren                  3B8kcdGBtpT7Wjzy5DWePtnTXfU6rpfSGb   a11de08fecdbc8640c8e2dbb5054f1e23891d1dd27b923a51e87ddeb6e8caab2   2022-04-16 08:39:17                 6.57934466         BTC
Ren                  3B8kcdGBtpT7Wjzy5DWePtnTXfU6rpfSGb   870ef82c692e30d87dddc6de9f4e46a95623c84f5af0922bfefcb3214b3d066b   2022-04-16 08:38:14                13.38713252         BTC
Ren                  3B8kcdGBtpT7Wjzy5DWePtnTXfU6rpfSGb   90fbd664580e9d9a89d18f4c97dd33e7980e3a3fe4a46a696b5c50aec2addf09   2022-04-16 07:12:28                10.72997876         BTC
Ren                  3B8kcdGBtpT7Wjzy5DWePtnTXfU6rpfSGb   cc32bb17e34b6be9e97c377d6b6e9a6cce4acbbbd8b3cfccff6883abe79f40c2   2022-04-16 06:28:28                 7.86045143         BTC
Ren                  3B8kcdGBtpT7Wjzy5DWePtnTXfU6rpfSGb   48cd4c95bda170c8568aaa357047c20a17814e725f0c2b5818fdd5a2d9560aa5   2022-04-16 06:03:36                11.18764786         BTC
Ren                  3B8kcdGBtpT7Wjzy5DWePtnTXfU6rpfSGb   04704eceefcc7e5c0375aa69a2a12ec7fc2b39a5798702514c51675ca673e5d5   2022-04-16 05:49:48                 0.23840306         BTC
Ren                  3NzssH359fhuiJRfhNXM6FmC4okYMTp1DY   a63e47beb81c0f0fb5e58bbd2ea0da4ea51acccb1fb41f3a49b721b5fa7523a6   2022-04-16 04:22:23                 4.74950943         BTC
Ren                  3NCaoJtKssGeJQScbnHujSzmGiUD95Dtve   50440ee8c117e5ffd1aab3059d99e76870921f32f02e6a12d712de0e73c081af   2022-04-15 10:33:16                 0.10000000         BTC
Ren                  3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x   118e11b6f4d3cd42fd7366c500dc5b0040d658dd017ecec47b1b39873bd905ea   2022-04-14 14:42:32                 9.35024980         BTC
Ren                  3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x   9f8d1414deeb2ba0821572d6a06c49db9341d0babe26aedbc928386f28cc9f00   2022-04-14 14:26:47                 8.96868891         BTC
Ren                  3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x   0c9f74bb383ec75bec63c03230480979d7cd46ac864721dc77b6abf35d2fe6bf   2022-04-14 14:23:25                10.33202312         BTC
Ren                  3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x   08857232e095aa1b0fbc6da24b48704abdd12b8316701aaaa13719a70c1513b5   2022-04-14 14:03:28                 8.74995171         BTC
Ren                  3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x   f022c1ec26b1681b591e47f27738c9e5fbcd441709e9f1224f18112ce2dfcf24   2022-04-14 11:06:41                 2.44765171         BTC
Ren                  3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x   381760a9dbd66545156819323231c276f2e69a79481c3fef7f0f4b807d891e05   2022-04-14 09:52:49                11.59812861         BTC
Ren                  3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x   e857a30c17c7f60a308dfa19b267c2f3d28de79929e7717e3b883bc6b5a34fc8   2022-04-14 08:43:30                 9.49183047         BTC
Ren                  3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x   3465eb5c269e993b109b56ef3e8f4157938dc183b24e90814a28d132f1cff1c4   2022-04-14 07:17:35                 7.33768703         BTC
Ren                  3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x   aa74a244673458315bf0bbfc291eb7fc7a1fb8710fd130ca81dc097a4645ddf3   2022-04-14 07:17:12                 8.35744684         BTC
Ren                  3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x   b6f9144c76e74c8ecc9ac1efa02777e7ba3404d5955dfa3d7f2a2165eec0cd7c   2022-04-14 07:17:12                 7.15849835         BTC
Ren                  3GySMpXsuMMGrSmVyrPp1GK4geogxrGx2x   0ae567cc672d238a34362e0a3c5fb5b7e692b907d7e481bf42be94ff3dcd3d5c   2022-04-14 06:27:34                 0.86996707         BTC
Ren                  352ggMeaLkhm6Pn2FVpARnt1xSDX4ER5bh   ca261a57ae78ad495b888e86c9261157c929e2c17aab24fc9288cee5b98acf41   2022-04-13 16:27:24                 1.51299418         BTC
Ren                  3F4qPPg86GfsRQbDGKY1XGX3wYeiM2VtoW   3c25a62685dc4ed08d759ba7d01c2c78db15865eaa6c09efdb481ed1152254ee   2022-04-13 15:52:05                 8.47649939         BTC
Ren                  3F4qPPg86GfsRQbDGKY1XGX3wYeiM2VtoW   8bf0f90245e32e832a7e3cec3760568710257c959a5b941d260e99433dce8601   2022-04-13 15:52:05                 8.94330934         BTC
Ren                  3F4qPPg86GfsRQbDGKY1XGX3wYeiM2VtoW   3948c713f33d04928766c7f3123d77edc3d16400abf7cd9d9ba35641df3a3830   2022-04-13 15:34:07                10.13831054         BTC
Ren                  3F4qPPg86GfsRQbDGKY1XGX3wYeiM2VtoW   3a68892f3eabb1495e7db60f59ae2af246a0ca96e5d7d949646d8a6d05d7c472   2022-04-13 15:28:21                 7.28148784         BTC
Ren                  3F4qPPg86GfsRQbDGKY1XGX3wYeiM2VtoW   89779820198ff176a3632f80299aa659339b0066159937a86504e2de50ecd360   2022-04-13 15:09:23                 8.88486149         BTC
Ren                  3F4qPPg86GfsRQbDGKY1XGX3wYeiM2VtoW   0737c8c2eae1885a216d80a5837aa737629c867500c6731bb4a4502862647cff   2022-04-13 14:29:34                 9.78471131         BTC
Ren                  3F4qPPg86GfsRQbDGKY1XGX3wYeiM2VtoW   d80922e466b4f1645a378be0c9330d8fbf19db15a9fb80bd780ee6c9323aced2   2022-04-13 14:29:34                 7.46004790         BTC
Ren                  324atJj8Jo3mP3FfXXH9H9wzRKrfqQZfKc   6055e0d2f020d8da6d4b516a6c419f930c724f0df872b731edfe42559b17a37d   2022-04-13 14:25:12                 1.32568874         BTC
                       Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 73 of
                                                             76

                                                                                                                                                        Assets under claim
      Owner Name                                                                                                                                     (average across the five   Cryptocurrency
                                  Address To                                        Transaction Hash                          Transfer Date (UTC)
      (Address To)                                                                                                                                  tracing methodologies; in        Unit
                                                                                                                                                       cryptocurrency unit)

Ren                  3F4qPPg86GfsRQbDGKY1XGX3wYeiM2VtoW   fbf98594a98e1830786136ba1565f4ec8f55da5ed255ef0783b2898a7218feb9    2022-04-13 12:04:08                 3.91533322         BTC
Ren                  3F4qPPg86GfsRQbDGKY1XGX3wYeiM2VtoW   ea7306b333d991ce6d51a5cda9435302b6d70b981850986c6f570041e25d3a26    2022-04-13 11:10:35                 3.89444832         BTC
Ren                  3F4qPPg86GfsRQbDGKY1XGX3wYeiM2VtoW   e743539b9c82f4bfba6c7015ae0c36d800e0708c6e62b90b94d6dc4aab408576    2022-04-13 10:57:07                 3.24040493         BTC
Ren                  3F4qPPg86GfsRQbDGKY1XGX3wYeiM2VtoW   401febfbabd8d097e3d98ae54bbb5136bfcca8b6032437625c343652c64de6c2    2022-04-13 09:56:06                 1.85636848         BTC
Ren                  3F4qPPg86GfsRQbDGKY1XGX3wYeiM2VtoW   f9916e3320314e80abce64dbb3a8b88c8c3d0599152a9d5023cc4c5d99a5c6ef    2022-04-13 09:56:06                 2.33618380         BTC
Ren                  3F4qPPg86GfsRQbDGKY1XGX3wYeiM2VtoW   81f21d3051021c6539886b34d8b8ef9e71f8d90d12907186d80b09ebaec0b11b    2022-04-13 09:56:06                 0.57107294         BTC
Ren                  19iqYbeATe4RxghQZJnYVFU4mjUUu76EA6   4f9f6ee4e94d8aafac785a61a8111f102e27f240046e8c681a57d3ff76aea881    2021-06-11 04:52:50                 0.00300903         BTC
Ren                  3CJQ43c9Xf8Y6SYh6Y2gPmaMEUn6vtAwRL   1704a91aa2e01132e5bb0c0b4efdd57b2b69a222f47f234f1e7e4cd207403b60    2021-05-13 15:29:21                 0.63519876         BTC
Ren                  371Db7rr2vz94BYqusTrqha45SB1dUQo2b   e49944c859c27775bccebb843adc23a07f11efaaaa89a09763ba19a0d23ec44b    2021-05-10 03:07:03                 0.34948369         BTC
Ren                  3CQkmUQnjKU7WWFrBgCCRwfJrPgvcXKg4x   f6c2940557eb424e455ba4b581f70c48cb61c50035017b740bacd98703956b9f    2021-05-09 12:41:06                 0.70461396         BTC
Ren                  32hC1pVPXUg36RcHXwK4HQ1usFZsFUCmpj   22f168aaf04fc9b21510d4d8a427ebc25ad126bee687b6f30afddf768ebe753f    2021-04-27 20:15:14                 0.06185985         BTC
Ren                  35TjCuKRbKcofxnKG2EkC8B66ZNXKqE1aN   84b7c4a2b79d454bbb1636d6d872ed367bbcf4b664193b7b8baded8675085935    2021-04-22 02:00:30                 0.49996934         BTC
Ren                  3M8VZjtAqi51LsMuRGGY9mhPvQk5hvubvt   3e3b2950c72f863642db0a1bd248be3009ba65e9fa950d5a3094a7b1d7b14e2e    2021-04-22 02:00:30                 0.46658883         BTC
Ren                  3HUQjCX6bLXzHMdCzTduAUWc3yMkzRA6La   c2e273a70a32ba4d80416f13432f75f3c482f4a1e482ce6ec29eb5462423b145    2021-03-26 23:53:49                 1.82352728         BTC
Ren                  3GwVA3kPCxkfxiTnZUJbBzF9cH7j5omtFh   686c623566f6d07be4804ae68205f6d73ceba7355b4b2aedc12e422de3f189c5    2021-03-25 08:11:10                 0.60953274         BTC
Ren                  3HSUqCM5BqF2mZW3RKExw9AGQvE5eAaCnb   69768859a8f4b0f6fc31ad775308ac3bd0598380f2c76227eddca76f5bdf195c    2021-03-24 14:20:43                 0.57000334         BTC
Ren                  3Nwebgx6r4cu8gsLcBao7SMayDHmjAaDYM   c64cbb8f6a1b8d14ae0f0adf8aacc79a2d7430df83ad5f005c5821f252be8978    2021-03-21 20:41:31                 0.39999020         BTC
Ren                  39TSkidWoFVb4qnnWDrcgXirwoxCLRjYbC   4205761eb2aab8f8cd73ffb8dc32090b189919dd8d76a1226150c7e3ce482337    2021-03-21 18:47:47                 0.46658883         BTC
Ren                  3953TFvpANofLb45AkrtitCp2k35sp2kJg   c1ab7d53a4f7953fa0c8f295f5797f856cecef6cfce4644feae5eaf314e9f6ff    2021-03-15 13:36:06                 1.19998029         BTC
Ren                  3CzGP9Je4jHD591qW6e6c1AbtLQrsxQZo4   1fee58cf31200643fca368aa0188c88e6ce63d0260acea5eea8a0d41a51bc9c5    2021-03-11 03:11:02                 1.99991662         BTC
Ren                  3BhWD6JtX3RXS6JeKyBoo2BEpfeoK3HhxE   e7a083178540701a4953c7935ce8a49f18bf1b2eedbea3715e6e373e5ff1706b    2021-03-09 22:03:57                 0.36839428         BTC
Ren                  38L2i15SxTqJ2vD8X71DtfsBhuUefwibJX   e9a0d0bbfb37bf9d31db4451ccc1ea7c440c078ae5b155673b0d244a38d2abc3    2021-03-01 13:52:38                 3.36616218         BTC
Ren                  3LqdjTMqS7q9AeGfWd1xk9rz64D5qgUmzT   469b896564766388756e13c55f328f8feb1c00574e55de352dcf64b9f7317c07    2021-03-01 13:52:38                 9.28167776         BTC
Ren                  33DaZYib7zij1LP2x9VHHSb6dYDhUymqXt   7431c046f22b19711d3d0936e61428ada3c42742c4a627ac7a359582c8d117cf    2021-02-16 14:56:40                 1.39987007         BTC
Ren                  36CpqVr1SHJ3aj5NcWbnnDaZNxTN3PrtcT   653fc81796b80dd43739fed50fd4cc7e7b2a16e9a8e7de4e1de6995e78810ada    2021-02-16 14:30:47                 1.39987192         BTC
                                                                                                                             TOTAL                             685.0323181
Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 74 of
                                      76




               APPENDIX C
                                                      Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 75 of
                                                                                            76




              Cryptsy Flow of Funds (after ChipMixer identification)



                                                                                                           119.47 BTC*
                                                                                                                                 Other addresses



                                    11’325 BTC                      898.33 BTC*
                                                                                  Collecting Addresses


         Splitting funds into chunks of ~15-19 BTC:
                                                                                                            685 BTC*
         10 x 1’000BTC into 58 or 59 new addresses
         1 x 1’325BTC into 78 new addresses

                                                                                                                                                                                                                                                                            Bitcoin
                                                                                                                                                                                                                                                                            Blockchain



                                                                                                                                                                                                                                                                            Ethereum
                                                                                                                                                                                                                                                                            Blockchain




2014/07/29                      2022/03/30 –                    2022/04/06 –                             2022/04/06 –                                  2022/04/11 –                                   2022/04/14 –
                                2022/04/13                      2022/04/15                               2022/09/12                                    2022/09/12                                     2022/10/03

             Creating a Safer Blockchain Economy                                                                         *ChipMixer identification algorithm is still running (so far more than 710k addresses identified), this number might be subject for changes   www.coinfirm.com
                                      Case 9:16-cv-80060-KAM Document 200-1 Entered on FLSD Docket 12/27/2022 Page 76 of
                                                                            76




 Cryptsy Trace Example

                            Example of Collecting Addresses –
                            addresses receiving BTC from many
                             ChipMixer withdrawal addresses




        Just one of many ChipMixer
               withdrawals




                                       Flow of Funds
                                                                                                                           Destination service REN –
                                                                                                                                 3 addresses

Creating a Safer Blockchain Economy                                                                                                       www.coinfirm.com
